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                          EXHIBIT A



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        Plaintiff The Boeing Company
  8
                              UNITED STATES DISTRICT COURT
  9
                             CENTRAL DISTRICT OF CALIFORNIA
 10

 11
                                              Case No. 8:20-cv-02206-JVS (JDEx)
 12     THE BOEING COMPANY, a Delaware
        Corporation,                          THE BOEING COMPANY’S
 13                                           THIRD-PARTY COMPLAINT
                       Third-Party Plaintiff, FOR TOTAL EQUITABLE
 14                                           INDEMNITY, COMPARATIVE
              v.                              INDEMNITY, EQUITABLE
 15                                           APPORTIONMENT OF FAULT,
        GSSL, INC. d/b/a NEAR SPACE           AND CONTRACTUAL
 16     CORPORATION, an Oregon                INDEMNITY
        corporation,
 17
                        Third-Party Defendant.
 18                                               Judge: Hon. James V. Selna
        ______________________________
 19
        TIMOTHY LACHENMEIER, an
 20     individual; and KRISTEN
        LACHENMEIER, an individual
 21
                        Plaintiffs,
 22
                        v.
 23
       THE BOEING COMPANY, a Delaware
 24    Corporation, BOEING DEFENSE,
       SPACE & SECURITY, and DOES 1-
 25    10,
 26                     Defendants.
 27

 28

                                            THE BOEING COMPANY’S THIRD-PARTY COMPLAINT
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  1          Third-Party Plaintiff The Boeing Company (“Boeing”) brings this Third-
  2    Party Complaint against Third-Party Defendant GSSL, Inc. d/b/a Near Space
  3    Corporation (“NSC”), and alleges as follows:
  4                               JURISDICTION AND VENUE
  5          1.     This Court has subject matter jurisdiction over this action pursuant to
  6    28 U.S.C. § 1332, because the matter in controversy is between a third-party
  7    plaintiff and a third-party defendant which are residents of different states, and the
  8    amount in controversy exceeds $75,000, exclusive of interests and costs.
  9    Alternatively, this Court has supplemental jurisdiction over this action pursuant to
 10    28 U.S.C. § 1367(a) and (b), because the claim alleged herein is so related to the
 11    claim in the underlying action, over which this Court has original jurisdiction, that
 12    it forms part of the same case or controversy under Article III of the United States
 13    Constitution, and because the claim alleged herein is asserted by a party other than
 14    plaintiffs. This is also a proper action, under 28 U.S.C. § 2201, for the issuance of
 15    a declaratory judgment as prayed for herein by Boeing.
 16          2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(2),
 17    because it is located in a judicial district where a substantial part of the events or
 18    omissions giving rise to the claim occurred. In addition, venue is proper in this
 19    Court pursuant to federal case law regarding impleader under Federal Rule of Civil
 20    Procedure 14(a), because the underlying action was brought in this Court.
 21                                              PARTIES
 22          3.     Boeing is now, and at all times mentioned in this Third-Party
 23    Complaint was, a corporation organized and existing under the laws of the State of
 24    Delaware, with its principal place of business in Illinois.
 25          4.     GSSL, Inc. d/b/a Near Space Corporation is now, and at all times
 26    mentioned in this Third-Party Complaint was, a corporation organized and existing
 27    under the laws of the State of Oregon, with its principal place of business in
 28    Oregon.
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                                                THE BOEING COMPANY’S THIRD-PARTY COMPLAINT
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  1                                 GENERAL ALLEGATIONS
  2          5.       Boeing has been named as a defendant in the civil action captioned
  3    Lachenmeier v. The Boeing Company et al., Case No. 8:20-cv-02206-JVS (JDEx),
  4    which was filed on November 12, 2020, in the U.S. District Court for the Central
  5    District of California (the “Underlying Action”).
  6          6.       Plaintiffs in the Underlying Action are Timothy and Kristin
  7    Lachenmeier, who at all times relevant to this Third-Party Complaint were
  8    executive officers of NSC. Plaintiffs allege that Boeing is liable for personal
  9    injuries that Mr. Lachenmeier allegedly sustained on March 27, 2017 (the
 10    “Accident”) while conducting aviation operations, namely a Parachute System
 11    Qualification Test balloon drop (“PSQT”), at Spaceport America near Truth or
 12    Consequences, New Mexico.
 13          7.       At the time of the Accident, Mr. Lachenmeier was the President and
 14    Chief Technical Officer of NSC as well as the Launch Director for the PSQT
 15    during which the Accident occurred. As part of his supervisory role, Mr.
 16    Lachenmeier was closely involved in the design and execution of the PSQT,
 17    including determining the positioning of and selection of any ladders used therein.
 18          8.       Plaintiffs in the Underlying Action allege that at the time of the
 19    Accident, Kristin Lachenmeier was the Chief Financial Officer of NSC.
 20          9.       Without admitting any of the allegations made in the Underlying
 21    Action, Boeing refers to, and hereby incorporates by reference, the complaint filed
 22    in that matter. A true and correct copy of the complaint in the Underlying Action is
 23    attached hereto as Exhibit A (the “Underlying Complaint”). The Underlying
 24    Complaint is incorporated by reference for the sole purpose of setting forth its
 25    allegations.
 26          10.      Following the Accident, a joint root cause analysis conducted by
 27    Boeing and NSC determined that a NSC hardware failure caused an ungrounded
 28    spark to prematurely activate a pyrotechnic cutter that severed one of the restraints
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                                                THE BOEING COMPANY’S THIRD-PARTY COMPLAINT
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  1    that had been securing the BP-4 and caused the ladder that Mr. Lachenmeier had
  2    been standing on to be knocked backwards. The resulting motion forced Mr.
  3    Lachenmeier to fall off the ladder and he sustained a fracture to his right leg in the
  4    ensuing fall. Despite receiving medical treatment for his injuries, Mr. Lachenmeier
  5    ultimately required a below-the-knee-amputation of his right leg. The precipitating
  6    cause of the incident was the mechanical failure of a NSC aircraft product that
  7    resulted in bodily injury to Mr. Lachenmeier. NSC is legally responsible to Boeing
  8    for losses arising from NSC’s aircraft product.
  9          11.    At the time of the Accident, NSC’s personnel, including Timothy
 10    Lachenmeier, had entered upon and were performing work at Spaceport America
 11    that was under Boeing’s control for purposes of completing the PSQT which was
 12    conducted pursuant to a GP2 (Fixed Price Services Contract – Commercial) (the
 13    “GP2 Services Agreement”) between NSC and Boeing. NSC entered into the GP2
 14    Services Agreement with Boeing in California. A true and correct copy of the GP2
 15    Services Agreement is attached hereto as Exhibit B.
 16          12.    Section 40 of the GP2 Services Agreement provides, in relevant part:
 17                 40.    INDEMNIFICATION, INSURANCE AND
 18          PROTECTION OF PROPERTY. The following provisions shall
 19          only apply if and to the extent Seller’s personnel enter or perform
 20          work at premises owned or controlled by Buyer or Buyer’s customer:
 21                 a.     Indemnification. Seller shall defend, indemnify and hold
 22          harmless The Boeing Company, its subsidiaries, and their directors,
 23          officers, employees and agents from and against all actions, causes of
 24          action, liabilities, claims, suits, judgments, liens, awards and damages
 25          of any kind and nature whatsoever for property damage, personal injury
 26          or death (including without limitation injury to or death of employees of
 27          Seller or any subcontractor thereof) and expenses, costs of litigation and
 28          counsel fees related thereto or incident to establishing the right to
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  1          indemnification, arising out of or in any way related to this Contract, the
  2          performance thereof by Seller or any subcontractor thereof or other third
  3          parties within the control or acting at the direction of Seller, or any of
  4          their respective employees (collectively for the purposes of this
  5          paragraph, the “Seller Parties”), including, without limitation, the
  6          provision of goods, services, personnel, facilities, equipment, support,
  7          supervision or review. The foregoing indemnity shall apply only to the
  8          extent of the negligence or willful misconduct of the Seller Parties that
  9          occurs while on premises owned or controlled by Buyer. In no event
 10          shall Seller’s obligations hereunder be limited to the extent of any
 11          insurance available to or provided by Seller or any subcontractor
 12          thereof.   Seller expressly waives any immunity under industrial
 13          insurance, whether arising out of statute or other source, to the extent of
 14          the indemnity set forth in this paragraph.
 15                b.     Commercial General Liability.        Seller shall carry and
 16          maintain, and ensure that all subcontractors thereof carry and maintain,
 17          throughout the period when work is performed and until final
 18          acceptance by Buyer, Commercial General Liability insurance with
 19          available limits of not less than $2,000,000 per occurrence for bodily
 20          injury and property damage combined. Such insurance shall contain
 21          coverage for all premises and operations, broad form property damage,
 22          contractual liability (including, without limitation, that specifically
 23          assumed under paragraph a herein) and goods and completed-operations
 24          insurance with limits of not less than $1,000,000 per occurrence for a
 25          minimum of twenty-four (24) months after final acceptance of the work
 26          by Buyer. Such insurance shall not be maintained on a per-project basis
 27          unless the respective Seller or subcontractor thereof does not have
 28          blanket coverage.
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                                              THE BOEING COMPANY’S THIRD-PARTY COMPLAINT
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  1          13.   Boeing delegated any duty it may have had to address known safety
  2    hazards related to the PSQT launch to NSC which had a duty to ensure the safety of
  3    its own executive officers through the implementation of reasonable safety
  4    precautions. NSC and Timothy Lachennmeier each breached that duty, and the
  5    Accident occurred due to NSC’s and Timothy Lachennmeier’s concurrent negligent
  6    and tortious conduct, which was the proximate cause of the injuries and damages
  7    alleged in the Underlying Action. Under the GP2 Services Agreement, NSC is
  8    required to indemnify Boeing for NSC’s and/or Timothy Lachenmeier’s negligence.
  9          14.   NSC’s negligence also resulted in various breaches of the GP2 Services
 10    Agreement, which NSC is required to indemnify. These breaches include, but are not
 11    limited to: (1) NSC’s failure to establish and maintain an acceptable quality control
 12    system and allow Boeing to adequately review NSC’s procedures, practices,
 13    processes and related documents to determine such acceptability (Section 13); (2)
 14    NSC’s failure to notify Boeing in writing “when discrepancies in [NSC’s] process,
 15    including any violation of or deviation from NSC’s approved inspection/quality
 16    control system, or goods/materials are discovered or suspected which may affect the
 17    Services delivered or to be delivered under this [GP2 Services Agreement]” (Section
 18    14); (3) failure to perform the services in a manner that was warranted to be “free
 19    from defects in workmanship and conform to the requirements of [the GP2 Services
 20    Agreement]” (Section 17); and (4) NSC’s failure to ensure that it and any
 21    subcontractor, use suitable precautions to prevent damage to Boeing’s property, and
 22    promptly and equitably reimburse Boeing for such damage or repair that is caused
 23    by NSC’s or its subcontractor’s negligence (Section 40(g)). Even in the absence of
 24    the GP2 Services Agreement, NSC would be legally liable to Boeing for such actions.
 25          15.   On December 14, 2020, Boeing tendered its defense and indemnity
 26    related to the Underlying Action to NSC (the “Indemnification Letter”). On
 27    December 28, 2020, NSC denied Boeing’s tender in its entirety.
 28    ///
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                                             THE BOEING COMPANY’S THIRD-PARTY COMPLAINT
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  1          16.       Boeing is informed and believes and thereon alleges that at all times
  2    relevant herein, NSC was protected by insurance that covered losses or damages
  3    arising from (or caused by) a products/completed operations hazard or other bodily
  4    injury-related losses involving an NSC officer for which NSC has assumed the tort
  5    liability of Boeing and/or would be liable to Boeing for even in the absence of the
  6    GP2 Services Agreement.
  7          17.       Boeing herein denies that any of its own acts or omissions, or those of
  8    its agents, employees, or representatives, caused or contributed to the injuries and
  9    damages the plaintiffs in the Underlying Action allegedly sustained.
 10          18.       Boeing has not been negligent and is not responsible in any manner
 11    whatsoever for the Accident discussed herein, or for the injuries and damages
 12    alleged in the Underlying Action.
 13                                 FIRST CLAIM FOR RELIEF
 14             (Total Equitable Indemnity Against Near Space Corporation)
 15          19.       Boeing incorporates by reference paragraphs l through 18 as if fully set
 16    forth herein.
 17          20.       If Boeing is held liable and responsible to the plaintiffs in the
 18    Underlying Action for any damages alleged in the Underlying Complaint, any such
 19    liability would be due to the tortious conduct of NSC and Timothy Lachenmeier,
 20    for which NSC is liable. NSC should therefore completely indemnify Boeing.
 21          21.       Boeing is entitled, at a minimum, to an adjudication of its share of
 22    legal responsibility, if any, for the damages alleged in the Underlying Complaint, as
 23    well as each defendant’s respective share. On the basis of such adjudication, Boeing
 24    is entitled to be indemnified, at a minimum, on the basis of comparative/partial
 25    indemnity principles applied by, between, and among Boeing, NSC, and Timothy
 26    Lachenmeier.
 27    ///
 28    ///
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                                                  THE BOEING COMPANY’S THIRD-PARTY COMPLAINT
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  1                                SECOND CLAIM FOR RELIEF
  2                (Comparative Indemnity Against Near Space Corporation)
  3          22.       Boeing incorporates by reference paragraphs l through 21 as if fully set
  4    forth herein.
  5          23.       If it is determined that Boeing is liable to the plaintiffs in the
  6    Underlying Action for the losses, damages, or injuries alleged in the Underlying
  7    Complaint, Boeing is entitled to indemnification from NSC for that portion of the
  8    judgment in the Underlying Action attributable to the percentage of the comparative
  9    fault assessed or assessable against NSC and/or Timothy Lachenmeier.
 10                                 THIRD CLAIM FOR RELIEF
 11         (Equitable Apportionment of Fault Against Near Space Corporation)
 12          24.       Boeing incorporates by reference paragraphs l through 23 as if fully set
 13    forth herein.
 14          25.       By reason of the foregoing, Boeing is entitled, at a minimum, to a
 15    declaration of this Court with respect to the relative proportion of negligence, fault,
 16    and/or other liability of NSC and Timothy Lachenmeier which proximately caused
 17    and/or contributed to any loss, damage, or injury alleged in the Underlying Action.
 18                                FOURTH CLAIM FOR RELIEF
 19                (Contractual Indemnity Against Near Space Corporation)
 20          26.       Boeing incorporates by reference paragraphs l through 25 as if fully set
 21    forth herein.
 22          27.       Boeing contends that it was in no way legally responsible for the
 23    losses, damages, or injuries alleged in the Underlying Complaint. NSC is obligated,
 24    under the terms of the GP2 Services Agreement, to indemnify and defend Boeing
 25    for the attorneys’ fees and expenses incurred in defending this action and for any
 26    damages for which Boeing is found liable.
 27          28.       NSC’s refusal to accept Boeing’s tender and defend and indemnify
 28    Boeing related to the plaintiffs’ claims in the Underlying Action is a breach of a
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   1   material term of the GP2 Services Agreement which has damaged, and continues to
   2   damage, Boeing in an amount to be determined at trial.
   3          29.   As a result of NSC’s continuing breach of the GP2 Services
   4   Agreement, Boeing has suffered and will continue to suffer irreparable harm, for
   5   which it has no adequate remedy at law, thus entitling it to injunctive relief.
   6          WHEREFORE, Boeing requests the following:
   7          1.    An adjudication that any responsibility and/or liability determined to
   8   exist for the damages alleged in the Underlying Complaint is the result of the
   9   primary and/or active negligence and/or otherwise tortious misconduct of NSC, and
  10   only the secondary and/or passive negligence and/or derivative negligence of
  11   Boeing;
  12          2.    An adjudication that NSC is obligated to defend Boeing against the
  13   claims brought by the plaintiffs in the Underlying Action, to reimburse Boeing for
  14   the necessary and reasonable attorneys’ fees, expenses, and court costs it incurs in
  15   defending against the claims brought by the plaintiffs in the Underlying Action, and
  16   to indemnify Boeing for all sums that it may be compelled to pay the plaintiffs in
  17   the Underlying Action as a result of damages, judgments, settlement and/or other
  18   recovery;
  19          3.    That in the event judgment is rendered in favor of the plaintiffs in the
  20   Underlying Action and against Boeing, on a finding that Boeing was negligent
  21   and/or otherwise responsible, the Court adjudge and decree that the negligent
  22   and/or other wrongful conduct of Boeing and NSC, or any of them, shall be
  23   apportioned, that the Court make the resulting judgment against the parties
  24   according to the apportioned negligence and/or other tortious misconduct, and that
  25   Boeing be awarded partial and comparative indemnification against NSC;
  26          4.    A judgment against NSC, adjudicating that NSC is obligated to defend
  27   and indemnify Boeing and to pay the costs of suit herein and in the Underlying
  28   Action, including attorneys’ fees;
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                                               THE BOEING COMPANY’S THIRD-PARTY COMPLAINT
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    1         5.    An award to Boeing for its costs of suit and its attorneys’ fees and
    2   expenses; and
    3         6.    An award to Boeing for any other and further relief that the Court may
    4   deem just and proper.
    5

    6   DATED: February 26, 2021          PERKINS COIE LLP
    7
                                          By: /s/ Julie L. Hussey
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   11
                                          Attorneys for Defendants The Boeing Company
   12                                     and Boeing, Defense, Space & Security
   13

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                                              THE BOEING COMPANY’S THIRD-PARTY COMPLAINT
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES.DISTRICT COURT
                                                                   for the
                                                         Central District of Califomia


     TIMOTHY LACHENMEIER, an individual, and
       KRISTEN LACHENMEIER, an Individual,


                            Plaintiff(s)
                                V.                                           Civil Action No.   2:20-cv-10363-SVW-JPR
 THE BOEING COMPANY, a Delaware Corporation,
  BOEING DEFENSE, SPACE & SECURITY, and
               DOES 1-10,

                           Defendant(s)


                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) iTHE BOEING COMP_ANY, aDelaware Corporation ;
                                    BOEING DEFENSE, SPACE 8~ SECURITY~~
                                    c% CSC - LAWYERS INCORPORATING SERVICE
                                           2730 Gateway Oaks Drive
                                           Sacramento, CA 95833



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
E,,j2 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are: SEAN A. ANDRADE / HENRY H. GONZALEZ / ARTURO PADILLA
                                           ANDRADE GONZALEZ LLP
                                           634 South Spring Street, Top Floor
                                           Los Angeles, Califomia 90014
                                           Telephone: (213) 986-3950
                                           Facsimile: (213) 995-9696

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                                   ERK OF C URT

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Date:       11 /16/2020
                                                                                          Signature of Clerk or Deputy Clerk




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                                          firm
                   1
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               7       Attorn~ey s~ f~or Plaintiffs
                       'I'IMOTHY LACI3ENMEIER and KRISTEN LACHENMEIER
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               9                       IN TIiE iTNITED STATES DISTI2ICT COiTRT
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                                           CENTIIAL DISTRICT OF CALIFOItNIA
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         ~    12       TIMOTHY LACHENMEIER, an                    Case No.:
                       individual and KRISTEN
              13       LACHE          R, an individual,
         ~2                                                       COMPLAINT FOR:
~ ' •E
                                   Plaintiffs,                    1. NEGLIGENCE
o~c? o        15
W am LO
 co                          VS.
                                                                  2. INTENTIONAL INFLICTION OF
g        ~    16                                                     EMOTIONAL DISTRESS
    oQ
a~J N         17       THE BOEING COMPANY a                       3. LOSS OF CONSORTIUM
                       Delaware Corp oration, BO~ING
         ~    18       DEFENSE, SPACE & SECURITY,
                       and DOES 1-10,                             DEMAND FOR JURY TRIAL
              19
                                   Defendants.
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                                                 COMPLAINT AND DEMAND FOR 1URY TRIAL




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              1    TO ALL PARTIES AND THEIR COiTNSEL OF RECORD:
              2          Plaintiffs TIMOTHY LACHENMEIER (hereinafter, "TIM" or "TIM
              3    LACHENMEIER") and KRISTEN LACHENMEIER (hereinafter "KRISTEN" or
              4    "KRISTEN LACHENMEIER") (collectively, the "LACHENMEIERS" or
              5    "Plaintiffs"), by and through their attorneys, for causes of action against Defendants
              6    THE BOEING COMPANY ("BOEING"), BOEING DEFENSE, SPACE &
              7    SECURITY ("BDSS") and DOES 1-10 (collectively "Defendants"), hereby
               8   complain and allege as follows:
              9                               NATURE OF THE ACTION
              10         1.     On March 27, 2017, TIM LACHENMEIER and Near Space
              11   Corporation ("NSC"), a company that TIM founded, were working with BOEING
      m 12
      C)           to conduct a high-altitude balloon drop for BOEING to test the parachute recovery
  s   ~
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-JWOD)    13       system on its new Starliner space capsule that would transport a. crew to and from
    ~
          14       the International Space Station.     Both Boeing and SpaceX have won prized
N~w ~
Z(ni q LL
0 rnU         15   commercial contracts with NASA to carry personnel and research to the
W aoyirn
    £ mb      16   International Space Station. The March 27 test was one of a series of tests to
Q        0
         Jv   17   simulate space reentry by carrying BOEING's capsule to 40,000 feet with a helium
    (0
          m
          ~ 18     balloon and releasing it to test its parachutes as part of the recovery system under
              19   the actual conditions it would encounter.
              20         2.     For the March 27 test, BOEING and BDSS negligently failed to
              21   implement proper safety measures, including, but not limited to, (a) failing to have
              22   in place a capsule tie down system to prevent an inadvertent release of the capsule
              23   prior to the time of launch which would expose anyone working near the vehicle to
              24   substantial and potentially fatal harm, (b) providing to TIM and NSC an inadequate,
              25   unsafe, and defective ladder that they knew could cause catastrophic injury,
              26   including death or permanent total disability, if something went wrong while
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                                              COMPLAINT AND DEMAND FOR JURY TRIAL




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                     someone was using it to access the capsule, and (c) failing to provide an adequate
                2    grounding system which could have prevented the freak ESD event.
                3          3.     BOEING and BDSS knew or should have known that a capsule tie
               4     down system would be required to prevent an inadvertent release of the capsule prior
                5    to the time of launch which would expose anyone working near the vehicle to
                6    substantial and potentially fatal harm. In addition, at least two years before the
                7-   March 27 test, BOEING and BDSS had banned the use of the type of ladder they
                8    provided to TIM and NSC—which was very similar to the common ladders found
                9    at a neighborhood hardware stores. BOEING's own Ladder Standard and Fall
               10    Protection Guidelines from 2015 mandated using specially designed step platforms
               11    with guardrails to safely access its capsules during launch preparations. The ladders
          (c
          cm   12    also violate the American National Standards Institute's Safety Code. In addition,
    o     ~
J V'00)        13    Boeing failed to provide an adequate grounding system which could have prevented
        ~v
J y 'E
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               14    the freak ESD event.
2 y       u.
0   rnU        15          4.     BOEING's and BDSS's negligence in providing a suitable capsule
W p.do~i
qGfn NC?
  ~ 0„°        16    restraint system along with their decision to ignore their own ladder safety standards
          ~
Q a J v        17    would cause TIM to suffer a catastrophic injury. At approximately 7:00 a.m. on
          H    18    March 27, 2017, TIM was leaning over the top of the BP-4 test capsule, standing on
               19    the access ladder that BOEING and BDSS had provided to make the final electronics
               20    connections for the launch, when a freak accident occurred: as TIM plugged in the
               21    capsule release cable, an electrostatic discharge caused one of the pyro activated
               22    cutters to misfire, severing the primary restraint lines holding the balloon to the
               23    ground. This static discharge sent the capsule hurling upwards instantly and the force
               24    pushed the ladder TIM was standing on backwards and away from the capsule. With
               25    no other choice, TIM tried to jump away to safety, but there was nowhere to go. His
               26    right foot landed hard on the lowboy trailer on which the capsule was mounted, also
               27    provided by Boeing, shattering his ankle, before being hit by the ladder and tumbling
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                                                COMPLAINT AND DEMAND FOR JURY TRIAL




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    1   backwards head over heels the rest of the way to the ground. TIM fell approximately
    2   20 feet, knocking off his hard hat when hit by the ladder, and ultimately landing hard
    3   on his neck, back, and hips.
    4          5.     TIM would go on to suffer substantial physical and financial damages,
    5   needlessly endure extreme pain and suffering from his resulting catastrophic injuries-
    6   and multiple surgeries, and, along with KRISTEN, enduring extreme emotional
    7   distress from TIM being forced into a below-the-knee amputation of his right leg
    8   that left him permanently disfigured or risk death. Defendants' reckless conduct left
    9   the LACHENMEIERS with permanent physical and emotional scars and the
   10   LACHENMEIERS therefore seek monetary and punitive damages for their
   11   emotional distress and loss of consortium.
   12                            JURISDICTION AND VENUE
   13          6.     Jurisdiction over this action is conferred on this Court pursuant to 28
   14   U.S.C. § 1332. The parties are residents of different states and the amount in
   15   controversy exceeds $75,000.00.
   16          7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because the
   17   acts, events, or omissions giving rise to Plaintiff s claims occurred in whole, or in
   18   part, in the Central District of California.
   19                                     THE PARTIES
   20          8.     During relevant times, Plaintiffs TIM LACHENMEIER and KRISTEN
   21   LACHENMEIER were husband and wife and residents of the state of Oregon.
   22          9.     At all times mentioned herein, Plaintiff TIlVI LACHENIVIEIER was the
   23   President of NSC, and was acting as the Launch Director of NSC.
   24          10.    At all times mentioned herein, Plaintiff KRISTEN LACHENIVIEIER
   25   was the Chief Financial Officer of NSC.
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                                    COMPLAINT AND DEMAND FOR JURY TRIAL




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              1         11. Defendant BOEING is a corporation duly organized and existing under
              2   the laws of the State of Delaware, with its headquarters and principal place of
              3   business in Chicago, Illinois.
              4         12. Defendant BDSS is a business entity of unknown form, with its
              5   headquarters in Arlington, Virginia.
              6         13. Plaintiffs are unaware of the true names and capacities, whether
              7   individual, partnership, corporate, associate, or otherwise, of those Defendants sued
              8   herein as DOES 1 through 10 (the "DOE Defendants") and, therefore, sues these
              9   Defendants by fictitious names.        The DOE Defendants include employees,
             10   representatives, affiliates, and agents of the Defendants, and each of them, and at all
             11   times herein relevant were acting within the scope and course of their employment
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             12   or agency with Defendants, and each of them and the acts and omissions of the DOE
  o     w
        uI   13   Defendants were the proximate cause of the injuries and losses suffered by Plaintiffs.
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~F~~
             14   PlaintifFs will amend this Complaint to allege the true names and capacities of the
        u-
0 rnU        15   DOE Defendants when ascertained.
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             16         14.    On or about March 22, 2019, Defendants entered into an agreement
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Q~Jv         17   with Plaintiffs, tolling the applicable Statute of Limitations until July 29, 2019 (the
        m
        ~    18   "Tolling Agreement"). A true and correct copy of the March 22, 2019 Tolling
             19   Agreement is attached hereto and incorporated herein by reference as Exhibit "A."
             20         15.    The Tolling Agreement has been extended by written agreement of the
             21   parties six separate times.      The operative Sixth Amendment to the Tolling
             22   Agreement, extending the tolling period to November 13, 2020, was executed by the
             23   Defendants and Plaintiffs on July 2, 2020. A true and correct copy of the July 2,
             24   2020, Sixth Amendment to the Tolling Agreement is attached hereto and
             25   incorporated herein by reference as Exhibit "B."
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                                             COMPLAINT AND DEMAND FOR JURY TRIAL




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             1           16.    Defendants' conduct, as alleged herein, was undertaken by its officers,
             2   directors, project engineers, and managing agents, who were responsible for
            3    corporate policies, underwriting, claims supervision and operational decisioris, on
             4   behalf of the corporate Defendants. The corporate Defendants had advance
             5   knowledge of the actions and conduct of other employees, whose actions and
             6   conduct were ratified, authorized, and approved by the corporate Defendants.
             7           17.    The LACHENIVIEIERS are informed and believe, and based thereon
             8   allege that, at all times material hereto, each Defendant sued herein was the agent,
            9    servant, employer, employee, joint venturer, contractor, partner, owner, subsidiary,
            10   division, alias, and/or alter ego of each of the remaining Defendants and was, at all
            11   times, acting within the purpose and scope of such agency, employment, contract,
   m
   ~ 12          ownership, subsidiary, alias, and/or alter ego and with the authority, consent,
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a~~W 13          approval, control, influence, and ratification of each of the remaining Defendants
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41 to N
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            14   sued herein.
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0 rnU       15                               GENERAL ALLEGATIONS
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q r = `b    16           18.    In or around April 6, 2015, Defendants BOEING and BDSS'
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  ~ -
      17         Commercial Crew Transportation System unit ("CCTS") in Huntington Beach,
    9 18         County of Orange, California, issued a purchase contract for services to NSC (the
            19   "Purchase Contract"). Under the Purchase Contract, NSC was to provide Parachute
            20   Development and Qualification Test Services as well as to conduct the Parachute
            21   Drop Test. NSC's invoices were to be submitted to Defendants' . CCTS unit in
            22   Huntington Beach, California. The Purchase Contract was executed on April 8,
            23   2015.
            24           19.    In the early morning of March 27, 2017, NSC conducted a Parachute
            25   System Qualification Balloon Test ("PSQT") at Spaceport America, New Mexico,
            26   pursuant to the Purchase Contract with Defendants. During the PSQT, Plaintiff TIM
            27   LACHENMEIER served as the Launch Director on behalf of NSC, and participated
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                                             COMPLAIIJT AND DEMAND POR JURY TRIAL




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    1   during several stages of the PSQT as required by the Purchase Contract. This
    2   included making final connections prior to the PSQT launch, with, among other
    3   lacking safety measures from Defendants, an inadequate grounding system, lack of
    4   a capsule tie down system, and requiring Plaintiff TIM LACHENMEIER to lean
    5   over the top of the BOEING BP-4 drop test vehicle (the "BP-4"), while standing on
    6   an unsafe and/or defective access ladder supplied by Defendants (the "Ladder").
    7         20.    At all relevant times Defendants had a duty under the Purchase Contract
    8   to provide and maintain the work area and equipment in a safe condition and free of
    9   defects, for NSC's use during the PSQT. In fact, Defendants' Purchase Contract
   10   provided that material substitutions made by NSC, would be unauthorized and
   11   prohibited, and Defendants maintained control.
   12         21.    Pursuant to the Purchase Contract, Defendants provided the capsule,
   13   the lowboy trailer on which the capsule was mounted, and the ladders required to
   14   access the capsule from the ground. Boeing was also responsible for the all of the
   15   ground support equipment for moving and securing the capsule prior to launch, but
   16   failed to provide a sufficient capsule tie-down and grounding system. In addition,
   17   the Defendants' ladders were inadequate, unsafe, and knowingly defective. At least
   18   two years before the March 27 test, BOEING and BDSS had banned the use of the
   19   type of ladder they provided to TIM and NSC because they knew it could cause
   20   catastrophic injury, including death or permanent total disability, if something went
   21   wrong while someone was using it to access the capsule.
   22         22.    Further Defendants knew, or should have known, that implementing
   23   other measures, including providing an adequate grounding system, a capsule tie
   24   down system, and constraining the BP-4 capsule during pre-launch test activities,
   25   would have prevented the accident.
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                                  COMPLAINT AND DEMAND FOR JURY TRIAL




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             .1         23.    BOEING and BDSS did not disclose to NSC, TIM, or KRISTEN that
              2   (i) they had banned the use of the type of ladder they provided to TIM and NSC, (ii)
              3   that BOEING's own Ladder Standard and Fall Protection Guidelines from 2015
              4   mandated using specially designed step platforms with guardrails to safely access its
              5   capsules during launch preparations, or (iii) that the ladders they provided to TIM
              6   and NSC also violated the American National Standards Institute's Safety Code.
              7         24.    Plaintiffs are informed and believe, and on that basis allege, that at all
              8   relevant times Defendants negligently failed to comply with standards and
              9   guidelines for providing a safe working environment, tie-down system, grounding
             10   system, fall restraint, fall protection, and safe ladders which were intended to protect
             11   employees and contracted workers at test sites and other work areas against
   ~ 12           foreseeable harm including foreseeable injuries caused by the use of unsecured
   ~
 o W
     13           ladders which are prone to tipping over.
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~t~~ 14
                        25.    Plaintiffs are informed and believe, and on that basis allege, that while
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~ rnu        15   TIM LACHENMEIER was on the ladder making fmal connections, an electrostatic
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~L~ a 16          discharge caused one of the pyro activated cutters to misfire, severing the primary
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             17   restraint lines holding the balloon to the ground. This static discharge sent the
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                  capsule hurling upwards instantly and the force pushed the ladder TIM was standing
             19   on backwards and away from the capsule. As a result of the rapid and forceful
             20   motion, the ladder pushed away from the BP-4, forcing TIM LACHENMEIER to
             21   jump off the ladder but with nowhere to go, his right foot landed hard on the low-
             22   boy trailer shattering his ankle, before being hit by the ladder and tumbling
             23   backwards head over heels the rest of the way to the ground. TIM fell a total of
             24   approximately 20 feet, knocking off his hard hat when hit by the ladder, and
             25   ultimately landing hard on his neck, back, and hips.
             26         26.    TIM LACHENMEIER's injuries as a result of Defendants' failure to
             27   implement proper safety measures, including failing to provide a capsule tie-down
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                                             COMPLAINT AND DEMAND FOR JURY TRIAL



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         system, an adequate grounding system, and his resulting fall from Defendants'
    2    ladder were so catastrophic that among other things, he suffered a severe
    3    comminuted closed tibia and fibula pilon fracture with multiple bone fragments.
    4    Unfortunately, despite numerous excruciating surgical and other medical procedures
    5    on his right leg, TIM LACHENMEIER ultimately needed and underwent a below-
    6    the-knee amputation of his right leg on July 3, 2017.
    7          27.    During TIM LACHENMEIER's numerous and painful medical
    8    procedures, his wife KRISTEN LACHENMEIER was by his side, caring for TIM's
    9    severe wounds, and watching her husband suffer relentless and on-going
   10    excruciating pain.
   11          28.    Plaintiffs' lives have been forever altered as a result of Defendants'
   12    negligence. TIM LACHENMEIER is no longer able to perform or fulfill his normal
   13    work activities and responsibilities. Moreover, TIM LACHENIVIEIER will require
   14    extensive and costly medical care for the remainder of his life as a result of
   15    Defendants' negligence and their reckless disregard for his health and safety, and
   16    that of other employees and contractors.
   17          29.    Defendants' conduct has further caused TIM LACHENMEIER to
9 18     suffer loss of companionship with his wife, KRISTEN LACHENMEIER, including
   19    but not limited to companionship, comfort, care, assistance, society, and moral
   20    support.
   21          30.    At all relevant times, KRISTEN was present during TIM's medical
   22   ~ treatment, surgeries, doctors' consultations, and when TIM was forced into a below-
   23    the-knee amputation of his right leg, or risk death, and cared for TIM's severe
   24    wounds, all of which caused her to suffer significant emotional distress, pain and
   25    suffering, which is continuous and ongoing.        Defendants' negligence caused
   26    KRISTEN LACHENMEIER to suffer loss of companionship with her husband,
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                                   COMPLAINT AND DEMAND FOR JURY TR1AL




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                which is significant and ongoing, and includes, but is not limited to companionship,
           2    comfort, care, assistance, society, and moral support.
           3                                FIRST CAUSE OF ACTION
                                                      Negligence
           4                       (Tim Lachenmeier Against All Defendants)
           5          31.    Plaintiffs reallege and incorporate each of the preceding and subsequent
           6    paragraphs as though fully set forth herein.
           7          32.    Defendants owed TIM LACHENMEIER a duty to act reasonably and
            8   use due care when he was providing testing and other services within the scope of
            9   the NSC's Purchase Contract with Defendants.
           10         33.    Defendants breached their duty to TIM LACHENMEIER by, among
           11   other things, failing to provide TIM with a safe working environment including a
      ~    12   capsule tie-down system, proper grounding system, and a ladder which was free of
  oa ~U
-J~00~f    13   defects, failed to abide by Defendants' ladder standards, failed to meet fall protection
N~°'~
LLI~E v
J          14   guidelines, and/or failing to implement other safety measures, including a ladder tie
zv~
~ wU       15   down system and constraining the BP-4 capsule during pre-launch test activities,
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           16   which resulted in TIM LACHENMEIER suffering catastrophic injuries.
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           17         34.    Defendants' negligent disregard for their own safety standards and
 l0   _.
      H    18   rules were the actual and proximate cause of TIM LACHENMEIER's fall and
           19   catastrophic injuries. Defendants' conduct caused TIM LACHENMEIER to suffer
           20   substantial darriages and needlessly endure extreme pain and suffering, which is on-
           21   going, from his resulting catastrophic injuries which necessitated the below-the-knee
           22   amputation of his right leg and left him permanently disfigured, and requiring
           23   continuing surgeries, leaving the LACHENMEIERS with permanent physical and
           24   emotional scars.
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                                           COMPLAINT AND DEMAND FOR dURY TRIAL




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                   1                            SECOND CAUSE OF ACTION
                  2                        Intentional Infliction of Emotional Distress
                                             (All Plaintiffs Against All Defendants)
                   3
                             35.     Plaintiffs reallege and incorporate each of the preceding and subsequent
                  4
                       paragraphs as though fully set forth herein.
                   5
                             36.     Defendants engaged in extreme and outrageous conduct, as alleged
                  6.
                       herein, by:
                   7
                             (a) unreasonably, recklessly, and in bad faith failing to provide TIM
                   8
                             LACHENMEIER and NSC with adequate and non-defective equipment to
                   9
                             perform his duties under the Purchase Contract with NSC;
                  10
                             (b) unreasonably, recklessly, and in bad faith failing to disclose to NSC, TIM,
                  11
                             or KRISTEN that (i) they neglected to provide a capsule tie down and
             co
             cn   12
    0 ~                      grounding system and that they had banned the use of the type of ladder they
aLL~'rn           13
      C) n                   provided to TIM and NSC, (ii) that BOEING's own Ladder Standard and Fall
      ~
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 B
Z,u-
         a                   Protection Guidelines from 2015 mandated using specially designed step
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W fl d rn                    platforms with guardrails to safely access its capsules during launch
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 ~ ~                         preparations, or (iii) that the ladders they provided to TIM and NSC also
         0J CO
Q           v     17
    to                       violated the American National Standards Institute's Safety Code; and
             9    18
                             (c) after the accident, pressuring TIM and KRISTEN to resume parachute
                  19
                             recovery system testing, stating that TIM and KRISTEN were holding up their
                  20
                             test, while TIM and KRISTEN were overwhelmed by the stress and worry
                  21
                             caused by TIM's rapidly deteriorating condition, causing them to suffer
                  22
                             extreme physical and emotional pain.
                  23
                             37.     Defendants intended to cause TIM emotional distress or acted with
                  24
                       reckless disregard of the probability that TIM would suffer emotional distress,
                  25
                       knowing that TIM was present when the conduct occurred.
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                                                  COMPLAINT AND DEMAND FOR JURY TRIAL




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     1         38.    Defendants conduct, as alleged herein, caused Plaintiff TIM
    2    LACHENMEIER to suffer severe emotional distress, including but not limited to
    3    suffering, anguish, fright, horror, nervousness, grief, anxiety, worry, shock,
    4    humiliation, and shame.
     5         39.   Defendants' conduct, as alleged herein, was a substantial factor in
     6   causing Plaintiff TIM LACHENMEIER's severe emotional distress, which would
     7   not have occurred but for Defendants' conduct.
     8         40.    Defendants intended to cause KRISTEN emotional distress or acted
     9   with reckless disregard of the probability that KRISTEN would suffer emotional
    10   distress, knowing that KRISTEN was present when the conduct occurred.
    11         41.    At all relevant times, KRISTEN was aware of and present during
    12   Plaintiff TIM LACHENMEIER's medical conditions and treatment.               Plaintiff
    13   KRISTEN LACHENMEIER witnessed Plaintiff TIM LACHENIVIEIER's injuries,
    14   pain, and suffering caused by Defendants. Plaintiff KRISTEN LACHENNIEIER
    15   assisted and was present with Plaintiff TIM LACHENMEIER during his numerous
    16   surgeries and treatment for his injuries. Furthermore, Plaintiffs were forced to
    17   completely alter their way of living and conducting everyday activities because of
H   18   Plaintiff TIM LACHENMEIER's catastrophic injury which has permanently
    19   disfigured him.
    20         42.    Defendants' conduct, as alleged herein, caused Plaintiff KRISTEN
    21   LACHENMEIER to suffer emotional distress, including but not limited to suffering,
    22   anguish, fright, horror, nervousness, grief, anxiety, worry, shock, and humiliation.
    23         43.    Defendants' conduct, as alleged herein, was a substantial factor in
    24   causing Plaintiff KRISTEN LACHENMEIER's severe emotional distress, which
    25   would not have occurred but for Defendants' conduct.
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                                   COMPLAINT AND DEMAND FOR JURY TRIAL




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                   1            44.   Plaintiffs TIM LACHENMEIER and KRISTEN LACHENMEIER are
                  2     entitled to recover damages for their emotional distress, in the amount to be proven
                   3    at trial.
                  4             45.   Defendants' conduct, as alleged herein, was committed maliciously and
                   5    oppressively with the wrongful intention of injuring Plaintiffs and with a willful and
                   6    conscious disregard of Plaintiffs' health. Defendants knowingly and intentionally
                   7    caused Plaintiffs to needlessly endure horrific physical injuries, extreme emotional
                  8     distress, pain and suffering, loss of consortium, lost wages, and loss of earnings.
                   9    Accordingly, Plaintiffs are entitled to recover punitive damages in an amount
                  10    according to proof, in order to punish and to make an example of Defendants and to
                  11    deter such conduct in the future.
             co   12                                THIRD CAUSE OF ACTION
o.LL?~            13                                      Loss of Consortium
        °                                      (All Plaintiffs Against All Defendants)
                  14
~~~ LLv                         46.   Plaintiffs reallege and incorporate each of the preceding and subsequent
O       ~j        15
W nmrn                  paragraphs as though fully set forth herein.
~~        16
   7 ~~                               During relevant times alleged herein, Plaintiffs were a married couple,
oz °
   ~,   ~
        ~
        ~                       47.
 Q ~ Jo V 17
    ~        ..
             m          living together in the State of Oregon.
             ~ 18
                                48.   Defendants' conduct, as alleged herein, caused TIM LACHENIVIEIER
                  19
                        a loss of compa.nionship with his wife, KRISTEN LACHENMEIER, including but
                  20
                        not limited to the loss of companionship, comfort, care, assistance, society, and
                  21
                        moral support.
                  22
                                49.   Defendants'    conduct,     as    alleged   herein,     caused   KRISTEN
                  23
                        LACHENMEIER a             loss   of   companionship       with      her   husband,   TIM
                  24
                        LACHENIVIEIER, including but not limited to companionship, comfort, care,
                  25
                        assistance, society, and moral support.
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                                                    COMPLAINT AND DEMAND FOR JURY TRIAL




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                  1             50.   Plaintiffs TIM LACHENIVIEIER and KRISTEN LACHENMEIER are
                  2     entitled to recover damages for their loss of consortium, in the amount to be proven
                  3     at trial.
                  4                                     PRAYER FOR RELIEF
                  5
                        WfIEREFORE, Plaintiffs pray for relief as follows:
                  6
                                1.    On the First Cause of Action for Negligence, that the Court enter
                  7
                        judgment against Defendants for general, special, and compensatory damages, in an
                  8
                        amount to be determined at trial.
                  9
                                2.    On the Second Cause of Action for Intentional Infliction of Emotional
                 10
                        Distress, that the Court enter judgment against the Defendants for general, special,
                 11
                        and compensatory damages, in an amount to be determined at trial.
            to   12
            ~                   3.    On the Third Cause of Action for Loss of Consortium, that the Court
JLL~p~j          13
       CD               enter judgment against the Defendants for general, special, and compensatory
     m
J r E~           14
                        damages, in an amount to be determined at trial.
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0 ~u 0           15
W p,m rn
      ~
                                4.    On all Causes of Action:
O~
                 16
                                      a.       For general and compensatory damages, in an amount to be
                 17     determined at trial;
  co
            ~    18
                                      b.       For special and economic damages, in an amount to be
                 19
                        determined at trial;
                 20 '
                                      C.       For reasonable attorneys' fees incurred herein and as permitted
                 21
                        by law;
                 22
                                      d.       For pre judgment and post judgment interest;
                 23
                                      e.       For payment of the costs of this suit;
                 24

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                                                      COMPLAINT AND DEMAND FOR JURY TR1AL




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               1                  f.   For punitive and exemplary relief; and
               2                  g.   For such other and further relief as this Court may deem proper
               3      and just.
               4

               5      DATED: November 12, 2020           ANDRADE GONZALEZ LLP
               6
                                                         /s/ Sean A. Andrade
              7I
               8_ I                                      HENRY H. GONZALEZ
                                                         ARTURO PADILLA
              91                                         Attome s for Plaintiffs TIMOTHY
                                                         LACHNNIEIER and KRISTEN
              10                                         LACHENMEIER
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              1
                                                    JURY DEMAND

              2
                         Plaintiffs respectfully request a jury on all issues triable by jury in the

              3
                   entitled action.

              4

               5
                   DATED: November 12; 2020              ANDRADE GONZALEZ LLP

               6
                                                         /s/ Sean A. Andrade                                I
               7

               8
                                                         HENRY H. GONZALEZ
                                                         ARTURO PADILLA
               9                                         Attorneys~f~or Plaintiffs
                                                         TIlVIOTHY LACHENMEIER and
              10                                         KRISTEN LACHENMEIER

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                                                                     EXHIBIT A




                  TOLLING AGREEMENT REGARDING CLAIMS ARISING FROM
                 INJURIES TIM LACHENMEIER SUSTAINED ON MARCH 27, 2017

              This tolling agreement ("Tolling Agreement") is made on March Z, 2019, between
       Tim Lachenmeier and Kris Lachenmeier ("Claimants"), by and through their attorneys, and
       The Boeing Company, including the Boeing business unit named Boeing Defense, Space &
       Security, (collectively, "Boeing"), by and through its respective attorneys.

                On March 27, 2017, Claimant Tim Lachenmeier who worked for Near Space
       Corporation alleges he sustained serious injuries to his right leg while conducting a parachute
       balloon test, which eventually required below-the-knee amputation (hereinafter . the
       "Incident"). On March 1, 2019, Mr. Lachenmeier provided Boeing with a claim summary and
       settlement demand. Boeing is in the process of investigating the merits of Mr. Lachenmeier's
       claims arising out of the Incident. Boeing has also learned that Kris Lachenmeier intcnds to
       pursue a derivative claim for loss of consortium arising from her husband's alleged injuries.
       Boeing and Claimants wish to allow time for investigation and resolution discussions prior to
       the filing of a lawsuit.

              In exchange for the mutual covcnants and undertakings set forth in this Tolling
       Agreement, which coustitute good and valuable consideration and the receipt and sufficiency
       of which are hereby acknowledged, the parties to this Tolling Agreement agree to the
       following:

               1.      Boeing expressly waives the right to plead or otherwise assert as a defense any
       statute of limitation existing under the laws of the State of California or the laws of any other
       jurisdiction in the United States under which the right to commence litigation arising out of
       the Incident expires by the passage of time ("Limitation Period") from March 27, 2019 until
       July 29, 2019 ("'1'olling Period"). Boeing does not waive any other defense, including, but not
       limited to, any defense based on any statute of limitation existing under the laws of California
       or the laws of any other jurisdiction which already has expired or will expire before March
       27, 2019. The execution of this Tolling Agreement shalI not revive any claim that has expired
       by reason of a Limitation Period prior to March 27, 2019. Additionally, to the extent other
       limitations periods may exist that have not yet expired, this Tolling Agreement is not intended
       to shorten or reduce any such limitation periods. Within the constraints above, the statute(s)
       of limitation is tolled until July 29, 2019 for claims arising frorn the Incident. By executing
       this Tolling Agreement, Boeing does not consent to jurisdiction, personal or otherwise, in any
       state with respect to Claimaiits' claims arising out of or related to the Incident, including but
       not limited to, the State of California.

                2.     Nothing in this Tolling Agreement shall be construcd as an admission or denial
       by any of the parties to this Tolling Agreement as to the merits of any claim or defense in any
       litigation arising from the Incident. Nothing in this Tolling Agreement may be used as
       evidence against any of the parties to this Tolling Agreement in any litigation arising from the
       Incident, except for the sole purpose of enforcing the terms of this l'olling Agreement.




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               3.     The individual signatories to this Tolling Agreement represent that they have
       been duly atithorized to execute this Tolling Agreement on behalf of the parties they purpoi-t
       to represent,

              4.      The parties to this Tolling Agreement agree to keep the existence and terms of
       this Tolling Agreetnent coni9dential and agree not to disclose the details of this Tolling
       Agreement to any person, whether directly or indirectly, unless required to do so by law, order
       of a court or to enforce the terms of this Tolling Agreement. To the extent that any party
       discloses the existeace of or information relating to this Tolling Agreement to their agent,
       attorney or insurer, that party shall instruct the persoii or persons to whoin the information is
       disclosed that the information must be kept contidential.

              5.     This Tolling Agreement shall bind and be effective as to the parties and their
       respective successors, assigns, receivers and trustees, if any.

              6.     This Tolling Agreement sets forth all terms, conditions and understandings with
       respect to the subject matter of this Tolling Agreement, and supersedes any and all oral
       agreements and understandings, upon which the parties have placed no reliance. This Tolling
       Agreement may not be amecided except by means of a writing signed by all parties.

             7.     This Tolling Agreement may be executed in any number of counterparts and a
       photocopy, facsimile, or emailed PDF copy of a signature to this Tolling Agreement shall be
       deemed to be as good as an original signature.

              To signiiy their acceptance of the foregoing terms, each of the parties has signed
        below as of the date first specified above.


        Dated: March 22, 2019


        By:
              Julie L. Hussey
              Perkins Coie, LLP

              Counsel for The



       By:
                       Gonzalez LLP

              Counsel for Clainiants Tim Lacheruneier
              and Kris Lachenmeier




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                       SIXTH AMENDMENT TO TOLLING AGREEMENT

             This agreement is made as of June       , 2020, between Tim and Kris Lachenmeier
     ("Claimants"), by and through their attorneys, and The Boeing Company, including the Boeing
     business unit named Boeing Defense, Space & Security, (collectively, "Boeing"), by and through
     its respective attorneys, and amends the March 22, 2019 Tolling Agreement (the "Tolling
     Agreement"), as amended by the First, Second, Third, Fourth and Fifth Amendments, entered
     into by the same parties.

             WHEREAS, Claimants and Boeing entered into a Tolling Agreement dated March 22,
     2019,

             WHEREAS, the Tolling Period in the Tolling Agreement was set to expire on July 29,
     2019,

           WHEREAS, Claimants and Boeing entered into a First Amendment to the Tolling
     Agreement on July 22, 2019 which extended the tolling period until October 29, 2019,

           WHEREAS, Claimants and Boeing entered into a Second Amendment to the Tolling
     Agreement on October 25, 2019 which extended the tolling period until November 12, 2019,

           WHEREAS, Claimants and Boeing entered into a Third Amendment to the Tolling
     Agreement on November 8, 2019 which extended the tolling period until November 22, 2019,

           WHEREAS, Claimants and Boeing entered into a Fourth Amendment to the Tolling
     Agreement on November 20, 2019 which extended the tolling period until February 20, 2020,

           WHEREAS, Claimants and Boeing entered into a Fifth Amendment to the Tolling
     Agreement on February 19, 2020 which extended the tolling period until July 14; 2020,

            WHEREAS, Claimants and Boeing wish to extend the Tolling Period for an additional
     one hundred and twenty-two (122) days until November 13, 2020 to give the parties an
     opportunity to mediate Claimants' claims against Boeing, and

           WHEREAS, Claimants and Boeing intend for the Agreement to otherwise remain
     unchanged and in full force and effect in all other respects.

             NOW, THEREFORE, in consideration of the foregoing:

            The Tolling Agreement shall be amended by deleting the first paragraph in its entirety
     and replacing it with the following provision:

             1.       Boeing expressly waives the right to plead or otherwise assert as a defense any
     statute of l►mitation existing under the laws of the State of California or the laws of any other
     jurisdiction in the United States under which the right to commence litigation arising out of the
     Incident expires by the passage of time ("Limitation Period") from March 27, 2019 until
     November 13, 2020 ("Tolling Period"). Boeing does not waive any other defense, including, but
     not limited to, any defense based on any statute of limitation existing under the laws of


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     California or the laws of any other jurisdiction which already has expired or will expire before
     March 27, 2019. Additionally, to the extent other limitations periods may exist that have not yet
     expired, this Tolling Agreement is not intended to shorten or reduce any such limitation periods.
     Within the constraints above, the statute(s) of limitation is tolled until November 13, 2020 for
     claims arising from the Incident. By executing this Tolling Agreement, Boeing does not consent
     to jurisdiction, personal or otherwise, in any state with respect to Claimants' claims arising out of
     or related to the Incident, including but not limited to, the State of California.



     IN WITNESS WHEREOF, the Parties have each subscribed to this Agreement as of the day and
     year set forth below.


     For Claimants Tim and Kris Lachenmeier           For The Boeing Company

     Dated:     JulY 2             , 2020.            Dated:     July 2               2020.



     :
              Arturo Padilla                                   Julie L. Hussey
              Andrade Gonzalez LLP                             Perkins Coie LLP




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                       SIXTH AMENDMENT TO TOLLING AGREEMENT

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     business unit named Boeing Defense, Space & Security, (collectively, "Boeing"), by and through
     its respective attorneys, and amends the March 22, 2019 Tolling Agreement (the "Tolling
     Agreement"), as amended by the First, Second, Third, Fourth and Fifth Amendments, entered
     into by the same parties.

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     2019,

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     one hundred and twenty-two (122) days until November 13, 2020 to give the parties an
     opportunity to mediate Claimants' claims against Boeing, and

           WHEREAS, Claimants and Boeing intend for the Agreement to otherwise remain
     unchanged and in full force and effect in all other respects.

             NOW, THEREFORE, in consideration ofthe foregoing:

            The Tolling Agreement shall be amended by deleting the first paragraph in its entirety
     and replacing it with the following provision:

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     statute of limitation existing under the laws of the State of California or the laws of any other
     jurisdiction in the United States under which the right to commence litigation arising out of the
     Incident expires by the passage of time ("Limitation Period") from March 27, 2019 until
     November 13, 2020 ("Tolling Period"). Boeing does not waive any other defense, including, but
     not limited to, any defense based on any statute of limitation existing under the laws of


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     California or the laws of any other jurisdiction which already has expired or will expire before
     March 27, 2019. Additionally, to the extent other limitations periods may exist that have not yet
     expired, this Tolling Agreement is not intended to shorten or reduce any such limitation periods.
     Within the constraints above, the statute(s) of limitation is tolled until November 13, 2020 for
     claims arising from the Incident. By executing this Tolling Agreement, Boeing does not consent
     to jurisdiction, personal or otherwise, in any state with respect to Claimants' claims arising out of
     or related to the Incident, including but not limited to, the State of California.



     IN WITNESS WHEREOF, the Parties have each subscribed to this Agreement as of the day and
     year set forth below.


     For Claimants Tim and Kris Lachenmeier           For The Boeing Company

                JulY 2             , 2020.            Dated:     July 2             , 2020.
     Dated:



     By:                                              By:
              Arturo Padilla                                   Julie L. Hussey
              Andrade Gonzalez LLP                             Perkins Coie LLP




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                                 iTNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                                            CASENUMBER:

     TIMOTHY LACHENMEIER, et al.
                                                               2:20—cv-10363—SVW—JPR
                                            Plaintiff(s)

             V.

     THE BOEING COMPANY, et al.

                                                                      NOTICE TO PARTIES OF
                                         Defendant(s).            COURT—DIRECTED ADR PROGRAM




     NOTICE TO PARTIES:
            It is the policy of this Court to encourage settlement of civil litigation when such is in the
     best interest of the parties. The Court favors any reasonable means, including alternative
     dispute resolution (ADR), to accomplish this goal. See L.R. 16-15. Unless exempted by the
     trial judge, parties m all civil cases must participate in an ADR process before trial. See L.R.
     16-15:1.
          The district judge to whom the above-referenced case has been assigned is participating in
     an ADR Program that presumptively directs this case to either the Court Mediation Panel or to
     private mediation. See General Order No. 11-10, §5. For more information about the Mediation
     Panel, visit the Court website, www.cacd.uscourts.gov, under "ADR."
         Pursuant to L.R. 26-1(c), counsel are directed to furnish and discuss with their clients the
    attached ADR Notice To Parties before the conference of the parties mandated by Fed.R.Civ.P.
    26(f). Based upon the consultation with their clients and discussion with opposing counsel,
    counsel must indicate the following in their Joint 26(f) Report: 1) whether the case is best
    suited for mediation with a neutral from the Court Mediation Panel or private mediation; and 2)
    when the mediation should occur. See L.R. 26-1(c).
         At the initial scheduling conference, counsel should be fully prepared to discuss their
    preference for referral to the Court Mediation Panel or to private mediation and when the
    mediation should occur. The Court will enter an Order/Referral to ADR at or around the time
    of the scheduling conference.


                                                           Clerk, U.S. District Court
                                                           By lsl Geneva Hunt
                                                           Deputy Clerk

    ADR-08 (04/18)           NOTICE TO PARTIES OF COURT-DQtECTED ADR PROGRAM




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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                    NOTICE TO PARTIES: COURT POLICY ON SETTLEMENT
                   AND USE OF ALTERNATIVE DISPUTE RESOLUTION (ADR)
                 Counsel are required to furnish and discuss this Notice with their clients.


    Despite the efforts of the courts to achieve a fair, timely and just outcome in all cases, litigation
    has become an often lengthy and expensive process. For this reason, it is this Court's policy to
    encourage parties to attempt to settle their disputes, whenever possible, through alternative
    dispute resolution (ADR).
    ADR can reduce both the time it takes to resolve a case and the costs of litigation, which can be
    substantial. ADR options include mediation, arbitration (binding or non-binding), neutral
    evaluation (NE), conciliation, mini-trial and fact-finding. ADR can be either Court-directed or
    privately conducted.
    The Court's ADR Program offers mediation through a panel of qualified and impartial attorneys
    who will encourage the fair, speedy and economic resolution of civil actions. Panel Mediators
    each have at least ten years of legal experience and are appointed by the Court. They volunteer
    their preparation time and the first three hours of a mediation session. This is a cost-effective
    way for parties to explore potential avenues of resolution.
     This Court requires that counsel discuss with their clients the ADR options available and
     instructs them to come to the initial scheduling conference prepared to discuss the parties'
     choice of ADR option. The ADR options available are: a settlement conference before the
     magistrate judge assigned to the case or the magistrate judge in Santa Barbara, the Court
     Mediation Panel, and private mediation. Counsel are also req'uired to indicate the client's choice
     of ADR option in advance of the initial scheduling conference. See L.R. 26-1(c) and
     Fed.R.Civ.P. 26(f).
     Clients and their counsel should carefully consider the anticipated expense of litigation, the
     uncertainties as to outcome, the time it will take to get to trial, the time an appeal will take if a
     decision is appealed, the burdens on a client's time, and the costs and expenses of litigation in
     relation to the amounts or stakes involved.
     Each year thousands of civil cases are filed in this district, yet typically no more than one
     percent go to trial. Most cases are settled between the parties, voluntarily dismissed, resolved
     through Court-directed or other fonns of ADR, or dismissed by the Court as lacking in merit or
     for other reasons provided by law.
     For more information about the Court's ADR Program, the Mediation Panel, and the profiles of
     mediators, visit the Court website, www.cacd.uscourts.gov, under "ADR."




     ADR-08 (04/18)           NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM




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             Case 2:20-cv-10;§i~FL%Vy~VKTTS%IS~AC+&dW&NVi&OD194h~98F ILPA%t"                                                                                        3 Page ID #:43
                       (AMENDED/CORRECTED) CIVn. COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourseif Q)                                 DEFENDANTS                         ( Check box if you are representing yourself [:])

TIMOTHY LACHENMEIER, an Indivldual, and IQiISTEN LACHENMEIER an individual                        THE BOEING COMPANY, a Delaware Corporatlon, BOEING DEFENSE, SPACE &
                                                                                                  SECURITY, and DOES 1-10 ,

(b) County of Residence of First Listed Plaintiff Tillamook                                       County of Residence of First Listed Defendant                                                     New Castle
(EXCEPT IN U.S. PLAINTiFFCASES)                                                                   (1N U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Ffrm Name, Address and Telephone Number)                If you are                 Attomeys (Firm Name, Address and Tefephone Number) If you are
representing yourseif, provide the same Information.                                              representing yourself, provide the same information.


ANDRADE GON7ALEZ LLP, 634 S. Spring St., Top Floor, Los Angeles, CA 90014


II. BASIS OF JURISDICTION (Place an X in one box oniy.)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Oniy
                                                                                                (Place an X in one box for piaintiff and one for defendant)
                                                                                                                            PTF
~   1. US. Govemment                 ~   3. Federal Question (U.S.                                                              ❑       1 O F1        Incorporatd or Prindpal Place                            ~    4     ~F 4
                                                                                          C'dizen ofTh1s State
    Plaintiff                            Govemment Not a Party)                                                                                       of Business in this State
                                                                                          Citizen ofAnother State               ❑
                                                                                                                                E 2 ❑ 2 Incorporatd and Prindpal Place                                         ❑ 5 ❑
                                                                                                                                                                                                                   x 5
                                                                                                                                                      of Business in Another State
n   2. U.S. Govemment                Q 4. Diversity (Indicate Gtizenship                  Citizen or Subject of a               ❑ 3            ❑ 3 Foreign Nation                                              ❑    6 ❑            6
    Defendant                          of Parties in Item 111)                            Forelgn Country

IV.ORIGIN (Place an X in one box only.)                                                                                                                          6. Muttidistrlct                        B. Multidistrict
      1. Original         2. Removed from           3. Remandd from            4. Relnstated or             S. Transferred from Another ❑                           Utlgation -                     ~       LWgatEon -
0       Proceding ~         State Court        ~      AppellateCourt' ~          Reopened       ~                District (Spectfy)                                 Transfer                                Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND: ❑
                                        X Yes F] No                                                  (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [-]Yes Z No                                                     g MONEY DEMANDED IN COMPLAINT: $ 1=xcess of $75,000
VI. CAUSE OF ACTION (Cite the US. Civil Statute under which you are filing and write a brtef statement of cause. Do not cite ju(sdicttonal statutes uniess diverstty.)
28 US. Code 41332

Vil. NATURE OF SUIT (Place an X in one box only).
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❑   375 False Claims Act       ❑ 110 Insurance            ❑    240 Torts to Land                  462 Naturalintton                 ~          Habeas CorPuss                     ❑            820 Copyrights
                                                                                             ❑    Application                       ❑         463 Alien Detainee
    376 Qui Tam                ❑ 120 Marine               ❑    245 Tort Product                                                                                                   ❑            830 Patent
❑   (31 USC3729(a))                                            Liability                      465pther             ❑                          510 Motions to Vacate
                                                                                                                                              Sentence                                         835 Patent-Abbreviated
    400 State                  ❑ 130 Miller Ad            ❑    240 All Other Real           ❑ Immigration Adions
                                                                                                a~         ,~ i;~~ ❑                          530 General                         ❑            New Drug Application
❑   Reapportlonment                 140 Negotlable             ~o                           ~
                                                                     p.                                            ❑                          535 Death Penalty                                840 Trademark
❑   410 Antitrust              ❑    Instrument                           s                  ~RS~~I~!                                                                              ❑
                                                                                                                                                  ~~                              ❑            880 Defend Trade Secrets Ad
❑   430 Banks and Banking ❑
                                    150 Recovery of                                         ❑ 370 Other Fraud
                                    Overpayment &         ❑    310 Alrplane                                        ❑                          540 Mandamus/Other                               of 2016 (DTSA)
❑   450      merce/ICC                        nt of                                         ❑ 371 Tnrth [n Lending
                                                               315 Afrpla ne
    ~~~ c                           Judgment              ❑    Product Liability                                                              550 Civil Rights
                                                                                             ❑    380 Other Peraonal                ❑
❑   460 Deportation                                                                                                                                                                            ~1 HIA (1395ff)
                            ❑ 151 Medlcare Act                 320 Assault, Libel &               Property Damage                   ❑         555 Prison Condition                ❑
    470 Racketeer Influ-                                  ❑    Slander                                                                                                                         862 Black Lun
❑   enced & Corrupt Org.      152 Recovery of                  33o Fd . Em py                    385 Pro      Dama e         560 Civll Detainee    ❑                                                     g(9~ )
                                                                             lo ers'         ❑           Liabiltty g ❑ Condlttons of
                                                                                                 Product~~
❑   480 ConsumerCredit ❑ Defaultd Student                 ❑    Ltability                                                                           ❑                                           863 DIWUDIWW (405 (g))
                              Loan(Exd.Vet.)                                                     1tBA1p~ ,-        ~         ConRnement
    485 Telephone                                         ❑    340 Marine                         r `' "            -~~                         in []                                          864 SSID Title XVI
❑   Consumer Protection Act   153 Recovery of                  345 Marine Product
                                                                                                 422 APP~I 28         ~,~~,~<~_
                                                                                                                         ~~~~x W .
                            ❑ OverPayment of                                                 ❑   USC 158                     625 Drug Related      ❑                                           865 RSI (405 (g))
❑   490 Cable/Sat TV                                      ❑    Uability
                              Vet. Benefits                                                      423 wlthdrawal 28    ❑ ~~re of Property 21
     850 Securities/Com-                                  ❑    350MotorVehide                ❑ USC157         USC881
❑    modities/Exchange              160 Stockholders'
                                                               355 Motor Vehlcie            ;;~ ..        ~ ❑ 6`m ~~                                                                           870 Taxes (US. Plafntiff or
     890 Other Statutory       ❑ Su~                      ❑    Product Liability
                                                                                            se~~~~~f~S~~~~;
                                                                                                                             ~~ „         ~ ~~;ss ~ ❑                                          Defendant)
❑    Actions                   ❑    190 Other                                                     ~ aher Civil Rights `""`               ~ Y
                                                               360 Other Personal            ❑                                                                                                 871 IRS•Third Party 26 USC
❑    891 Agricuitural Acts          Contract              0    Injury                        ❑    441 Voting         ❑ 7~    Falr tabor Standards   ❑                                          7~ 9
                                                                                                                           A
     893Enstronmental             95                                                ry
                               ❑ prod uAct Liability      ❑    Md PMalpratfce u              ❑    ~ 2 Employment                    ❑         720 Labor/Mgmt
                                                                                                  443                                         Relations
❑   89{ Freedom of info.       ❑    196 Franchise              365 Personal tnjury-
                                                          ❑                                  ❑    Accommodattons
    A                                                          Product Liability                                                    ❑ 740 Railway Labor Act
                                                               367 HeaRh Care/                    445 Arrrerican with
❑    896 Arbitration                                                                              DisabilEttes-                     ❑         751 Fami~ and Medtcal
                                    210 Land                   Pharmaceutical                ❑                                                Leave Ad
  899 Admin. Procedures ❑           Condemnatlon          ❑    Personal Injury _                  Employment
❑ AcVReview of Appeal of ❑                                     Product Uabllity                   446 American with                           790 Other Labor
                                    ~0 Foreclosure
  Agency Dedsion                                               368 Asbestos                  ❑    Disabllities-Other                ❑         Utigdon
  950                     of                    ease &    ❑    pera nal Injury               ❑    448 Educatlon                     ❑         5 1~ E~ A~ Ret. Inc.
❑ 5tate Stattutes'onality    ❑      Eectment                     o                                                                             ~


FOR OFFICE USE ONLY:                       Case Number.
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                           (AMENDED/CORRECTED)CIVII. COVER SIiEET

VIII. VENUE: Your answers to the questions below wiil detennine the divislon of the Court to which this case will be initially assigned. This Initial assignment is subJect
to change, ln accordance with the Court's General Orders, upon review by the Court of your Compiaint or Notice of Removal.
QUESTION A: Was this case removed e                                                         g: ~~ .      ~          ~                             ~~~                   ~~t ~~1~~ ~ ~                     ~ i                ~~
from state court?                                                                                                                                                                                "                  ~~            ~~~~
                 ❑        Y~            ~       Na                                            ~        ~4          . "~.~                     ~~~~~~~
                                                                                                                                                    .               ~ K~T~~i                i ~~~ ~~~~.
                                              ❑                                     Los Angeles, Ventura, Santa Barbara, or San Luls Obispo                                                                                                    Westem
If °no,"skip to Question B. If'yes," checkthe
box to the right that applies, enter the      ❑                                    Orange                                                                                                                                                     Southem
corresponding divislon in response to
Questlon E, below, and continue from there. ❑                                       Riverside or San Bernardlno                                                                                                                                 Eastem
     _                                                                                 ,
                                                                                    _               .,,;     •- ~
                                                                          ~                                                                                                                                                    ~
QUESTION B: Is the United States, or B.I. Do 50%or more of the defendants who reside In                                                                                      YES, Your case will initialiy be assigned to the Southem Divlsion.
one of its ageneies or empioyees, a                                         the district reside In Orange Co.?                                                      ❑        Enter "Southem" In response to Question E, below, and contlnue
PLAINTIFF in this aetion?                                                                                                                                                    from there.
                                                                            chedt one of the boxes to the rlght                    ~~
                         Yes
                 ❑                      ® No                                                                                                                        ❑        N0. Continue to Question B.2.

                                                                            8.2. Do 50% or more of the defendants who reside in                                              YES. Your case will initially be assigned to the Eastem Division.
If "no,' skip to Question C. If 'yes; answer                                the district restde In Riverside and/or San Bemardino                                   ❑        Enter °Eastem' in response to Questlon E, below, and continue
Question B.1, at rfght                                                      Counties? (Consider the two counties together.)                                                  from there.

                                                                            check one ofthe boxes to the right                     ♦                                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                                                                    ❑        Enter "Westem' in response to Question E, below, and continue
                                                                                                                                                                             from there.
~=~T3~~nown k                                                      NURNNURNERT552                                                  i" ., ,,. .'e,m~~
QUESTION C. Is the Uttited States, or G7. Do 5096 or more of the plaintiffs who reside In the                                                                                YES. Your case will initially be assigned to the Southem Division.
one of its ageneies or empioyees, a   dlstrict reside in Orange Co.?                          ❑                                                                              Enter "Southem" In response to Questian E, below, and continue
DEFENDANT in this aetion7                                                                                                                                                    firom there.
                                      check one of the baxes to the rfght   "'~
             ❑  Yes El No                                                                     ❑                                                                              NO. Continue to Question C2.

                                                                            C.2. Do 50% or more of the plaintiffs who reside In the                                          YES. Your case will lnitially be assigned to the Eastem Divislon.
If "no,' sidp to Question D. If "yes; answer                                district reside in Riverside and/or San Bemardino       ❑                                        Enter "Eastem" in response to Question F. below, and continue
Question Cl, at right.                                                      Counties? (Consider the two countles together.)                                                  from there.
                                                                            check one of the boxes to the rlght                                                               NO. Your case wlll Initially be assigned to the Westem Division.
                                                                                                                                                                    ❑        Enter 'Westem' in response to Question E, below, and continue
                                                                                                                                                                             from there.
                       y"'~. ~     i                . .    -                    is" a,y.~                ..~      _ -_~.              .~     . ~t '9,°x.      ~~y~ ~ Y ~ .
                                                                                                                                                                      ~'                   n                             B.~96~`"`°..~~~ ~
  ~~ ~~'~                                                                                                                                                       q~                                    _    .
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   ~!]N 4~: iaCatiwp ) pl9tnt~8;~ttd                                                           ~ dants3                                                    Qrange County                                  BemardiyQCottr>~r ~~~~             a~~ir
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O                   o~                                                                                                                                                  ~         y


Indicate the location(s) In which 50% or more of plaintiffs who reside In thls district                                                                             ~                                                    ~                                          ~
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside In this
distrid reside. (Check up to two boxes, or leave blank if none of these choices                                                                                                                                                                                     0
apply.)
                                            _                  ~    . xP`""r.-, ro:.~.,z .a.~—e~-cy -~ ~sssSe ,+~_:t.°,~.. ~r    ~ ,~                                ~d 4~~      u} ~. ~~a~is~'~~.. -:,~_,
                                                                                                                                                                                                       i~`"r                     "5''L~v
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                                                                                                                                                                                                                ».~: ztER~SG~'9!~~,

                     D.1. Is there at ieast one answer in Column A7                                                                                                 D.2. Is there at least one answer In Column B?
                                                          X~ Yes            R       No                                                                                                               E] Yes                         No

                           If 'yes,"your case wili lnitlally be assigned to the                                                                                             If "yes; your case will Initlaliy be assigned to the
                                                    SOUT1iERN DIVISION.                                                                                                                          EASTERN DIVISION.

       Enter'Southem' in response to Question E, below, and continue from there.                                                                                         Enter'Eastem° in response to Question E, below.
                                        If'no," go to question D2 to the right                                                                                    If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                                                                         Enter °Westem' ln response to Question E, below.                                                  .lr

                                                                                                                                                                                                                                   ~           ~
                          ~~~v~si~n~ ~                                                                                                                                                                                     '[t~- ~`~~ ~~                    ~
 _e         ~4~sTIY-            ~~..~~n:...ai                                ~
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Enterthe initial divislon determined by Question A, B, C, or D above:                                                                                                                                      SOUTHERN
      m E          ~ ~~~                    ~                                                                           ~ ~ t~                                                                                  a
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  U          R ~O~E~Nq~tt~rn~o~ae~~he~~8.
                    ~ V ~~    r..~     _~~~~~~~            -                                          ~_ ~~           ~~~
                                                                                                          ... ~ ~G~ ._~                 n,         ~                          ~
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties? ~                                                                                                              ~        Yes            XQ No
 cval (10/20)                                       (AMENDED/CORRECTED) cmt. covER sHeEr                                                                                                                                                                         Page z of 3


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                       (AMENDED/CORRECTED) CIVIL COVER SHEET
IX(a). IDENTICAL CASES: Has this action been prevtously filed in this court?                                                                       NO                  YES

        If yes, Ilst case number(s):

IX(b). RELATED CASES: Is this case related (as defined beiow) to any civil or criminal case(s) previously fi(ed in this court?
                                                                                                                                              Z NO               n YES
        If yes, Iist case number(s):


        Civil cases are related when they (check all that apply):

              � A.     Arise from the same or a closely related transaction, happening, or event;
              � B.     Call for determination of the same or substantially re(ated or similar questions of law and fact; or
              Fl C. For other reasons would entail substantial duplication of labor (f heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itse(f, sufftcient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

              � A.     Arise from the same or a closely related transaction, happening, or event;

              � B.     Call for determination of the same or substantially related or similar questions of law and fact; or

              Fl C. Involve one or more defendants from the criminal case in common and wou(d entail substantial duplication of
                     labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /s/ Sean A. Andrade                                                                                  DATE: 11 /17/2020

Notice to Counsel/Parties: The submission of this C(vtl Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by (ocal rules of court. For
more detailed instructions, see separate instructlon sheet (CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substanthre Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) underTitle 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              indude daims by hospitals, skilled nursing fdcilitles, etc., for certiflmtion as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               AII claims for °Black Lung" benefds underTitle 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                        plyyC           AII claims filed by lnsured workers for disability insurance benefits under Tttle 2 of the Sodal Security Act as amended; plus
                                                   all ciaims filed for child's insurance berte8ts based on disability. (42 U.S.C. 405 (g))

                                   Dlyyyy          All daims filed for widows orwidowers insurance benef'its based on disability under Title 2 of the Soclal Security Act as
        863                                        amended. (42 U.S.C. 405 (g))

                                                   All daims for supplemental secudty income payments based upon disability filed underlide 16 of the Social Secuidy Act, as
        864                       SSID             amended.

        865                        RSI             AII ciaims for retirement (oid age) and survivors benefits underTitle 2 of the Sodal Security Act, as amended.
                                                   (42 US.C.405 (g))




ar-a1 (1oc2o)                    (AMENDED/CORRECTED) CML CovER sH1:Er                                                                                            Page 3 of 3


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      2
      3
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      5
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      8
                           UNITED STATES DISTRICT COURT
      9                   CENTRAL DISTRICT OF CALIFORNIA

      10 TIMOTHY LACHENMEIER, et al.          CASE NO:
                                              8:20—cv-02206—JVS—JDE
      11           Plaintiff(s),
      12       V.                             INITIAL ORDER FOLLOWING
                                              FILING OF COMPLAINT
      13 THE BOEING COMPANY, et al.           ASSIGNED TO NDGE SELNA
      14
      15              Defendant(s).
      16
      17
       18
       19
       20
       21   COUNSEL FOR PLAINTIFF SHALL SERVE THIS ORDER ON ALL

       22' DEFENDANTS AND/OR THEIR COUNSEL ALONG WITH THE SUNIMONS
       23
           AND COMPLAINT, OR IF THAT IS NOT PRACTICABLE AS SOON AS
       24 POSSIBLE THEREAFTER. IF THIS CASE WAS ASSIGNED TO THIS
       25   COURT AFTER BEING REMOVED FROM STATE COURT, THE
       26   DEFENDANT WHO REMOVED THE CASE SHALL SERVE THIS ORDER
       27   ON ALL OTHER PARTIES.
       28

                                            -1-
                                                                                 86
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              This case has been assigned to the calendar of Judge James V. Selna.
      2     The intent of this Order is to ensure that this case will proceed so as "to secure [a]
      3     just, speedy and inexpensive determination." (Fed.R.Civ. P., Rule 1.)
      4

      5          A.     THE COURT'S ORDERS
      6
      7                Copies of Judge Selna's orders that may have specific application to

      8     this case are available on the Central District of California website. See ¶ N.

      9     Those orders include the following:
      10
      11               (1) Order Setting Rule 26(f) Scheduling Conference
      12               (2) Order re Civil Jury Trials
      13               (3) Order re Civil Court Trials
      14               (3) Order re RICO Case Statement
      15
      16         B. - SER.VICE OF PLEADINGS

      17
      18               Although Fed.R.Civ.P., Rule 4(m) does not require the summons and

      19    complaint to be served for as much as 120 days, the Court expects that the initial
      20    pleadings will be served much sooner than that, and will require plaintiff to show
       21   cause before then if it appears that there is undue delay.
       22
       23         C.     ASSIGN ENT TO A MAGISTRATE JUMGE
       24
       25              Under 28 U.S.C. § 636, the parties may consent to have a Magistrate
       26   Judge preside over all proceedings, including trial. The Magistrate Judges who
       27   accept those designations are identified on the Central District's website, which
       28   also contains the consent form. See ¶ N.

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              D. EX PA$TE PRACTICE
    2
      3          Ex parte applications are solely for extraordinary relief and should
      4     be used with discretion. ee Mission Power En gineering Comnanv v.

      5     Continental Casualtv Co., 883 F. Supp. 488 (C. D. Cal. 1995). The Court will
     .6     generally decide ex parte matters on the papers. Opposition to an ex parte
      7     application, if any, should be submitted within-24 hours.
      8
      9          E. APPLICATI NS AND STIPULATIONS FOR EXTENSIONS

      10             OF TIME

      11
      12             No stipulations extending scheduling requirements or modifying

      13    applicable rules are effective until and unless the Court approves them. Both
      14    applications and stipulations must set forth:

      15
      16             1. The existing due date or hearing date;
      17
      18             2. Specific, concrete reasons supporting good cause for granting
       19   the extension. In this regard, a statement that an extension "will promote
       20   settlement" is insufficient. The requesting party or parties must indicate the
       21   status of ongoing negotiations: Have written proposals been exchanged? Is
       22   counsel in the process of reviewing a draft settlement agreement? Has a mediator
       23   been selected?
       24
       25            3. Whether there have been prior requests for extensions, and
       26   whether these were granted or denied by the Court.
       27
       28

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                 F.   TROs AND INJUNCTIONS
      2

      3          Parties seeking emergency or provisional relief shall comply with

      4    F.R.Civ.P., Rule 65 and Local Rule 65. The Court will not rule on any
      5    application for such relief for at least 24 hours after the party subject to the
      6    requested order has been served; such party may file opposing or responding
      7    papers in the interim.
      8

      9          G.    CASES REMOVED FROM STATE COURT
      10
      11         All documents filed in state court, including documents appended to
      12   the complaint, answers and motions, must be refiled in this Court as a supplement
      13   to the Notice of Renewal, if not already included. See 28 U.S.C. § 1447(a),(b). If
      14   the defendant has not yet answered or moved, the answer or responsive pleading
      15   filed in this Court must comply with the Federal Rules of Civil Procedure and the
      16   Local Rules of the Central District. If before the case was removed a motion was
      17   pending in state court, it must be re—noticed in accordance with Local Rule 7.
      18
      19         H.    STATUS OF FICTITIOUSLY NAMED DEFENDANTS
      20
      21
                 This Court intends to adhere to the following procedures where a matter
      22   is removed to this Court on diversity grounds with fictitiously named defendants.
      23   ( ee 28 U.S.C. §§ 1441(a) and 1447.)
      24
      25              1. Plaintiff is normally expected to ascertain the identity of and
      26   serve any fictitiously named defendants within 120 days of the removal of the acti
      27   to this Court.
      28   ///

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                   2. If plaintiff believes (by reason of the necessity for discovery or
      2     otherwise) that fictitiously named defendants cannot be fully identified within the
      3     120—day period, an ex parte application requesting permission to extend that period
      4     to effectuate service may be filed with this Court. Such application shall state the

      5     reasons therefor, and may be granted upon a showing of good cause. The ex parte

      6     aPPlication shall be served uPon all aPP earing Parties~ and shall state that aPPearing
      7     parties may comment within seven (7) days of the filing of the ex parte application.
      8

      9              3. If plaintiff desires to substitute a named defendant for one of the
      10
            fictitiously named parties, plaintiff first shall seek to obtain consent from counsel
      11    for the previously—identified defendants (and counsel for the fictitiously named
      12    party, if that party has separate counsel). If consent is withheld or denied, plaintiff
      13
            may apply ex parte requesting such amendment, with notice to all appearing
      14    parties. Each party shall have seven calendar days to respond. The ex parte
      15    application and any response should comment not only on the substitution of the
      16    named party for a fictitiously named defendant, but on the question of whether the
      17    matter should thereaffter be remanded to the Superior Court if diversity of
      18    citizenship is destroyed by the addition of the new substituted party. See U.S.C. §
       19   1447(c), (d).
      20
      21
                  I. BANKRUPTCY APPEALS
      22
       23         Counsel shall comply with the ORDER RE PROCEDURE TO BE
       24   FOLLOWED IN APPEAL FROM BANKRUPTCY COURT issued at the time the
       25   appeal is filed in the District Court.
       26

       27   ///

       28

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                  J. MOTIONS UNDER FED.R.CIV.P. RULE 12
      2

      3          Maay motions to dismiss or to strike could be avoided if the parties

      4     confer in good faith (as they are required to do under L.R. 7-3), especially for
      5     perceived defects in a complaint, answer or counterclaim which could be corrected

      6     by amendment. Sgg Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir. 1996) (where a
      7     motion to dismiss is granted, a district court should provide leave to amend unless
      g     it is clear that the complaint could not be saved by any amendment). Moreover, a
      9     party has the right to amend his complaint "once as a matter of course at any time
      10    before a responsive pleading is served." Fed.R.Civ.P., Rule 15(a). A 12(b)(6)
      11    motion is not a responsive pleading and therefore plaintiff might have a right to
      12    amend. See Nolen v. Fitzharris, 450 F.2d 958, 958-59 (9th Cir. 1971); St.

      13    1Viichael's Convalescent Hospital v Cali ornia, 643 F.2d 1369, 1374 (9th Cir. .
      14    1981). And even where a party has amended his Complaint once or a responsive
      15    pleading has been served, the Federal Rules provide that leave to amend should be
      16    "freely given when justice so requires." F.R.Civ.P., Rule 15(a). The Ninth Circuit
      17    requires that this policy favoring amendment be applied with "extreme liberality."
      18    Morongo Band QtMission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
      19
      20         These principles require that counsel for the plaintiff should carefully
      21    evaluate the defendant's contentions as to the deficiencies in the complaint, and
      22    that in many instances the moving party should agree to any amendment that would
      23    cure a curable defect.

      24
      25         The moving party shall attach a copy of the challenged pleading to the
      26    Memorandum of Points and Authorities in support of the motion.
      27
      28

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               The foregoing provisions apply as well to motions to dismiss a
      2     counterclaim, answer or affirmative defense, which a plaintiff might contemplate
      3     bringing.
      4

      5          K. .REQUIREMENTS FOR BRi_EFS
      6

      7          In addition to the requirements in Local Rule 11, the Court requires

      8     the following for all briefs:
      9
      10                1. No footnote shall exceed 5 lines. The Court strongly discourages.
      11    the use of extensive footnotes as a subterfuge to avoid page limitations in the Local
      12    Rules.
      13
      14                2. All footnotes shall be in the same type size as text. ee Local Rule
      15    11-3.1.1.
      16
      17                3. Each case cited shall include a jump cite to the page or pages wwhere
      18    the relevant authority appears (e.g., United States v. Doe, 500 U. S. 1, 14, 17
      19    (1997)).
      20
      21    Failure to follow these requirements may result in rejection of a brief for
      22    correction.
      23
       24        L. LEAI) COUNSEL
      25
      26         Lead counsel shall appear on all dispositive motions, scheduling
       27   conferences, and settlement conferences. The Court does n®t entertain special
       28 1 appearances; only counsel of record may appear.

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              M. COURTESY COPIES
     2

      3          A courtesy copy of all electronically filed pleadings shall be delivered

      4     to Judge Selna's courtesy copy drop on the tenth floor at the rear of the elevator
      5     lobby by noon the day following filing. Failure to make timely delivery of the
      6     courtesy copies may result in a delay in hearing a motion or ordering the
      7     matter off calendar.
      8

      9          N.    ELECTRONIC COPIES
      10

      11         When the Court requires an electronic copy of a document (e.g., with
      12    proposed jury instructions), a copy shall be submitted at time of filing in one of the
      13    following manners: providing a copy on a disk, CD, or thumb drive in a labeled
      14    envelope and lodged with the clerk; or by e—mailing a copy to the Courtroom
      15    Deputy (JVS_Chambers@cacd.uscourts.gov). Regardless of inedia, the document
      16    should be formatted in WordPerfect9 or higher.
      17
      18         O. WEBSITE
      19
      20         Copies of this Order and other orders of this Court are available on the
       21   Central District of California's website, at "www.cacd.uscourts.gov" at Judge
       22   Selna's home page located under "Judge's Procedures and Schedules."
       23
       24        P. TENTATIdES—]DAY O 1≤IEARING AND WEB POSTING
       25
       26        The Court attempts to issue tentative rulings on eaeh motion. Tentatives
       27   will be posted on the Court's website: www.cacd.uscourts.gov/. From the home

       28   page, click on "Judges' Procedures and Schedules" in the lefft column. From the

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          list click on "Hon. James V. Selna," which will take you to Judge Selna's page.
      2    Click on the red notice in the upper left: "Click here to view Tentative Rulings."
      3    Then click on the desired ruling which comes up in a.pdf file which can be read
      4    with an Adobe Acrobat reader. Judge Selna attempts to post tentatives by late
      5    Friday affternoon preceding the hearing date. Hard copies of tentatives will also
      6    be available from the clerk approximately 15 minutes before the hearing.
      7

      8         The Court thanks counsel and the parties for their anticipated

      9    cooperation.
      10
      11      IT IS SO ORDERED.
      12                                                      ~ t
      13 DATED: November 19, 2020
      14                                      James V. Selna
                                              United States District Judge
      15
      16
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 NAME, ADDRESS, AND TELEPHONE NUMSER OF ATPORNEY(S)
 OR OF PARTY APPEARING IN PRO PER


 SEAN A. ANDRADE/HENRY H. GONZALEZ
 ANDRADE GONZALEZ LLP
 634 S. SPRING ST., TOP FLOOR
 LOS ANGELES, CA 90014
 TELEPHONE: (213) 986-3950


 AiroRNEx(s) FoR: PLAINTIFFS

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
TIMOTHY LACHENMEIER, an-individual, and                                        ✓.cxa~
                                                                              ;~*r

KRISTEN LACHENMEIER, an individual,
                                                              Plaintiff(s).
                                     v.
THE BOEING COMPANY, a Delaware
                                                                                           CERTIFICATION AND NOTICE
Corpbration, BOEING DEFENSE, SPACE &
                                                                                             OF INTERESTED PARTIES
SECURITY, and DOES 1-10,                                                                          (Local Rule 7.1-1)
                                                             Defendant(s) I

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                         TIMOTHY LACHENMEIER and KRISTEN LACHENMEIER
or party appearing in pro per, certifies that the folEowing listed party or parties may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                              PARTY                                                     CONNECTION / INTEREST

TIMOTHY LACHENMEIER                                                           PLAINTIFF

KRISTEN LACHENMEIER                                                           PLAINTIFF

THE BOEING COMPANY                                                            DEFENDANT

BOEING DEFENSE, SPACE & SECURITY                                              DEFENDANT




         November 12, 2020                                 /s/ Sean A. Andrade
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           TIMOTHY LACHENMEIER and KRISTEN LACHENMEIER


CV-30 (05/13)                                           NOTICE OF INTERBSTED PARTIES


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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                                                    CASE NUMBER:
    TIMOTHY LACHENMEIER, et al.
                                                   PLAINTIFF(S),         2:20—cv-10363—SVW (JPRx)

           V.

    THE BOEING COMPANY, et al.
                                                                           NOTICE OF INTRA-DISTRICT
                                                DEFENDANT(S).            TRANSFER BY CLERK OF COURT


    To: All Counsel Appearing of Record
        Due to clerical error, this case was improperly a.ssigned to the _ Division of this District. Pursuant to
    General Order 19-03 this case is hereby transferred to the _ Division for all further proceedings.
    7X     Case was opened in the CM/ECF System by counsel, and provisionally assigned to a division of this Court.
    After review of the pleadings, pursuant to the General Orders of the Court, this case is hereby transferred to
    the Southern Division.
         This case has been reassigned to case number 8:20—cv-02206—JVS fJDExI and has been reassigned to
      Judge James V. Selna for all further proceedings.
        Any matters that are or may be referred to a Magistrate Judge are hereby reassigned to ~Mgistrate Judee
    John D. Earlv for:
                X any discovery and/or post judgment matters that may be referred.

                 for all proceedings in accordance with General Order 05-07.
         All subsequent documents filed must reflect the new case number and newly assigned District
     Judge's/Magistrate Judge's initials as follows: 8:20—cv-02206—JVS (tiDEx) . Unless documents are exempted
     from electronic filing, they must be filed electronically on the docket under the new case number.
         Please be advised that no further filings may be made under case number 2:20—cv-10363—SVW
    (JpRxl . Any such filings made after the date of entry of this Notice may not be reviewed or considered by
    the Court.

                                                                             Clerk, U.S. District Court

                                                                             By: /s/ Estrella Tamqyo
                                                                             EctrellaL' eratoncacd uscourtS.gov
                                                                                Deputy Clerk


     cc: Previously assigned Judge/Magistrate Judge; Deputy-/n-Charge;
     Statistics Clerk


     G-73 (03/19)          NOTICE OF INTRA—DISTRICT TRANSFER BY CLERK OF COURT

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 Attomey orParty without Attomey:
    Magdalena D. Kozinska, Esq., SBN: 258403
    WRIGHT FINLAY & ZAK LLP / OC
    4665 MacArthur Court 280
    Newport Beacfi, CA 92660                 E-MAaaDDRESS(opttonap: mkozinska@wrightlegal.net
'TELEPHONENo.: (949) 477-5050                                                FAXNo. (Optional):

 Attomeyfor. Plaintiff Piedmont Capital         Management, LLC
                                                                                 Ref No. or File No.:
                                                                                                        201-2020880
 Insert name of Court, and Judicial Distnct and Branch Court:
    Superior Court Of California, County of Sacramento - Gordon D. Schaber County Courthouse

  Petitioner:   Piedmont Capital Management, LLC
Respondent:     Bounthavy M. Rasaphangthong, et al.

                                                                       HEARING DATE:                         TIME:       DEPT.:     CASE NUMBER:
                 DECLARATION                                                                                                                 34-2020-00284914
            OF DUE DILIGENCE

    After due search, careful inquiry and diligent attempts at the following address(es), I have not been able to effect
    service of said process on: Linda Rasaphangthong
      Documents: Summons; Complaint; Alternative Dispute (ADR) package; Civil Case Cover Sheet; Order RE: Delay in
      Scheduling Initial Case Management Conference;




    Date              Time                               Results

    10/24/2020 1:52 PM                      Home                3611 Ivy St, Sacramento, CA 95838-3820
                                                                Per the subject's husband, Linda was at work and he would have her call me.

    10/26/2020 5:59 PM                      Home                3611 Ivy St, Sacramento, CA 95838-3820
                                                                No contact at the front door at night due to the gate being locked. I waited for about 10
                                                                minutes, honking my horn, before finally leaving.

    10/28/2020 11:47 AM Home                                    3611 Ivy St, Sacramento, CA 95838-3820
                                                                No answer at the front door. The interior lights were on. Unfortunately, no access from the
                                                                private fence.

    10/29/2020 12:00 PM Home                                    3611 Ivy St, Sacramento, CA 95838-3820
                                                                No contact. I did get a call from someone who said they were taking it through their Lawyer
                                                                while taking my report this morning. I gave my number to Linda's husband.

    12/1/2020             9:11 AM           Home                3611 Ivy St, Sacramento, CA 95838-3820
                                                                I honked a few times in front of the property with locked gate. No response.
    12/2/2020             5:16 PM           Home                3611 Ivy St, Sacramento, CA 95838-3820
                                                                No contact. The door knob of the gate was locked from the outside. I honked my horn several
                                                                times. Lights were on from the outside looking in.




Fee for Service: $ 139.20
        County: Sacramento
        Registration No.: 2017-12                                                                       I declare under penalty of perjury that the foregoing is true
    _ Nationwide Legal, LLC                                                                             and correct and that this declaration was executed on
        200 West Santa Ana Blvd., Suite 300                                                             December 7, 2020.
        Santa Ana, CA 92701              0'                                               •' 0
        (714) 558-2400

                                                                                                        Signature:
                                                                                                                                  Winston Loteyro
                                                                            0.       ~        ..
                                                                         DUE DILIGENCE REPORT
                                                                                                                                                          Order#: OC39825A



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                               EXHIBIT B




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                                          THE BOEING COMPANY GENERAL PROVISIONS
                                                                      GP2 (Fixed Price Services Contract - Commercial)
                                                                                                      (Rev 11/28/2016)

1. FORMATION OF CONTRACT. This proposed purchase contract, which incorporates by reference these General
   Provisions and all other terms and conditions set forth in this proposed purchase contract (collectively, the “Contract”),
   is Buyer's offer to purchase the services and any related goods, materials, and/or other deliverables (collectively, the
   “Services”) described in this offer. Acceptance is strictly limited to the terms and conditions included in this offer. Unless
   specifically agreed to in writing by Buyer's Authorized Procurement Representative, Buyer objects to, and is not bound
   by, any term or condition that differs from or adds to this offer. Seller's commencement of performance or acceptance
   of this offer in any manner shall conclusively evidence acceptance of this offer as written. Seller’s provision of the
   Services shall be governed solely by this Contract. Buyer and Seller are referred to herein as a “Party” or collectively
   as the “Parties.”

    Except as authorized herein, no amendment or modification of this Contract shall bind either Party unless it is in writing
    and is signed by the authorized representatives of the Parties.

2. SCOPE OF SERVICES. Seller shall furnish the Services set forth in the Contract during the term of this Contract.

3. INDEPENDENT CONTRACTOR. Seller is an independent contractor for all purposes. Seller shall have complete
   control over the performance of, and the details for accomplishing, the Services. In no event shall Seller or its agents,
   representatives or employees be deemed to be agents, representatives or employees of Buyer. Seller’s employees
   shall be paid exclusively by Seller for all Services performed. Seller shall comply with all requirements and obligations
   relating to such employees under federal, state and local law (or foreign law, if applicable). Such compliance shall
   include, but not be limited to, laws regarding minimum wages, social security, unemployment insurance, federal and
   state income taxes and workers’ compensation insurance.

4. STANDARDS. Seller shall assign personnel satisfactory to Buyer. Buyer may, for good cause shown in Buyer’s sole
   determination, require Seller to withdraw the services of any person and require that Seller promptly provide
   replacements for such person satisfactory to Buyer. Seller shall indemnify and hold harmless Buyer from and against
   any liabilities, claims, charges or suits for alleged losses, costs, damages or expenses arising from Buyer’s exercise of
   its rights hereunder.

5. SCHEDULE
   a. Time is and shall remain of the essence in the performance of this Contract and Seller shall strictly adhere to the
      schedules specified in this Contract. Failure to deliver in accordance with the Contract schedule, if unexcused, shall
      constitute a material breach of this Contract. In the event of any anticipated or actual delay, including but not limited
      to delays attributed to labor disputes, Seller shall: (i) promptly notify Buyer in writing of the reasons for the delay
      and the actions being taken to overcome or minimize the delay; (ii) provide Buyer with a written recovery schedule;
      and (iii) if requested by Buyer, ship via air or expedited routing, at no additional cost to Buyer, to avoid or minimize
      delay to the maximum extent possible.
   b. Seller shall not deliver Services prior to the scheduled delivery dates unless authorized in writing by Buyer’s
      Authorized Procurement Representative.

6. NOTICE TO BUYER OF LABOR DISPUTES. Whenever Seller has knowledge that any actual or potential labor dispute
   is delaying or threatens to delay the timely performance of this Contract, Seller shall immediately give notice thereof,
   including all relevant information, to Buyer.

7. PACKING AND SHIPPING
   a. Seller shall pack the goods and materials to prevent damage and deterioration. Unless otherwise set forth in this
      Contract, Seller shall package the goods in accordance with the requirements of Boeing Document D37522-6
      “Supplier Packaging”. Buyer may charge Seller for damage to or deterioration of any goods resulting from improper
      packing or packaging.
   a. If the Contract specifies FOB destination (place of delivery), then in addition to any other shipping instructions,
      Seller shall forward goods freight prepaid. Seller shall make the transportation arrangements, pay the shipping
      costs, and remain responsible for the goods and materials until the goods and materials are delivered and the Buyer
      takes possession at the destination.
   c. If the Contract specifies FOB origin (place of shipment), then in addition to any other shipping instructions, Seller
      shall forward goods collect. For goods shipped within the United States, Seller shall make no declaration
      concerning the value of the goods shipped except on goods where the tariff rating is dependent upon released or
      declared value. In such event, Seller shall release or declare such value at the maximum value within the lowest
      rating. Seller will ship the goods in accordance with the provisions set forth in the Boeing Domestic Shipment
      Routing Guide to be accessed through Buyer’s supplier portal at https://portal.exostar.com/. Sellers need a One

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       Time Password (OTP) token to log into the Boeing Supplier Portal. Upon Buyer’s request, Seller will identify
       packaging charges showing material and labor costs for container fabrication.
    d. Seller shall provide with each container shipped under this Contract an Advanced Shipping Notice (“ASN”). For
       each container shipped, Seller shall provide two (2) readable copies of the ASN barcode as follows: one (1) copy
       is to be securely affixed to the outside of each container and one (1) copy is to be loose inside each container. Non-
       conforming shipments are subject to rejection and repackaging at Seller’s expense. Instructions and guidelines
       related to the ASN process can be found on the Boeing Supplier Portal. Seller shall access by selecting the
       “Enterprise ASN Instructions” hyper-link under the header “Exostar Resources.” A copy of these instructions can
       also be found at www.exostar.com.

8. CHANGES
    a. Buyer's Authorized Procurement Representative may, without notice to sureties and in writing, direct changes within
       the general scope of this Contract in any of the following: (i) technical requirements and descriptions, specifications,
       statement of work, drawings or designs; (ii) shipment or packing methods; (iii) place of delivery, inspection or
       acceptance; (iv) reasonable adjustments in quantities or delivery schedules or both; (v) amount of Buyer-furnished
       property; (vi) terms and conditions of this Contract required to meet Buyer’s obligations under customer prime
       contracts or subcontracts; (vii) description of services to be performed; (viii) the time of performance (e.g., hours of
       the day, days of the week, etc.); and (ix) place of performance. Seller shall comply promptly with such direction.
       Except for the rights granted to Buyer under this Article, a change pursuant to this Article shall not give rise to nor
       authorize any other modification of or amendment to the terms and conditions of this Contract.
    b. If such change increases or decreases the cost or time required to perform this Contract, Buyer and Seller shall
       negotiate an equitable adjustment in the price or schedule, or both, to reflect the increase or decrease. Buyer shall
       modify this Contract in writing accordingly. Unless otherwise agreed in writing, Seller must assert any claim for
       adjustment to Buyer's Authorized Procurement Representative in writing within twenty-five (25) days, and deliver a
       fully supported proposal to Buyer's Authorized Procurement Representative within sixty (60) days, after Seller's
       receipt of such direction. Buyer may, at its sole discretion, consider any claim regardless of when asserted. If
       Seller's proposal includes the cost of property made obsolete or excess by the change, Buyer may direct the
       disposition of the property. Buyer may examine Seller's pertinent books and records to verify the amount of Seller's
       claim. Failure of the Parties to agree upon any adjustment shall not excuse Seller from performing in accordance
       with Buyer's direction.
    c. If Seller considers that Buyer's conduct constitutes a change, Seller shall notify Buyer's Authorized Procurement
       Representative promptly in writing as to the nature of such conduct and its effect upon Seller's performance.
       Pending direction from Buyer's Authorized Procurement Representative, Seller shall take no action to implement
       any such change.

9. SUSPENSION OF WORK
    a. Buyer's Authorized Procurement Representative may, by written order, suspend all or part of the work to be
       performed under this Contract for a period not to exceed one hundred (100) days. Within such period of any
       suspension of work, Buyer shall: (i) cancel the suspension of work order; (ii) terminate this Contract in accordance
       with the "Termination for Convenience" Article of this Contract; (iii) cancel this Contract in accordance with the
       "Cancellation for Default" Article of this Contract if grounds for default exist; or (iv) extend the stop work period.
    b. Seller shall resume work whenever a suspension is canceled. Buyer and Seller shall negotiate an equitable
       adjustment in the price or schedule or both if: (i) this Contract is not canceled or terminated; (ii) the suspension
       results in a change in Seller's cost of performance or ability to meet the Contract delivery schedule; and (iii) Seller
       submits a claim for adjustment within twenty (20) days after the suspension is canceled.

10. TERMINATION FOR CONVENIENCE. Buyer may terminate all or part of this Contract for its sole convenience. In the
    event of such termination, Seller shall immediately stop all work hereunder and shall immediately cause any and all of
    its suppliers and subcontractors to stop work. Subject to the terms of this Contract, within ninety (90) days after the
    effective date of termination, Seller may submit to Buyer a claim reflecting the percentage of the work performed prior
    to the effective date of termination, plus reasonable charges that Seller can demonstrate to the satisfaction of Buyer
    using its standard record keeping system have resulted from the termination. Seller shall not be paid for any work
    performed or costs incurred which reasonably could have been avoided. Further, Seller shall not be paid, and in no
    event shall Buyer be obligated to pay, lost or anticipated profits or unabsorbed indirect costs or overhead. In no event
    shall Buyer be obligated to pay Seller any amount in excess of the Contract price. The provisions of this Article shall
    not limit or affect the right of Buyer to cancel this Contract for default. Seller shall continue all work not terminated.

11. CANCELLATION FOR DEFAULT
    a. Buyer may, by written notice to Seller, cancel all or part of this Contract: (i) if Seller fails to deliver the Services

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       within the time specified by this Contract or any written extension; (ii) if Seller fails to perform any other provision of
       this Contract or fails to make progress, so as to endanger performance of this Contract, and, in either of these two
       circumstances, within ten (10) days after receipt of notice from Buyer specifying the failure, does not cure the failure
       or provide Buyer with a written detailed plan adequate to cure the failure if such failure reasonably cannot be cured
       within such ten (10) days and such plan is acceptable to Buyer’s Authorized Procurement Representative; or (iii) in
       the event of Seller's bankruptcy, suspension of business, insolvency, appointment of a receiver for Seller's property
       or business, or any assignment, reorganization or arrangement by Seller for the benefit of its creditors.
    b. Seller shall continue all Services not canceled. If Buyer cancels all or part of this Contract, Seller shall be liable for
       Buyer’s excess re-procurement costs.
    c. Buyer may require Seller to transfer title and deliver to Buyer, as directed by Buyer, any (i) completed goods, and
       (ii) any partially completed goods and materials, parts, tools, dies, jigs, fixtures, plans, drawings, information and
       contract rights (collectively, "Manufacturing Materials") that Seller has specifically produced or acquired for the
       canceled portion of this Contract. Upon direction from Buyer, Seller shall also protect and preserve property in its
       possession in which Buyer or its customer has an interest.
    d. Buyer shall pay the Contract price for completed goods accepted. In addition, any payment for Manufacturing
       Materials accepted by Buyer and for the protection and preservation of property shall be at a price determined in
       accordance with the "Termination for Convenience" Article of this Contract, except that Seller shall not be entitled
       to profit. Buyer may withhold from any amount due under this Contract any sum Buyer determines to be necessary
       to protect Buyer or Buyer's customer against loss because of outstanding liens or claims of former lien holders.
    e. If, after cancellation, it is determined that Seller was not in default, the rights and remedies of the Parties shall be
       as if the Contract had been terminated according to the "Termination for Convenience" Article of this Contract.

12. FORCE MAJEURE. Seller shall not be liable for the excess re-procurement costs pursuant to the “Cancellation for
    Default” Article of this Contract incurred by Buyer because of any failure to perform this Contract under its terms if the
    failure arises from causes beyond the control and without the fault or negligence of Seller. Examples of these causes
    are: (a) acts of God or of the public enemy; (b) acts of the Government in either its sovereign or contractual capacity;
    (c) fires; (d) floods; (e) epidemics; (f) quarantine restrictions; (g) strikes; (h) freight embargoes; and (i) unusually severe
    weather. In each instance, the failure to perform must be beyond the control and without the fault or negligence of
    Seller. If Seller’s failure is caused by the failure of a subcontractor of Seller and if such failure arises out of causes
    beyond the reasonable control of both, and if such failure is without the fault or negligence of either, Seller shall not be
    liable for excess re-procurement costs unless the goods or services to be furnished by the subcontractor were
    obtainable from other sources in sufficient time to permit Seller to meet the required delivery schedules. Seller shall
    notify Buyer in writing within ten (10) days after the beginning of any such cause(s). In all cases, Seller shall use
    reasonable efforts to avoid or minimize all such failures, including exercising work-around plans or obtaining the
    Services from other sources.

13. QUALITY CONTROL. Seller shall establish and maintain a quality control system acceptable to Buyer for the Services
    purchased under this Contract. Seller shall permit Buyer to review procedures, practices, processes and related
    documents to determine such acceptability.

14. SELLER NOTICE OF DISCREPANCIES. Seller shall promptly notify Buyer in writing when discrepancies in Seller’s
    process, including any violation of or deviation from Seller’s approved inspection/quality control system, or
    goods/materials are discovered or suspected which may affect the Services delivered or to be delivered under this
    Contract.

15. INSPECTION
    a. At no additional cost to Buyer, Services shall be subject to inspection, surveillance and test at reasonable times
       and places, including Seller’s subcontractors’ locations. Buyer shall perform inspections, surveillance and tests so
       as not to unduly delay the work.
    b. Seller shall maintain an inspection system acceptable to Buyer for the Services purchased under this Contract.
    c. If Buyer performs an inspection or test on the premises of Seller or its subcontractors, Seller shall furnish, and
       require its subcontractors to furnish, without additional charge, reasonable facilities and assistance for the safe and
       convenient performance of these duties.

16. ACCEPTANCE AND REJECTION
    a. Buyer shall accept the Services or give Seller notice of rejection within a reasonable time after the date of delivery.
       No payment, prior test, inspection, passage of title, any failure or delay in performing any of the foregoing, or failure
       to discover any defect or other nonconformance shall relieve Seller of any obligations under this Contract or impair
       any rights or remedies of Buyer.

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    b. If Seller delivers defective or non-conforming Services, Buyer may at its option and at Seller's expense: (i) require
       Seller to promptly reperform, correct or replace the Services; (ii) correct the Services; or (iii) obtain replacement
       Services from another source. Return to Seller of defective or non-conforming Services and redelivery to Buyer of
       corrected or replaced Services shall be at Seller's expense.
    c. Seller shall not redeliver corrected or rejected Services without disclosing the former rejection or requirement for
       correction. Seller shall disclose any corrective action taken. All repair, replacement and other correction and
       redelivery shall be completed as Buyer may reasonably direct.

17. WARRANTY
    a. Seller warrants that:
       i. The Services shall be performed by employees or agents of Seller who are experienced and skilled in their
            profession and in accordance with industry standards;
       ii. The Services shall be free from defects in workmanship and conform to the requirements of this Contract; and
       iii. The Services shall not infringe any patent, copyright, trademark, or other proprietary right of any third party or
            misappropriate any trade secret of any third party.
    b. To the extent Seller’s delivery of Services includes materials or goods, Seller further warrants that:
       i. The materials or goods shall conform to all specifications and requirements under this Contract and shall be
            free from defects in materials;
       ii. To the extent the materials or goods are not manufactured pursuant to detailed designs and specifications
            furnished by Buyer, such materials or goods shall be free from design and specification defects;
       iii. The materials or goods shall be free from liens or encumbrances;
       iv. The materials or goods shall not contain any viruses, malicious code, trojan horse, worm, time bomb, self-help
            code, back door, or other software code or routine designed to: (a) damage, destroy or alter any software or
            hardware; (b) reveal, damage, destroy, or alter any data; (c) disable any computer program automatically; or
            (d) permit unauthorized access to any software or hardware; and
       v. The materials or goods shall not contain any third-party software (including software that may be considered
            free software or open source software) that: (a) may require any software to be published, accessed or
            otherwise made available without the consent of Buyer; (b) may require distribution, copying or modification of
            any software free of charge; (c) may require disclosure, license or redistribution of source code; (d) may require
            the grant of rights in excess of those granted by Boeing in its standard end user license agreements; (e) may
            require that others have the right to modify the code; or, (f) may impose additional requirements on redistribution
            such as inclusion of additional license agreements for specific code modules.
    c. This warranty shall begin upon Buyer’s final acceptance of the Services and shall survive inspection, test and
       payment for, the Services. This warranty shall extend for a period of one (1) year or such period as set forth
       elsewhere in this Contract, and Buyer shall give Seller notice after discovery of any defect or nonconformance in
       the Services. This warranty shall run to Buyer and its successors, assigns and customers. In the event of any
       defect or non-conforming Services, Buyer may, at its option and at Seller’s expense, either (i) require correction,
       replacement or reperformance of any defective or nonconforming Services, or (ii) make an equitable adjustment in
       the price of this Contract. Any Services corrected, replaced or reperformed shall be subject to the requirements of
       this Contract to the same extent as Services initially performed.

18. COUNTERFEIT GOODS
    a. Seller shall not furnish Counterfeit Goods to Buyer, defined as goods or separately-identifiable items or components
       of goods that: (i) are an unauthorized copy or substitute of an Original Equipment Manufacturer or Original
       Component Manufacturer (collectively, “OEM”) item; (ii) are not traceable to an OEM sufficient to ensure authenticity
       in OEM design and manufacture; (iii) do not contain proper external or internal materials or components required
       by the OEM or are not constructed in accordance with OEM design; (iv) have been re-worked, re-marked, re-
       labeled, repaired, refurbished, or otherwise modified from OEM design but not disclosed as such or are represented
       as OEM authentic or new; or (v) have not passed successfully all OEM required testing, verification, screening, and
       quality control processes. Notwithstanding the foregoing, Services or items that contain modifications, repairs, re-
       work, or re-marking as a result of Seller’s or its subcontractor’s design authority, material review procedures, quality
       control processes or parts management plans, and that have not been misrepresented or mismarked, shall not be
       deemed Counterfeit Goods. Counterfeit Goods shall be deemed nonconforming to this Contract.
    b. Seller shall implement an appropriate strategy to ensure that goods furnished to Buyer under this Contract are not
       Counterfeit Goods. Seller’s strategy shall include, but is not limited to, the direct procurement of items from OEMs
       or authorized suppliers, conducting approved testing or inspection to ensure the authenticity of items, and, when
       items are to be procured from non-authorized suppliers, obtaining from such non-authorized suppliers appropriate
       certificates of conformance that provide one or more of the following: (i) the OEM’s original certificate of
       conformance for the item; (ii) sufficient records providing unbroken supply chain traceability to the OEM; or (iii) test

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       and inspection records demonstrating the item’s authenticity.
    c. If Seller becomes aware or suspects that it has furnished Counterfeit Goods to Buyer under this Contract, Seller
       promptly, but in no case later than thirty (30) days from discovery, shall notify Buyer and replace, at Seller’s expense,
       such Counterfeit Goods with OEM or Buyer-approved goods that conform to the requirements of this Contract.
       Seller shall be liable for all costs related to the replacement of Counterfeit Goods and any testing or validation
       necessitated by the installation of authentic goods after Counterfeit Goods have been replaced.
    d. Seller bears responsibility for procuring authentic goods or items from its subcontractors and shall ensure that all
       such subcontractors comply with the requirements of this Article.

19. RIGHTS OF BUYER’S CUSTOMERS AND REGULATORS TO PERFORM INSPECTION, SURVEILLANCE, AND
    TESTING. Buyer's rights to perform inspections, surveillance and tests and to review procedures, practices, processes
    and related documents related to quality assurance, quality control, flight safety and configuration control shall extend
    to the customers of Buyer that are departments, agencies or instrumentalities of the United States Government,
    including the United States Government Federal Aviation Administration and any successor agency or instrumentality
    of the United States Government. Buyer may also, at Buyer's option, by prior written notice from Buyer's Authorized
    Procurement Representative, extend such rights to other customers of Buyer and to agencies or instrumentalities of
    foreign governments equivalent in purpose to the Federal Aviation Administration. Seller shall cooperate with any
    such United States Government-directed or Buyer-directed inspection, surveillance, test or review without additional
    charge to Buyer. Nothing in this Contract shall be interpreted to limit United States Government access to Seller's
    facilities pursuant to law or regulation.

20. INVOICE AND PAYMENT. As compensation for Services to be performed by Seller, Buyer shall pay Seller as set forth
    in this Contract. Buyer shall have no liability for any other expenses or costs incurred by Seller. Payment due date,
    including discount periods, shall be computed from the date of the later of the scheduled delivery date of Service, the
    actual delivery date of Service or the date of receipt of a correct invoice. Payment shall be processed on the next
    payment system run following the computed payment due date. Payment shall be deemed to have been made on the
    date the Buyer’s check is mailed or payment is otherwise tendered. Seller shall promptly repay to Buyer any amounts
    paid in excess of amounts due Seller. Payment shall be subject to the standard payment process set forth elsewhere
    in the Contract or as set forth at: http://www.boeingsuppliers.com.

    Except for amounts invoiced under articles Termination for Convenience or Cancellation for Default, Seller shall be
    deemed to have waived all charges and fees that are not invoiced within ninety (90) calendar days after the end of the
    calendar year in which the charges were incurred.


21. TAXES. Unless this Contract specifies otherwise, the price of this Contract includes, and Seller is liable for and shall
    pay, all taxes, impositions, charges and exactions imposed on or measured by this Contract except for applicable sales
    and use taxes that are separately stated on Seller's invoice. Prices shall not include any taxes, impositions, charges or
    exactions for which Buyer has furnished a valid exemption certificate or other evidence of exemption.

22. FINANCIAL RECORDS AND AUDIT. Seller shall retain all financial records and documents pertaining to the Services
    for a period of no less than three years after final payment. Such records and documents shall date back to the time
    this Contract was issued and shall include, without limitation, catalogs, price lists, invoices, underlying data and basis
    for cost estimates, and inventory records. Buyer shall have the right to examine, reproduce and audit all Seller records
    related to pricing, performance and proposed costs associated with any proposals (prior to or after contract award),
    invoices or claims.

23. SELLER FINANCIAL REVIEW
    a. If the Contract, in the aggregate, exceeds $700,000 and extends for more than one year, or if requested, the Seller
       shall provide financial data as specified below, on a quarterly basis, or as requested, to Buyer’s Corporate Credit
       Office for credit and financial condition reviews. If Seller itself is publicly traded (not a subsidiary of a publicly-traded
       company) and is required to file reports with the Securities and Exchange Commission (“SEC”), Buyer’s Corporate
       Credit Office shall obtain Seller financial data from information made available to the general public via 10-K and
       10-Q reporting requirements. In the event that Seller does not submit financial statements to the SEC or is no
       longer required to do so during the term of this Contract, Seller shall provide financial data on a quarterly basis to
       Buyer’s Corporate Credit Office. Such financial data shall include, but is not limited to, balance sheets, schedule
       of accounts payable and receivable, major lines of credit, creditors, income statements (profit and loss), cash flow
       statements, firm backlog, and headcount. Copies of such data are to be made available within seventy-two (72)
       hours of any written request by Buyer’s Corporate Credit Office. All such information shall be treated as confidential.

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    b. This provision shall not apply if Seller is a nonprofit education or research institution associated with state or
       provincial universities, an agency of the United States government or of state governments, an entity that is at least
       fifty percent (50%) directly owned by Buyer, or an individual providing Services when the individual is the sole
       employee (inclusive of subcontractors) of the Seller.

24. CONFIDENTIAL, PROPRIETARY, AND TRADE SECRET INFORMATION AND MATERIALS
    a. Buyer and Seller shall each keep confidential and protect from unauthorized use and disclosure all (i) confidential,
       proprietary and/or trade secret information of a Party or third party information authorized to be disclosed by a Party,
       including without limitation specifications and information pertaining to qualification, certification, manufacturing,
       and/or quality testing and procedures; (ii) software containing, conveying or embodying such information; and (iii)
       tooling that is obtained, directly or indirectly, from the other in connection with this Contract or other agreement,
       including Buyer’s contract with its customer, if any, (collectively referred to as "Proprietary Information and
       Materials"). Proprietary Information and Materials shall not include information that is, as evidenced by competent
       records provided by the receiving Party, lawfully in the public domain in the same form as disclosed herein, lawfully
       disclosed to or known by the receiving Party without restriction, generally known in the relevant trade or industry
       prior to disclosure hereunder, or developed by the receiving Party independently without use of or reference to the
       disclosing Party’s Proprietary Information and Materials.
    b. Buyer and Seller shall each use Proprietary Information and Materials of the other only in the performance of and
       for the purpose of this Contract, other contracts between the Parties, and Buyer’s contract(s) with its customer, if
       any. However, despite any other obligations or restrictions imposed by this Article or any prior agreement, Buyer
       shall have the right to use, reformat and reproduce Seller's Proprietary Information and Materials internal to Buyer,
       regardless of when disclosed. Buyer shall further have the right to, use, disclose, reproduce and make derivative
       works of Seller’s Proprietary Information and Materials (i) to fulfill Buyer’s obligations under, and (ii) for the purposes
       of testing, certification, use, sale or support of any Services delivered under, this Contract (or Buyer’s products
       containing such Services), other contracts with Seller and Buyer’s contract with its customer, if any. Any such use,
       disclosure, reproduction or derivative work by Buyer shall, whenever appropriate, include a restrictive legend
       suitable for the particular circumstances. In addition to disclosures permitted hereunder, a receiving Party may
       disclose received Proprietary Information and Materials in response to a subpoena or court order duly issued in a
       judicial or legislative process, provided that the receiving Party has used reasonable efforts to give the disclosing
       Party advance written notice of any such disclosure requirement in order to enable the disclosing Party (i) to seek
       an appropriate protective order or other remedy; (ii) to consult with the receiving Party with respect to the disclosing
       Party’s taking steps to resist or narrow the scope of such request or legal process; or (iii) to modify or waive
       compliance, in whole or in part, with the terms of this section. In the event that such protective order or other remedy
       is not obtained in a timely manner, or the disclosing Party modifies or waives compliance, the receiving Party shall
       use commercially reasonable efforts to disclose only that portion of the Proprietary Information and Materials which
       is legally required to be disclosed and to require that all Proprietary Information and Materials that is so disclosed
       will be accorded confidential treatment.
    c. Upon Buyer's request at any time, and in any event upon the completion, termination or cancellation of this Contract,
       Seller shall return to Buyer all of Buyer's Proprietary Information and Materials and all materials derived therefrom,
       unless specifically directed otherwise in writing by Buyer. Seller shall not at any time (i) dispose of (as scrap or
       otherwise) any goods, parts or other materials containing, conveying, embodying or made in accordance with or by
       reference to any Proprietary Information and Materials of Buyer without the prior written authorization of Buyer or
       (ii) make, use, or sell any goods, parts or other materials containing, conveying, embodying or made in accordance
       with or by reference to any Proprietary Information and Materials of Buyer, except to the extent required to perform
       this Contract without Buyer’s written approval, which may take the form of a license agreement between the Parties
       requiring payment by Seller of a reasonable license fee to Buyer as consideration for each use of such Proprietary
       Information and Materials of Buyer. Prior to disposing of such goods, parts or other materials as scrap, Seller shall
       render them unusable. Buyer shall have the right to audit Seller's compliance with this Article.
    d. Seller may disclose Proprietary Information and Materials of Buyer to its subcontractors as required for the
       performance of this Contract, provided that each such subcontractor first agrees in writing to obligations no less
       restrictive than those imposed upon Seller under this Article. Seller shall be liable to Buyer for any breach of such
       obligation by such subcontractor.
    e. The provisions of this Article are effective notwithstanding the application of any restrictive legends or notices to
       Proprietary Information and Materials. The provisions of this Article shall survive the performance, completion,
       termination or cancellation of this Contract.

25. PATENT, TRADEMARK AND COPYRIGHT INDEMNITY. Seller will indemnify, defend and hold harmless Buyer and
    its customer from all claims, suits, actions, awards (including, but not limited to, awards based on intentional
    infringement of patents known at the time of such infringement, exceeding actual damages and/or including attorneys'

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    fees and/or costs), liabilities, damages, costs and attorneys' fees related to the actual or alleged infringement of any
    United States or foreign intellectual property right (including, but not limited to, any right in a patent, copyright, industrial
    design or semiconductor mask work, or based on misappropriation or wrongful use of information or documents) and
    arising out of the Seller’s provision of the Services and/or sale or use of the Services by either Buyer or its customer.
    Buyer and/or its customer will duly notify Seller of any such claim, suit or action. Seller will, at its own expense, fully
    defend such claim, suit or action on behalf of the indemnitees. Seller will have no obligation under this Article with regard
    to any infringement arising from (a) the compliance of Seller's new product design with formal specifications issued by
    Buyer where infringement could not be avoided in complying with such specifications or (b) use or sale of Services for
    other than their intended application in combination with other items when such infringement would not have occurred
    from the use or sale of those Services solely for the purpose for which they were designed or sold by Seller. The
    exception in (a) above shall not apply if the infringement arises out of adherence to one or more industry standards or
    regulatory requirements. For purposes of this Article only, the term Buyer will include The Boeing Company and all
    Boeing subsidiaries and all officers, agents and employees of Boeing or any Boeing subsidiary.

26. INTELLECTUAL PROPERTY
    a. Definitions:
       Intellectual Property (“IP”). IP means inventions, discoveries and improvements, know-how, works of authorship,
       technical data, drawings, specifications, process information, reports and documented information; and computer
       software. IP includes all worldwide common law and statutory rights to the foregoing, including but not limited to,
       patents, industrial designs, trade secrets, copyrights, mask work registrations, and the like.
       Background IP. Background IP means of all IP owned or developed by Seller prior to the effective date of or outside
       the scope of this Contract.
       Foreground IP. Foreground IP means IP conceived, developed or first reduced to practice by, for or with Seller
       either alone or with others in the performance of this Contract.
    b. Seller-Owned IP. Seller shall retain ownership of all its Background IP and of any Foreground IP not assigned to
       Buyer pursuant to paragraph e. below (collectively, the “Seller-Owned IP”). With regard to Seller-Owned IP that is
       other than Proprietary Information and materials, Seller grants to Buyer an irrevocable, nonexclusive, sublicensable,
       perpetual, paid-up, royalty-free, worldwide license (i) to use, reproduce, distribute, modify, and prepare derivative
       works of such Seller-Owned IP and (ii) to use, make, have made, offer for sale, sell, distribute and import products
       and services that incorporate or embody such Seller-Owned IP, in each case solely as necessary for the purpose
       of exploiting Buyer’s rights in the Services and/ or the Foreground IP assigned to Buyer hereunder or as otherwise
       permitted under this Contract. Seller grants to Buyer such license rights for any purpose in the event Buyer cancels
       all or part of this Contract for Seller default in accordance with the “Cancellation for Default” Article of this Contract
       or in the event Buyer, in its own judgment, must provide Seller with design, manufacturing, or on-site support
       substantially in excess of what is required of Buyer under this Contract in order for Seller to comply with this
       Contract.
    c. Agreements. Seller shall obtain agreements with its employees and independent contractors to enable the grant
       of rights to which Buyer is entitled under this Article.
    d. Third Party IP. To the extent Seller incorporates third-party IP into any contract deliverable, Seller shall obtain for
       Buyer at least the license rights granted in paragraph b of this Article in such third-party IP, at no additional cost to
       Buyer and hereby grants such rights to Buyer.
    e. Foreground IP. The following subparagraphs of this paragraph e shall not apply to any Services to the extent their
       development was funded by the U.S. Government.
       i. All Foreground IP shall be the exclusive property of Buyer. To the extent Foreground IP consists of works of
            authorship that qualify as a “work for hire” as defined under U.S. copyright law, such works shall be deemed to
            be “works made for hire” with the copyrights automatically vesting in Buyer. For all other Foreground IP, Seller
            hereby irrevocably transfers, conveys, and assigns all right, title and interest in such Foreground IP free of
            charge to Buyer. Seller shall protect Foreground IP that is Proprietary Information and Materials as required
            by this Contract and shall mark documents or portions of documents containing Foreground IP as “Boeing
            Proprietary” information or as otherwise directed by Buyer in writing.
       ii. Seller will, within two (2) months after conception or first actual reduction to practice of any invention and prior
            to Contract completion, disclose in writing to Buyer all inventions, whether or not patentable, in sufficient
            technical detail to clearly convey the invention to one skilled in the art to which the invention pertains. Seller
            shall promptly execute all written instruments, and assist as Buyer reasonably directs in order to file, acquire,
            prosecute, maintain, enforce and assign Buyer’s Foreground IP rights. Seller hereby irrevocably appoints Buyer
            and any of Buyer’s officers and agents as Seller’s attorney in fact to act on Seller’s behalf and instead of Seller,
            with the same legal force and effect as if executed by Seller, with respect to executing any such written
            instruments.
       iii. Buyer-Owned IP. Buyer shall retain ownership of all Buyer IP provided hereunder and of any Foreground

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             IP assigned to Buyer pursuant to paragraph e. above (collectively, the “Buyer-Owned IP”). Buyer grants
             to Seller a non-exclusive, royalty-free right during the term of this Contract to use, reproduce, modify, practice
             and prepare derivative works of any Buyer-Owned IP solely as necessary for Seller to perform its obligations
             under this Contract or otherwise permitted under this Contract. Seller shall not, without Buyer’s prior written
             consent, use Buyer-Owned IP or any derivative works of any of the Buyer-Owned IP in any manner not
             authorized under this Contract, including, but not limited to, developing, manufacturing, obtaining a certification
             to manufacture, offering for sale or selling any product, equipment, or service which utilizes or is enabled by
             Buyer-Owned IP.

27. ASSIGNMENT AND CHANGE OF CONTROL
    a. Seller shall not and shall cause its affiliates not to, directly, indirectly, voluntarily or involuntarily, in each case,
       whether by transfer, operation of law, Change of Control (as defined in subparagraph b below) or otherwise assign
       this Contract, assign any of its rights or interest in this Contract, delegate any of its obligations under this Contract,
       or subcontract for all or substantially all of its performance of this Contract (each, an “Assignment”), without Buyer’s
       prior written consent after advance written notice by Seller. No purported Assignment, with or without Buyer’s
       consent, shall relieve Seller of any of its obligations under this Contract or prejudice any rights or claims that Buyer
       may have against Seller, whether such obligations, rights or claims, as the case may be, arise before or after the
       date of any purported Assignment; provided however, that Seller may assign its right to monies due or to become
       due under this Contract, and this Article does not limit Seller’s ability to purchase standard commercial supplies or
       raw material in connection with its performance of this Contract.
    b. For purposes of this Contract, the term “Change in Control” shall mean any of the following, whether in a single
       transaction or a series of related transactions and whether or not Seller is a party thereto:
       i. a sale, conveyance, transfer, distribution, lease, assignment, license or other disposition of all or substantially
            all of the assets of Seller;
       ii. any consolidation or merger of Seller or its controlling affiliates, any dissolution of Seller or its controlling
            affiliates, or any reorganization of one or more of Seller or its controlling affiliates; or
       iii. any sale, transfer, issuance, or disposition of any equity securities or securities or instruments convertible or
            exchangeable for equity securities (collectively, “securities”) of Seller or its controlling affiliates in which the
            holders of all of the securities that may be entitled to vote for the election of any member of a board of directors
            or similar governing body of Seller or such controlling affiliate immediately prior to such transaction(s) hold less
            than fifty percent (50%) of the securities that may be entitled to vote for the election of any such member in
            such entity immediately following such transaction(s).

28. PUBLICITY. Without Buyer's prior written approval, Seller shall not, and shall require that its subcontractors at any tier
    shall not, release any publicity, advertisement, news release or denial or confirmation of same regarding this Contract
    or the Services or program to which it pertains. Seller shall be responsible to Buyer for any breach of such obligation
    by any subcontractor.

29. BUYER’S PROPERTY. Seller shall clearly mark, maintain an inventory of and keep segregated or identifiable all of
    Buyer’s property and all property to which Buyer acquires an interest by virtue of this Contract. Seller assumes all risk
    of loss, destruction or damage of such property while in Seller’s possession, custody or control, including transfer to
    Seller’s subcontractors. Upon request, Seller shall provide Buyer with adequate proof of insurance against such risk of
    loss. Seller shall not use such property other than in performance of this Contract without Buyer’s prior written consent.
    Seller shall notify Buyer’s Authorized Procurement Representative if Buyer’s property is lost, damaged or destroyed.
    As directed by Buyer, upon completion, termination or cancellation of this Contract, Seller shall deliver such property,
    to the extent not incorporated in delivered materials, to Buyer in good condition subject to ordinary wear and tear and
    normal manufacturing losses. Nothing in this Article limits Seller’s use, in its direct contracts with the Government, of
    property in which the Government has an interest.

30. OFFSET CREDITS/INDUSTRIAL PARTICIPATION
    a. To the exclusion of all others, Buyer or its assignees shall be entitled to all industrial benefits or offset credits that
       might result from this Contract. Seller shall provide all information and assistance to Buyer that Buyer may
       reasonably request in support of Buyer's efforts to secure offset credits related to the goods to be provided under
       this Contract.
    b. Before entering into a subcontract for any non-U.S. products or services in excess of $100,000 in support of this
       Contract, Seller shall complete and submit to Buyer Form X33647, entitled, “Advance Content Notification/Supplier
       Foreign Content Report” as set forth in the Supplier Data Requirements List (SDRL) applicable to this Contract. If
       there is no SDRL applicable to this Contract, Seller shall submit the form to Buyer’s Authorized Procurement
       Representative and e-mail a copy to: foreigncontent@boeing.com.

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    c.   In addition, Seller shall support Buyer in the fulfillment of offset, industrial participation, co-production or similar
         obligations that Boeing may have accepted as a requirement for the sale of end products to non-U.S. customers
         related to the goods to be provided under this Contract.

31. UTILIZATION OF SMALL BUSINESS CONCERNS. Seller agrees to actively seek out and provide the maximum
    practicable opportunities for small businesses, small disadvantaged businesses, women-owned small businesses,
    minority business enterprises, historically black colleges and universities and minority institutions, Historically
    Underutilized Business Zone small business concerns and US Veteran and Service-Disabled Veteran Owned small
    business concerns to participate in the subcontracts Seller awards to the fullest extent consistent with the efficient
    performance of this Contract.

32. BUSINESS CONDUCT
    a. Compliance with Laws. Seller and the Services shall comply with all applicable statutes and government rules,
       regulations and orders including without limitation, (i) all applicable country laws relating to anti-corruption or anti-
       bribery, including, but not limited to, legislation implementing the Organization for Economic Co-operation and
       Development “Convention on Combating Bribery of Foreign Public Officials in International Business Transactions”
       or other anti-corruption/anti-bribery convention; and (ii) the requirements of the Foreign Corrupt Practices Act, as
       amended, (“FCPA”) (15 U.S.C. §§78dd-1, et. seq.), regardless of whether Seller is within the jurisdiction of the
       United States, and Seller shall, neither directly nor indirectly, pay, offer, give, or promise to pay or give, any portion
       of monies or anything of value received from Buyer to a non-U.S. public official or any person in violation of the
       FCPA and/or in violation of any applicable country laws relating to anti-corruption or anti-bribery.
    b. Gratuities. Seller warrants that neither it nor any of its employees, agents, or representatives have offered or given,
       or will offer or give, any gratuities to Buyer's employees, agents or representatives for the purpose of securing this
       Contract or securing favorable treatment under this Contract.
    c. Code of Basic Working Conditions and Human Rights. Buyer is committed to providing a safe and secure working
       environment and the protection and advancement of basic human rights in its worldwide operations. In furtherance
       of this commitment, Buyer has adopted a Code of Basic Working Conditions and Human Rights setting out in detail
       the measures it takes to ensure this commitment is fulfilled.                    This code may be downloaded at
       http://www.boeing.com/aboutus/culture/code.html. Buyer strongly encourages Seller to adopt and enforce
       concepts similar to those embodied in the Boeing Code, including conducting Seller’s operations in a manner that
       is fully compliant with all applicable laws and regulations pertaining to fair wages and treatment, freedom of
       association, personal privacy, collective bargaining, workplace safety and environmental protection. Seller shall
       include the substance of this clause, including this flowdown requirement, in all subcontracts awarded by Seller for
       work under this Contract.
    d. Environmental Health and Safety Performance. Seller acknowledges and accepts full and sole responsibility to
       maintain an environment, health and safety management system ("EMS") appropriate for its business throughout
       the performance of this Contract. Buyer expects that Seller’s EMS will promote health and safety, environmental
       stewardship, and pollution prevention by appropriate source reduction strategies. Seller shall convey the
       requirement of this clause to its suppliers. Seller shall not deliver goods that contain any asbestos mineral fibers.
    e. Seller Facility. Seller shall provide Buyer written notice of any proposed plans for moving Seller’s manufacturing
       location for the goods or moving tooling or other equipment utilized in the manufacture of the goods to another
       facility. In no event shall Seller proceed with implementing such plans prior to obtaining Buyer’s prior written
       approval.
    f. Buyer Policies. Seller agrees that Buyer’s internal policies, procedures and codes are intended to guide the internal
       management of the Buyer and are not intended to, and do not, create any right or benefit, substantive or procedural,
       enforceable at law or in equity, by the Seller against the Buyer.
    g. Conflict Minerals. Seller shall, no later than thirty (30) days following each calendar year in which Seller has
       delivered any goods to Buyer, under this Contract or otherwise, complete and provide to Buyer a single and
       comprehensive Conflict Minerals Reporting Template, using the form found at http://www.boeingsuppliers.com.
       Seller shall perform appropriate due diligence on its supply chain in order to fulfill the reporting obligations of this
       Article.
    h. Ethics and Compliance Program. Seller acknowledges and accepts full and sole responsibility to maintain an ethics
       and compliance program appropriate for its business throughout the performance of this Contract. Buyer strongly
       encourages Seller to model its program in accordance with the Federal Sentencing Guidelines, applicable guidance
       from enforcement authorities, and industry best practices. Seller shall publicize to its employees who are engaged
       in the performance of work under the Contract that they may report any concerns of misconduct by Buyer or any of
       its employees or agents by going to Ethics@Boeing. Seller shall convey the substance of this clause to its suppliers.



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33. ACCESS TO PLANTS AND PROPERTIES. Where Seller is either entering or performing work at premises owned or
    controlled by Buyer or Buyer’s customer or obtaining access electronically to Buyer systems or information, Seller shall
    comply with: (i) all the rules and regulations established by Buyer or Buyer’s customer for access to and activities in
    and around premises controlled by Buyer or Buyer’s customer; and (ii) Buyer requests for information and
    documentation to validate citizenship or immigration status of Seller’s personnel or subcontractor personnel. In addition,
    Seller acknowledges that Buyer may perform routine background checks on Seller personnel. Seller shall include the
    substance of this clause, including this flowdown requirement, in all subcontracts awarded by Seller for work under this
    Contract.

34. ACCESS TO BUYER INFORMATION AND ELECTRONIC SYSTEMS
    a. Seller and its personnel shall comply with the Terms of Use of Boeing Information and Electronic Systems located
       at http://www.boeingsuppliers.com/terms.html which is incorporated herein by reference, with the revision date
       applicable to this Agreement being the revision in effect as of the date of Seller’s acceptance of this Contract.

    b.    In addition to any other rights and obligations set forth in any relevant Agreement, Seller acknowledges that any
          information accessed through the electronic information systems operated by or on behalf of Buyer, whether or
          not marked as “proprietary” or equivalent, shall be considered as proprietary to Buyer and shall be protected in
          accordance with the “Proprietary Information and Materials” Section of the Contract.

35. TRADE CONTROL COMPLIANCE
    a. The Parties shall comply with all export and import laws, regulations, decrees, orders, and policies of the United
       States Government and the Government of any country in which the Parties conduct business pursuant to this
       Contract, including but not limited to the Export Administration Regulations (“EAR”) of the U.S. Department of
       Commerce, the International Traffic in Arms Regulations (“ITAR”) of the U.S. Department of State, the U.S. Customs
       & Border Protection Regulations, the Harmonized Tariff Schedule, and the antiboycott and embargo regulations
       and guidelines as set forth in the EAR and in the U.S. Department of the Treasury, Office of Foreign Assets Control
       (collectively, “Trade Control Laws”).
    b. Seller shall control the disclosure of, and access to, controlled items or technical data provided by Buyer related to
       performance of this Contract in compliance with all applicable Trade Control Laws. Seller shall not transfer (to
       include transfer to foreign persons employed by or associated with, or under contract to Seller, or Seller’s sub-tier
       suppliers or Seller’s non-U.S. subsidiaries) any export controlled item, data or services, without providing advance
       notice to Buyer and obtaining the requisite export and/or import authority.
    c. Subject to applicable Trade Control Laws, Seller shall provide Buyer with the export control classification of any
       commodity or technology including software.
    d. Seller represents that it maintains an effective export/import control compliance program in accordance with all
       applicable Trade Control Laws. A copy of process control documents and other documents reasonably requested
       by Buyer related to Seller’s compliance with applicable Trade Control Laws shall be made available to Buyer upon
       request.
    e. Seller shall promptly notify Buyer if Seller is, or becomes, listed in any Denied Parties List or if Seller’s export
       privileges are otherwise denied, suspended or revoked in whole or in part by any Governmental entity.
    f. Seller shall timely inform Buyer of any actual or alleged violations of any applicable Trade Control Laws, including
       any suits, actions, proceedings, notices, citations, inquiries, or other communications from any government agency
       concerning any actual or alleged violations, in Seller’s performance under this Contract and shall comply with all
       reasonable requests from Buyer for information regarding any such violations.
    g. Seller shall incorporate into any contracts with its sub-tier suppliers obligations no less restrictive than those set
       forth in this Article requiring compliance with all applicable Trade Control Laws.

36. CUSTOMER CLAUSES. Clauses applicable to this Contract from Buyer’s contract with its customers, if any, are
    incorporated elsewhere in this Contract either by attachment or by some other means of reference.

37. GOVERNING LAW. This Contract and any disputes arising out of, or relating to, this Contract shall be governed by the
    laws of the State of Delaware without regard to the conflict of law rules thereof. This Contract excludes the application
    of the 1980 United Nations Convention on Contracts for the International Sale of Goods.

         38.     DISPUTES. Any dispute that arises under or is related to this Contract that cannot be settled by mutual
         agreement of the Parties may be decided by a court of competent jurisdiction. Pending final resolution of any
         dispute, Seller shall proceed with performance of this Contract according to Buyer's instructions so long as Buyer
         continues to pay amounts not in dispute.


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39. NO WAIVER, RIGHTS AND REMEDIES
    a. Any failures, delays or forbearances of either Party in insisting upon or enforcing any provisions of this Contract, or
       in exercising any rights or remedies under this Contract, shall not be construed as a waiver or relinquishment of
       any such provisions, rights or remedies; rather, the same shall remain in full force and effect.
    b. Except as expressly and affirmatively disclaimed in writing in this Contract, the rights and remedies set forth herein
       are cumulative and in addition to any other rights or remedies that the Parties may have at law or in equity. If any
       provision of this Contract is or becomes void or unenforceable by law, the remainder shall be valid and enforceable.
       Seller acknowledges and agrees that money damages would not be an adequate remedy for any actual, anticipatory
       or threatened breach of this Contract by Seller with respect to its delivery of the Services to Buyer.
    c. Seller agrees that Buyer approvals of Seller's technical and quality specifications, drawings, plans, procedures,
       reports, and other submissions shall not relieve Seller from its obligations to perform all requirements of this
       Contract.
    d. Buyer may at any time deduct or set-off Seller's claims for money due or to become due from Buyer against any
       claims that Buyer has or may have arising out of this Contract or other transactions between Buyer and Seller.

    40. INDEMNIFICATION, INSURANCE AND PROTECTION OF PROPERTY. The following provisions shall only apply
    if and to the extent Seller’s personnel enter or perform work at premises owned or controlled by Buyer or Buyer’s
    customer:
    a. Indemnification. Seller shall defend, indemnify and hold harmless The Boeing Company, its subsidiaries, and their
         directors, officers, employees and agents from and against all actions, causes of action, liabilities, claims, suits,
         judgments, liens, awards and damages of any kind and nature whatsoever for property damage, personal injury or
         death (including without limitation injury to or death of employees of Seller or any subcontractor thereof) and
         expenses, costs of litigation and counsel fees related thereto or incident to establishing the right to indemnification,
         arising out of or in any way related to this Contract, the performance thereof by Seller or any subcontractor thereof
         or other third parties within the control or acting at the direction of Seller, or any of their respective employees
         (collectively for the purposes of this paragraph, the “Seller Parties”), including, without limitation, the provision of
         goods, services, personnel, facilities, equipment, support, supervision or review. The foregoing indemnity shall
         apply only to the extent of the negligence or willful misconduct of the Seller Parties that occurs while on premises
         owned or controlled by Buyer. In no event shall Seller’s obligations hereunder be limited to the extent of any
         insurance available to or provided by Seller or any subcontractor thereof. Seller expressly waives any immunity
         under industrial insurance, whether arising out of statute or other source, to the extent of the indemnity set forth in
         this paragraph.
    b. Commercial General Liability. Seller shall carry and maintain, and ensure that all subcontractors thereof carry and
         maintain, throughout the period when work is performed and until final acceptance by Buyer, Commercial General
         Liability insurance with available limits of not less than $2,000,000 per occurrence for bodily injury and property
         damage combined. Such insurance shall contain coverage for all premises and operations, broad form property
         damage, contractual liability (including, without limitation, that specifically assumed under paragraph a herein) and
         goods and completed-operations insurance with limits of not less than $1,000,000 per occurrence for a minimum
         of twenty-four (24) months after final acceptance of the work by Buyer. Such insurance shall not be maintained on
         a per-project basis unless the respective Seller or subcontractor thereof does not have blanket coverage.
    c. Automobile Liability. If licensed vehicles will be used in connection with the performance of the work, Seller shall
         carry and maintain, and ensure that any subcontractor thereof who uses a licensed vehicle in connection with the
         performance of the work carries and maintains, throughout the period when work is performed and until final
         acceptance by Buyer, Business Automobile Liability insurance covering all vehicles, whether owned, hired, rented,
         borrowed or otherwise, with available limits of not less than $1,000,000 per occurrence combined single limit for
         bodily injury and property damage.
    d. Workers’ Compensation and Employers’ Liability. Throughout the period when work is performed and until final
         acceptance by Buyer, Seller shall, and ensure that any subcontractor thereof shall, cover or maintain insurance in
         accordance with the applicable laws relating to Workers’ Compensation (and Employers’ Liability with limits not less
         than $1,000,000 per incident) with respect to all of their respective employees working on or about Buyer's premises.
         If Buyer is required by any applicable law to pay any Workers’ Compensation premiums with respect to an employee
         of Seller or any subcontractor, Seller shall reimburse Buyer for such payment.
    e. Certificates of Insurance. Prior to commencement of the work, Seller shall provide for Buyer’s review and approval
         certificates of insurance reflecting full compliance with the requirements set forth in paragraphs b, c and d. Such
         certificates shall be kept current and in compliance throughout the period when work is being performed and until
         final acceptance by Buyer, and shall provide for thirty (30) days advance written notice to Buyer in the event of
         cancellation. Failure of Seller or any subcontractor thereof to furnish certificates of insurance, or to procure and
         maintain the insurance required herein or failure of Buyer to request such certificates, endorsements or other proof
         of coverage shall not constitute a waiver of Seller’s or subcontractor’s obligations hereunder.

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    f. Self-Assumption. Any self-insured retention, deductibles and exclusions in coverage in the policies required under
       this Article shall be assumed by, for the account of and at the sole risk of Seller or the subcontractor which provides
       the insurance and to the extent applicable shall be paid by such Seller or subcontractor. In no event shall the
       liability of Seller or any subcontractor thereof be limited to the extent of any of the minimum limits of insurance
       required herein.
    g. Protection of Property. Seller assumes, and shall ensure that all subcontractors thereof and their respective
       employees assume, the risk of loss or destruction of or damage to any property of such parties whether owned,
       hired, rented, borrowed or otherwise, brought to a facility owned or controlled by Buyer or Buyer’s customer. Seller
       waives, and shall ensure that any subcontractor thereof and their respective employees waive, all rights of recovery
       against Buyer, its subsidiaries and their respective directors, officers, employees and agents for any such loss,
       destruction or damage. At all times Seller shall, and ensure that any subcontractor thereof shall, use suitable
       precautions to prevent damage to Buyer's property. If any such property is damaged by the fault or negligence of
       Seller or any subcontractor thereof, Seller shall, at no cost to Buyer, promptly and equitably reimburse Buyer for
       such damage or repair or otherwise make good such property to Buyer’s satisfaction. If Seller fails to do so, Buyer
       may do so and recover from Seller the cost thereof.

41. ORDER OF PRECEDENCE. All documents and provisions in this Contract shall be read so as to be consistent to the
    fullest extent possible. In the event of a conflict or inconsistency between the documents or provisions as incorporated
    into or attached to the Contract, the documents or provisions shall prevail in the order listed below, with the first
    document or provision listed having the highest precedence:

         Document Title/Description:
            a. Customer Contract Requirements (CCR), if set forth in this Contract
            b. The system generated purchase contract document
            c. Common terms and conditions (CXXX, DXXX, EXXX, FXXX, GXXX, HXXX, IXXX, JXXX, MXXX, QXXX)
            d. Buyer site-specific terms and conditions
            e. General Provisions (GP1, GP2, GP3, GP4, GP6, GP7, GP8, GP9) and Special Provisions (SP1, SP2, SP3,
               SP4)
            f. Specifications (the most recently agreed to and issued version of specifications shall control and Buyer’s
               specifications will prevail over any subsidiary documents referenced therein)
            g. Statements of work (the most recently agreed to and issued version of a statement of work shall control)
            h. All other attachments, exhibits, appendices, documents or terms incorporated by reference in or attached
               to this Contract

42. ENTIRE AGREEMENT. This Contract, together with all purchase orders, change orders, attachments, exhibits,
    supplements, specifications, and other terms referenced in this Contract, contains the entire agreement of the Parties
    and supersedes any and all prior agreements, understandings and communications between Buyer and Seller related
    to the subject matter of this Contract.




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                            EXHIBIT B




                                                                          111
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   Allianz Global Corporate & Specialty®


   Aviation Commercial General Liability
   Insurance Policy




   Prepared for:
   GSSL, Inc. dba Near Space Corporation (NSC), et al
   c/o Kris Lachenmeier
   PO Box 909
   Tillamook, OR 97141




   Arranged by:
   Halton Hall & Associates, Inc.
   PO Box 6275
   Fort Worth, TX 76115




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   Allianz Global Corporate & Specialty

      The following are your options for reporting a claim to Allianz Global Corporate
      & Specialty.

      We also recommend that you contact your agent or broker.


         Email:    NewLoss@agcs.allianz.com
         Call:      1-800-558-1606
                    (outside of the U.S., +1-314-513-1353)

         Fax:      1-888-323-6450
                    (outside of the U.S., +1-314-513-1345)

         Mailing Address:

                    Allianz Global Corporate & Specialty
                    Attn: FNOL Claims Unit
                    One Progress Point Parkway
                    O’Fallon, MO 63368




AGCS-FNOL (07-15)

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Policy Number A2GA000581517AM                                           Previous Policy Number A2GA000581516AM



  AVIATION COMMERCIAL GENERAL LIABILITY COVERAGE DECLARATIONS

Issuing Company:                                      PRODUCER NAME:

Allianz Global Risks US Insurance Company             Halton Hall & Associates, Inc.
225 W. Washington Street, Suite 1800                  PO Box 6275
Chicago, IL 60606-3484                                Fort Worth, TX 76115
(hereinafter known as the Company)


ITEM 1.   NAMED INSURED:       GSSL, Inc. dba Near Space Corporation (NSC), et al
          MAILING ADDRESS:     c/o Kris Lachenmeier
                               PO Box 909
                               Tillamook, OR 97141

ITEM 2.   POLICY PERIOD:       FROM March 1, 2017                TO    March 1, 2018

                    BOTH AT 12:01 A.M. LOCAL STANDARD TIME AT YOUR MAILING ADDRESS SHOWN ABOVE


IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.



ITEM 3. LIMITS OF INSURANCE
GENERAL AGGREGATE                                                $        2,000,000
EACH OCCURRENCE                                                  $        2,000,000
DAMAGE TO PREMISES RENTED TO YOU                                 $          250,000    each premises
PRODUCTS/COMPLETED OPERATIONS                                    $      Not Covered    aggregate
PERSONAL & ADVERTISING INJURY                                    $        2,000,000    aggregate
MEDICAL EXPENSE                                                  $            5,000    each person
HANGARKEEPER’S LIABILITY
   EACH LOSS                                                     $          250,000
   EACH AIRCRAFT                                                 $          250,000
   DEDUCTIBLES                                                   $              NIL each turbine powered aircraft
                                                                 $              NIL each other aircraft
PROPERTY DAMAGE DEDUCTIBLE (excluding Property
Damage included in the products-completed operations hazard) $                   NIL each turbine powered aircraft
                                                                 $               NIL each other aircraft
                                                                 $               NIL each non-aircraft claim




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                                              FORM OF BUSINESS
   INDIVIDUAL                       PARTNERSHIP             JOINT VENTURE                          TRUST
   LIMITED LIABILITY COMPANY                   ORGANIZATION, INCLUDING A CORPORATION (BUT NOT INCLUD-
   A PUBLIC ENTITY                             ING A PARTNERSHIP, JOINT VENTURE, TRUST, LIMITED LIABILITY
                                               COMPANY OR PUBLIC ENTITY)


                             ALL PREMISES YOU OWN, RENT OR OCCUPY
LOCATION # ADDRESS(ES) OF ALL PREMISES YOU OWN, RENT OR OCCUPY
1          Any premises necessary or incidental to the aviation operations of the Named Insured


                                                PREMIUM PAYABLE
                                            PREMIUM                               $
                                            STATE TAX OR OTHER (if applicable)
                                            TOTAL                                 $
PREMIUM SHOWN IS PAYABLE:                  AT INCEP-    SEMI-           QUARTERLY                 MONTHLY
                                        TION          ANNUALLY


          FORMS AND ENDORSEMENTS ATTACHED TO THIS POLICY AS OF THE EFFECTIVE DATE
   Endorsements 1 - 11


THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE FORM(S) AND
ANY ENDORSEMENT(S), COMPLETE THE ABOVE NUMBERED POLICY.




In Witness Whereof, we have caused this policy to be executed and attested.




                        Secretary                                                 President




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 AVIATION COMMERCIAL GENERAL                                               motor vehicle insurance law in the state where it
                                                                           is licensed or principally garaged.
   LIABILITY INSURANCE POLICY
                                                                       However, auto does not include mobile equipment.
Various provisions in this policy restrict coverage. Read          4. Aviation operations means all operations arising
the entire policy carefully to determine rights, duties and           from the ownership, maintenance or use of locations
what is or is not covered.                                            for aviation activities including that portion of roads
Throughout this policy the words “you” and “your” refer               or other accesses that adjoin these locations. Avia-
to the Named Insured shown in the Declarations and any                tion operations include all operations necessary or
other person or organization qualifying as a Named In-                incidental to aviation activities.
sured under this policy. The words “we”, “us” and “our”            5. Bodily Injury means physical injury sustained by
refer to the Company providing this insurance which is                any person, caused by an occurrence during the
shown in the Declarations (and hereinafter referred to as             policy period, including sickness, disease, mental
the Company).                                                         anguish, and death at any time resulting therefrom.
The word “Insured” means any person or organization                   Mental anguish does not include Personal Injury.
qualifying as such under SECTION – V - WHO IS AN                   6. Coverage territory means any of the following:
INSURED.
                                                                       a. the United States of America (including its terri-
Other words and phrases that appear in bold type have                     tories and possessions), Puerto Rico and Cana-
special meaning. Refer to SECTION I – DEFINITIONS.                        da;
In consideration of the payment of the premium, in reli-               b. international waters or airspace, provided the
ance upon the statements of the Declarations made a                       occurrence takes place in the course of travel or
part hereof, subject to all of the terms of this policy in-               transportation to or from any place included in a.
cluding the applicable limits of liability, the Company                   above;
agrees with the Named Insured with respect to the cov-
erages indicated in the Declarations as follows:                       c. all parts of the world if the injury or damage aris-
                                                                          es out of,
                                                                           (1) goods or products made or sold by you in
            SECTION I – DEFINITIONS                                            the territory described in a. above, or
1. Advertisement means a notice that is broadcast or                       (2) the activities of a person whose home is in
   published to the general public or specific market                          the territory described in a. above, but who
   segments about your goods, products or services for                         is away for a short time on your business, or
   the purpose of attracting customers or supporters.
                                                                           (3) Personal and Advertising Injury offenses
   For the purposes of this definition:
                                                                               that take place through the Internet or simi-
    a. notices that are published include material                             lar electronic means of communication,
       placed on the Internet or on similar electronic
                                                                       provided that the Insured’s responsibility to pay
       means of communication.
                                                                       damages is determined in a suit on the merits, in
    b. regarding web-sites, only that part of a web-site               the territory described in a. above or in a settlement
       that is about your goods, products or services                  we agree to.
       for the purpose of attracting customers or sup-
                                                                   7. Employee includes a leased worker. Employee
       porters is considered advertisement.
                                                                      does not include a temporary worker.
2. Aircraft means any aircraft including engines, pro-
                                                                   8. Executive officer means a person holding any of
   pellers, operating and navigating instruments and
                                                                      the officer positions created by your charter, consti-
   radio equipment attached to or usually attached to or
                                                                      tution, by-laws or any other similar governing docu-
   carried on the aircraft, including component parts
                                                                      ment.
   detached and not replaced by other similar parts,
   and tools therein which are standard for the make               9. Impaired property means tangible property, other
   and type of aircraft. The term aircraft excludes mis-              than your product or your work, that cannot be
   siles, spacecraft and launch vehicles.                             used or is less useful because:
3. Auto means:                                                         a. it incorporates your product or your work that
                                                                          is known or thought to be defective, deficient,
    a. a land motor vehicle, trailer or semi-trailer de-
                                                                          inadequate or dangerous or
       signed for travel on public roads, including any
       attached machinery or equipment or                              b. you have failed to fulfill the terms of contract or
                                                                          agreement and
    b. any other land vehicle that is subject to a com-
       pulsory or financial responsibility law or other                if such property can be restored to use by:


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    c. the repair, replacement, adjustment or removal                        (3) under which the Insured, if an architect, en-
       of your product or your work or                                           gineer or surveyor, assumes liability for an
                                                                                 injury or damage arising out of the Insured’s
    d. your fulfilling the terms of the contract or agree-
                                                                                 rendering or failure to render professional
       ment.
                                                                                 services, including those listed in (2) above
10. In flight means the time commencing with the actual                          and supervisory, inspection, architectural or
    take-off run of the aircraft until it has completed its                      engineering activities,
    landing roll, or if the aircraft is a rotorcraft, from the
                                                                             (4) that indemnifies any person or organization
    time the rotors start to rotate under power until they
                                                                                 for Bodily Injury or Property Damage aris-
    cease to rotate.
                                                                                 ing out of the manufacture of aircraft or air-
11. Insured contract means any of the following:                                 craft parts by the indemnitee,
    a. a contract for a lease of premises. However, that                     (5) that indemnifies any person or organization
       portion of the contract for a lease of premises                           for Bodily Injury or Property Damage aris-
       that indemnifies any person or organization for                           ing out of the major alteration or repair or
       damage by fire to premises while rented to you                            aircraft parts by the indemnitee or
       or temporarily occupied by you with the permis-
                                                                             (6) which is agreed to orally by you and another
       sion of the owner is not an insured contract;
                                                                                 party, unless the contract or agreement is
    b. a sidetrack agreement;                                                    required by a governmental body for you to
                                                                                 use an airport.
    c. any easement or license agreement, except in
       connection with construction or demolition oper-              12. Launch Vehicle means a rocket (including, but not
       ations on or within 50 feet of a railroad;                        limited to, the Space Transportation System (STS))
                                                                         used to carry or launch a probe, spacecraft product
    d. an obligation, as required by ordinance, to in-
                                                                         or similar.
       demnify a municipality, except in connection with
       work for a municipality;                                      13. Leased worker means a person leased to you by a
                                                                         labor leasing firm under an agreement between you
    e. an elevator maintenance agreement;
                                                                         and the labor leasing firm, to perform duties related
    f.    that part of any other contract or agreement per-              to the conduct of your business. Leased worker
          taining to your aviation operations (including                 does not include a temporary worker.
          indemnification of a municipality in connection            14. Loading or unloading means the handling of prop-
          with work performed for a municipality) under
                                                                         erty:
          which you assume the tort liability of another
          party to pay for Bodily Injury or Property Dam-                a. after it is moved from the place where it is ac-
          age to a third person or organization. Tort liabil-               cepted for movement into or onto an aircraft,
          ity means a liability that would be imposed by                    watercraft or auto,
          law in the absence of any contract or agree-
                                                                         b. while it is in or on an aircraft, watercraft or auto
          ment.
                                                                            or
          Paragraph 11. does not include that part of any
                                                                         c. while it is being moved from an aircraft, water-
          contract or agreement:
                                                                            craft or auto to the place where it is finally deliv-
          (1) that indemnifies a railroad for Bodily Injury                 ered.
              or Property Damage arising out of con-
                                                                         Loading or unloading does not include the move-
              struction or demolition operations within 50
                                                                         ment of property by means of a mechanical device,
              feet of any railroad property and affecting
                                                                         other than a hand truck, that is not attached to the
              any railroad bridge or trestle, tracks, road-
                                                                         aircraft, watercraft or auto.
              beds, tunnel, underpass or crossing,
                                                                     15. Loss means an accident resulting in direct damage
          (2) that indemnifies an architect, engineer or
                                                                         to tangible property. Loss includes any resulting
              surveyor for injury or damage arising out of:
                                                                         loss of use.
              (a) preparing, approving, or failing to pre-
                                                                     16. Military Aviation Products means your products
                  pare or approve, maps, shop drawings,
                                                                         while owned by or used by or in the possession of
                  opinions, reports, surveys, field orders,
                                                                         the armed services of any government. An aircraft
                  change orders or drawings and specifi-
                                                                         leased or chartered to the armed services of any
                  cations or
                                                                         government shall be deemed not to be a military
              (b) giving directions or instructions, or fail-            aviation product.
                  ing to give them, if that is the primary
                  cause of the injury or damage, or


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17. Missile means a rocket (except launch vehicles):                       are not mobile equipment but will be consid-
                                                                           ered autos:
   a. After arrival of a missile at a launching site,
      such missile shall be deemed not to be owned                         (1) equipment designed primarily for:
      by, loaned to, in the possession or control of, on
                                                                               (a) road maintenance, (but not construction
      in flight by the Insured.
                                                                                   or resurfacing),
   b. When the Insured removes a missile from the
                                                                               (b) street cleaning or
      launching site, or recovers a missile after com-
      pletion of its flight for the purpose of returning it                    (c) snow removal.
      to the premises of the Insured other than a
      launching site, such missile shall be deemed to                      (2) cherry pickers and similar devices mounted
      be in the possession or control of the Insured                           on an automobile or truck chassis and used
      until such missile again arrives at a launching                          to raise or lower workers;
      site or the Insured surrenders possession of                         (3) air compressors, pumps and generators, in-
      such missile to a person or organization who is                          cluding spraying, welding, building cleaning,
      not an Insured under this policy.                                        geophysical exploration, lighting and well
18. Mobile equipment means any of the following types                          servicing equipment.
    of land vehicles, including any attached machinery                However, mobile equipment does not include any
    or equipment:                                                     land vehicles that are subject to a compulsory or fi-
   a. bulldozers, farm machinery, forklifts and other                 nancial responsibility law or other motor vehicle in-
                                                                      surance law in the state where it is licensed or
      vehicles designed for use principally off public
                                                                      principally garaged. Land vehicles subject to a com-
      roads;
                                                                      pulsory or financial responsibility law or other motor
   b. vehicles maintained for use solely on or next to                vehicle insurance law are considered autos.
      premises you own, lease, or rent including spe-
                                                                  19. Occurrence means an accident, including continu-
      cial use vehicles designed for operation on air-
                                                                      ous or repeated exposure to substantially the same
      ports, however, this shall not include passenger
                                                                      general harmful conditions, during the policy period,
      cars, pickup trucks, ambulances, tow trucks,
                                                                      that results in Bodily Injury or Property Damage
      buses, snow plows (except while within the con-
      fines of the aircraft operations area);                         during the policy period neither expected nor intend-
                                                                      ed from the standpoint of the Insured. In the event
   c. vehicles that travel on crawler treads;                         of continuing or progressive Bodily Injury or Prop-
                                                                      erty Damage happening over an extended length of
   d. vehicles, whether self-propelled or not, main-
                                                                      time, such Bodily Injury and Property Damage
      tained primarily to provide mobility to perma-
                                                                      shall be deemed to be one occurrence, and shall
      nently mounted:
                                                                      be deemed to occur only when such Bodily Injury
         (1) power cranes, shovels, loaders, diggers or               and Property Damage first commences.
             drills or
                                                                  20. Personal and Advertising Injury means injury, in-
         (2) road construction or resurfacing equipment               cluding consequential Bodily Injury, arising out of
             such as graders, scrapers or rollers.                    one or more of the following offenses:
   e. vehicles not described in a., b., c. or d. above                a. false arrest, detention or imprisonment;
      that are not self-propelled and are maintained
                                                                      b. malicious prosecution;
      primarily to provide mobility to permanently at-
      tached equipment of the following types:                        c. the wrongful eviction from, wrongful entry into or
                                                                         invasion of the right of private occupancy of a
         (1) air compressors, pumps and generators, in-
                                                                         room, dwelling or premises that a person occu-
             cluding spraying, welding, building cleaning,
                                                                         pies committed by or on behalf of its owner,
             geophysical exploration, lighting and well
                                                                         landlord or lessor;
             service equipment or
                                                                      d. oral or written publication, in any manner, of ma-
         (2) cherry pickers and similar devices used to
                                                                         terial that slanders or libels a person or organi-
             raise and lower workers.
                                                                         zation or disparages a person’s or organization’s
   f.    vehicles not described in a., b., c. or d. above                goods, products or services;
         maintained primarily for purposes other than the
                                                                      e. oral or written publication, in any manner, of ma-
         transportation of persons or cargo.
                                                                         terial that violates a person’s right of privacy;
         However, self-propelled vehicles with the follow-
                                                                      f.   the use of another’s advertising idea in your ad-
         ing types of permanently attached equipment
                                                                           vertisement;



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   g. infringing upon another’s copyright, title or slo-              b. loss of use of tangible property that is not physi-
      gan in your advertisement;                                         cally injured. All such loss shall be deemed to
                                                                         occur at the time of the occurrence that caused
   h. misdirection of a person to an aircraft or other
                                                                         it.
      conveyance.
                                                                      For the purposes of this insurance, electronic data is
21. Products-completed operations hazard:
                                                                      not tangible property.
   a. includes all Bodily Injury and Property Dam-
                                                                      As used in this definition, electronic data means in-
      age occurring away from the premises you own,
                                                                      formation, facts or programs stored as or on, created
      lease, or rent and arising out of your product or
                                                                      or used on, or transmitted to or from computer soft-
      your work except:
                                                                      ware, including systems software, hard or floppy
       (1) products that are still in your physical pos-              disks, DVD/CD-ROMS, flash memory, tapes, drives,
           session or                                                 cells, data processing devices or any other media
                                                                      which are used with electronically controlled equip-
       (2) work that has not yet been completed or
                                                                      ment.
           abandoned. However, your work will be
           deemed completed at the earliest of the fol-           23. Rocket means a projectile, pyrotechnic device or
           lowing times:                                              flying vehicle propelled by a reaction engine that
                                                                      contains within itself, or carries along with itself, the
           (a) when all of the work called for in your
                                                                      substances necessary for its operation or for the
               contract has been completed;
                                                                      consumption or combustion of its fuel, and not nor-
           (b) when all of the work to be done at the                 mally requiring intake of any outside substance.
               job site has been completed if your con-
               tract calls for work at more than one job
               site;                                              24. Spacecraft means a spacecraft, satellite, space-
                                                                      ship, space station (or launch vehicle for such
           (c) when that part of the work done at a job
                                                                      spacecraft) designed to travel to, in, or from and op-
               site has been put to its intended use by
                                                                      erate primarily in space (including parts thereof de-
               any person or organization other than                  tached in flight). The term spacecraft excludes
               another contractor or subcontractor                    aircraft and missiles.
               working on the same project.
                                                                  25. Suit means a civil proceeding in which damage be-
           Work that may need service, maintenance,                   cause of Bodily Injury, Property Damage or Per-
           correction, repair or replacement, but which               sonal and Advertising Injury to which this
           is otherwise complete, will be treated as                  insurance applies are alleged. Suit includes:
           completed.
                                                                      a. an arbitration proceeding in which such damag-
   b. Does not include Bodily Injury or Property
                                                                         es are claimed and to which the Insured must
      Damage arising out of any of the following:
                                                                         submit or does submit with our consent, or
       (1) the transportation of property, unless the in-             b. any other alternative dispute resolution proceed-
           jury or damage arising out of a condition in
                                                                         ing in which such damages are claimed and to
           or on a vehicle not owned or operated by
                                                                         which the Insured submits with our consent.
           you, and that the condition was created by
           the loading or unloading of that vehicle by            26. Volunteer worker means a person who is not your
           any Insured;                                               employee, and who donates his or her work and
                                                                      acts at the direction of and within the scope of duties
       (2) the existence of tools, uninstalled equipment
                                                                      determined by you, and is not paid a fee, salary or
           or abandoned or unused materials;
                                                                      other compensation by you or anyone else for their
       (3) products or operations for which the classifi-             work performed for you.
           cation, listed in the Declarations or in a poli-       27. Your product:
           cy schedule, states that products-
           completed operations are subject to the                    a. means:
           General Aggregate Limit.
                                                                          (1) any goods or products, other than real prop-
22. Property Damage means:                                                    erty, manufactured, sold, handled, distribut-
                                                                              ed or disposed of by
   a. physical injury to tangible property, including all
      resulting loss of use of that property. All such                         (a) you,
      loss of use shall be deemed to occur at the time
                                                                               (b) others trading under your name or
      of the physical injury that caused it.
                                                                               (c) a person or organization whose busi-
                                                                                   ness or assets you have acquired.


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       (2) containers (other than vehicles), materials,                      ments under Coverages A or B or medical
           parts or equipment furnished in connection                        expenses under Coverage C.
           with such goods or products.
                                                                         No other obligation or liability to pay sums or
   b. includes:                                                          perform acts or services is covered unless ex-
                                                                         plicitly provided for under SUPPLEMENTARY
       (1) warranties or representations made at any
                                                                         PAYMENTS – COVERAGE A, B AND D.
           time with respect to the fitness, quality, du-
           rability, performance or use of your product              b. This insurance applies to Bodily Injury and
           and                                                          Property Damage only if:
       (2) the providing of or failure to provide warn-                  (1) the Bodily Injury or Property Damage is
           ings or instructions.                                             caused by an occurrence that takes place
                                                                             in the coverage territory,
   c. does not include vending machines or other
      property rented to or located for the use of oth-                  (2) the Bodily Injury or Property Damage oc-
      ers but not sold.                                                      curs during the policy period and
28. Your work:                                                           (3) prior to the policy period, no Insured or any
                                                                             employee authorized to give or receive no-
   a. means:
                                                                             tice of an occurrence or claim, knew that
       (1) work or operations performed by you or on                         the Bodily Injury or Property Damage had
           your behalf or                                                    occurred, in whole or in part. If such listed
                                                                             Insured or authorized employee knew, prior
       (2) materials, parts or equipment furnished in                        to the policy period, that the Bodily Injury or
           connection with such work or operation.                           Property Damage occurred, then any con-
   b. includes:                                                              tinuation, change or resumption of such
                                                                             Bodily Injury or Property Damage during
       (1) warranties or representation made at any                          or after the policy period will be deemed to
           time with respect to the fitness, quality, du-                    have been known prior to the policy period.
           rability, performance or use of your work;
                                                                     c. Bodily Injury or Property Damage which oc-
       (2) the providing of or failure to provide warn-                 curs during the policy period and was not, prior
           ings or instructions.                                        to the policy period, known to have occurred by
                                                                        any Insured or any employee authorized by the
          SECTION II - COVERAGES                                        Insured to give or receive notice of an occur-
                                                                        rence or claim, includes any continuation,
                                                                        change or resumption of that Bodily Injury or
COVERAGE A – BODILY INJURY AND PROPERTY                                 Property Damage after the end of the policy pe-
DAMAGE LIABILITY                                                        riod.
                                                                     d. Bodily Injury or Property Damage will be
1. Insuring Agreement
                                                                        deemed to have been known to have occurred
   a. We will pay those sums that the Insured be-                       at the earliest time when any Insured or any
      comes legally obligated to pay as damages be-                     employee authorized to give or receive notice of
      cause of Bodily Injury or Property Damage to                      an occurrence or claim:
      which this insurance applies resulting from your
                                                                         (1) reports all or any part of the Bodily Injury or
      aviation operations. We will have the right and
                                                                             Property Damage to us or any other insur-
      duty to defend the Insured against any suit
                                                                             er, or
      seeking those damages. However, we will have
      no duty to defend the Insured against any suit                     (2) receives written or verbal demand or claim
      seeking damages for Bodily Injury or Property                          for damages because of the Bodily Injury
      Damage to which this insurance does not apply.                         or Property Damage, or
      We may at our discretion investigate any occur-
      rence and settle any claim or suit that may re-                    (3) becomes aware by any other means that
      sult. However:                                                         Bodily Injury or Property Damage has oc-
                                                                             curred or has begun to occur.
       (1) the amount we will pay for damages is lim-
           ited as described in SECTION III - LIMITS                 e. Damages because of Bodily Injury include
           OF INSURANCE, and                                            damages claimed by any person or organization
                                                                        for care, loss of services or death resulting at
       (2) our right and duty to defend ends when we                    any time from Bodily Injury.
           have used up the applicable limit of insur-
           ance in the payment of judgments or settle-


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2. Exclusions                                                         d. Any obligation of the Insured under a workers’
                                                                         compensation, disability benefits or unemployed
   The insurance provided by Coverage A does not
                                                                         compensation law or any similar law.
   apply to:
                                                                      e. Bodily Injury to:
   a. Bodily Injury or Property Damage expected or
      intended from the standpoint of the Insured.                         (1) an employee of the Insured arising out of
                                                                               and in the course of:
       This exclusion does not apply to Bodily Injury
       resulting from the use of reasonable force to                           (a) employment by the Insured or
       protect persons or property.
                                                                               (b) performing duties related to the conduct
   b. Bodily Injury or Property Damage for which                                   of the Insured’s business.
      the Insured is obligated to pay damages by rea-
                                                                           (2) the spouse, child, parent, brother or sister of
      son of the assumption of liability in a contract or
                                                                               the employee as a consequence of para-
      agreement.
                                                                               graph e.(1) above.
       This exclusion does not apply to liability for
                                                                           This exclusion applies:
       damages:
                                                                           (3) whether the Insured may be liable as an
       (1) that the Insured would have in the absence
                                                                               employer or in any other capacity and
           of the contract or agreement or
                                                                           (4) to any obligation to share damages with or
       (2) assumed in a contract or agreement that is
                                                                               repay someone else who must pay damag-
           an insured contract, provided the Bodily
                                                                               es because of the injury.
           Injury and Property Damage occurs sub-
           sequent to the execution of the contract or                     This exclusion does not apply to liability as-
           agreement. Solely for the purposes of liabil-                   sumed by the Insured under an insured con-
           ity assumed in an insured contract, rea-                        tract.
           sonable attorney fees and necessary
                                                                      f.   Bodily Injury and Property Damage arising out
           litigation expenses incurred by or for a party
                                                                           of air traffic control operations on the ground or
           other than the Insured are deemed to be
           damages because of Bodily Injury or                             in the air.
           Property Damage, provided that:                            g. Bodily Injury or Property Damage arising out
           (a) liability to such party for, or for the cost              of the ownership, maintenance, use or entrust-
                                                                         ment to others of any aircraft, auto or watercraft
               of, that party’s defense has also been
               assumed in the same insured contract                      owned or operated by or leased, rented, or
                                                                         loaned to any Insured. Use includes operation
               and
                                                                         and loading or unloading and with respect to
           (b) such attorney fees and litigation ex-                     aircraft, operated by also includes operation on
               penses are for defense of that party                      behalf of any Insured.
               against a civil or alternative dispute res-
                                                                           This exclusion applies even if the claims against
               olution proceeding in which damages to
                                                                           any Insured allege negligence or other wrongdo-
               which this insurance applies are alleged.
                                                                           ing in the supervision, hiring, employment, train-
   c. Bodily Injury or Property Damage for which                           ing or monitoring of others by that Insured, if the
      any Insured may be held liable by reason of any                      occurrence which caused the Bodily Injury or
      of the following:                                                    Property Damage involved the ownership,
                                                                           maintenance, use or entrustment to others of
       (1) causing or contributing to the intoxication of
                                                                           any aircraft, auto or watercraft that is owned or
           any person;
                                                                           operated by or leased, rented or loaned to any
       (2) the furnishing of alcoholic beverages to a                      Insured.
           person under the legal drinking age or under
                                                                           This exclusion g. does not apply to any of the
           the influence of alcohol;
                                                                           following:
       (3) any statute, ordinance or regulation relating
                                                                           (1) a watercraft while ashore on premises you
           to the sale, gift, distribution or use of alco-
                                                                               own, or rent;
           holic beverages.
                                                                           (2) a watercraft you do not own that is:
       This exclusion c. applies only if you are in the
       business of manufacturing, distributing, selling,                       (a) less than 26 feet long and
       servicing or furnishing alcoholic beverages.
                                                                               (b) not being used to carry persons or
                                                                                   property for a charge.



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        (3) Parking an auto on or on the ways next to                       (6) that particular part of any property that must
            premises you own or rent, provided the auto                         be restored, repaired or replaced because
            is not owned by or leased, rented or loaned                         your work was incorrectly performed on it.
            to you or any Insured;
                                                                            Paragraphs (1), (3) and (4) of this exclusion do
        (4) Liability assumed under any insured con-                        not apply to Property Damage (other than
            tract for the ownership, maintenance or use                     damage by fire) to premises, including the con-
            of watercraft;                                                  tents of such premises rented to you for a period
                                                                            of 7 or fewer consecutive days. A separate limit
        (5) Bodily Injury or Property Damage arising
                                                                            of insurance applies to Damage To Premises
            out of:
                                                                            Rented To You as described in SECTION III –
            (a) the operation of machinery or equipment                     LIMITS OF INSURANCE.
                that is attached to, or part of, a land ve-
                                                                            Paragraph (2) of this exclusion does not apply if
                hicle that would qualify under the defini-
                                                                            the premises are your work and were never oc-
                tion of mobile equipment if it were not
                                                                            cupied, rented or held for rental by you.
                subject to compulsory or financial re-
                sponsibility law or other motor vehicle                     Paragraphs (3), (4), (5) and (6) of this exclusion
                insurance law in the state where it is li-                  do not apply to liability assumed under a side-
                censed or principally garaged or                            track agreement.
            (b) the operation of any of the machinery or                    Paragraph (6) of this exclusion does not apply to
                equipment listed in paragraph f. (2) or f.                  Property Damage included in the products-
                (3) of the definition of mobile equip-                      completed operations hazard.
                ment.
                                                                       k. Property Damage to your product arising out
  h. Bodily Injury or Property Damage arising out                         of it or any part of it.
     of:
                                                                       l.   Property Damage to your work arising out of it
        (1) the transportation of mobile equipment by                       or any part of it and included in the products-
            an auto owned or operated by or leased,                         completed operations hazard.
            rented or loaned to any Insured or
                                                                            This exclusion does not apply if the damaged
        (2) the use of mobile equipment in, or while in                     work or the work out of which the damage arises
            practice for, or while being prepared for, any                  was performed on your behalf by a subcontrac-
            prearranged racing, speed, demolition con-                      tor.
            test or stunting activity.
                                                                       m. Property Damage to impaired property or
  i.    Property Damage arising out of the appropria-                     property that has not been physically injured,
        tion of property or property rights by governmen-                 arising out of:
        tal power.
                                                                            (1) a defect, deficiency, inadequacy or danger-
  j.    Property Damage to any of the following:                                ous condition in your product or your
                                                                                work, or
        (1) property you own, lease, rent or occupy, in-
            cluding any costs or expenses incurred by                       (2) a delay or failure by you or anyone acting on
            you, or any other person, organization or en-                       your behalf to perform a contract or agree-
            tity, for repair, replacement, enhancement,                         ment in accordance with its terms.
            restoration or maintenance of such property
                                                                            This exclusion does not apply to the loss of use
            for any reason, including prevention of injury
                                                                            of other property arising out of sudden and acci-
            to a person or damage to another’s property;
                                                                            dental physical injury to your product or your
        (2) premises you sell, give away or abandon, if                     work after it has been put to its intended use.
            the Property Damage arises out of any part
                                                                       n. Property damage to launch vehicles including
            of those premises;
                                                                          any parts or any articles used in connection
        (3) property loaned to you;                                       therewith; however, this exclusion shall not ap-
                                                                          ply if such property damage is caused by an
        (4) personal property in the care, custody or
                                                                          aircraft or your product forming a part of such
            control of the Insured;
                                                                          aircraft.
        (5) that particular part of real property on which
                                                                       o. Property damage to spacecraft including any
            you or any contractors or subcontractors
                                                                          parts or any articles used in connection there-
            working directly or indirectly on your behalf
                                                                          with, after such spacecraft or parts or articles
            are performing operations, if the Property
                                                                          have been delivered to a launch site; however,
            Damage arises out of those operations;
                                                                          this exclusion shall not apply to property dam-


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        age resulting from an aircraft including any                         (1) whether the Insured may be liable as an
        parts or articles used in connection therewith.                          employer or in any other capacity and
  p. Property damage to any missile or any mili-                             (2) to any obligation to share damages with or
     tary aviation product arising out of such mis-                              to repay someone else who must pay dam-
     sile or military aviation product including any                             ages because of the injury.
     parts thereof.
                                                                         Exclusions c. through q. do not apply to damage by
  q. Damages claimed for any loss, cost or expense                       fire to premises while rented or leased to you or
     incurred by you or others for the loss of use,                      temporarily occupied by you with the permission of
     withdrawal, recall, inspection, repair, replace-                    the owner. A separate limit of insurance applies to
     ment, adjustment, removal or disposal of any of                     this coverage as described in SECTION III – LIMITS
     the following:                                                      OF INSURANCE.
        (1) Your product,
                                                                     COVERAGE B – PERSONAL AND ADVERTISING
        (2) Your work or
                                                                     INJURY LIABILITY
        (3) Impaired property,
                                                                     1. Insuring Agreement
        if such product, work or property is withdrawn or
        recalled from the market or from use by any                      a. We will pay those sums that the Insured be-
        person or organization because of a known or                        comes legally obligated to pay as damages be-
        suspected defect, deficiency, inadequacy or                         cause of Personal and Advertising Injury to
        dangerous condition in it.                                          which this insurance applies resulting from your
                                                                            aviation operations. We will have the right and
  r.    Bodily Injury arising out of Personal and Ad-
                                                                            duty to defend any suit seeking those damages.
        vertising Injury.
                                                                            However, we will have no duty to defend the In-
  s. Damages arising out of the loss of, loss of use                        sured against any suit seeking damages for
     of, damage to, corruption of, inability to access,                     Personal and Advertising Injury to which this
     or inability to manipulate electronic data.                            insurance does not apply. We may, at our dis-
                                                                            cretion, investigate any offense and settle any
        As used in this exclusion, electronic data means
                                                                            claim or suit that may result. However:
        information, facts, or programs stored as or on,
        created or used on, or transmitted to or from                        (1) the amount we will pay for damages is lim-
        computer software, including systems and appli-                          ited as described in SECTION III – LIMITS
        cations software, hard or floppy disks, CD/DVD-                          OF INSURANCE;
        ROMS, flash memory, tapes, drives, cells, data
                                                                             (2) our right and duty to defend ends when we
        processing devices or any other media which
                                                                                 have used up the applicable limit of insur-
        are used with electronically controlled equip-
                                                                                 ance in the payment of judgments or settle-
        ment.
                                                                                 ments under Coverage A or B or medical
  t.    Bodily Injury to any of the following:                                   expenses under Coverage C.
        (1) a person arising out of any:                                     No other obligation or liability to pay sums or
                                                                             perform acts or services is covered unless ex-
            (a) refusal to employ that person,
                                                                             plicitly provided for under SUPPLEMENTARY
            (b) termination of that person’s employment                      PAYMENTS – COVERAGES A, B AND D.
                or
                                                                         b. This insurance applies to Personal and Adver-
            (c) employment-related practices, policies,                     tising Injury caused by an offense arising out of
                acts or omissions, such as coercion,                        your aviation operations, but only if the offense
                demotion, evaluation, reassignment,                         was committed in the coverage territory during
                discipline, defamation, harassment, hu-                     the policy period.
                miliation, or discrimination directed at
                that person.                                         2. Exclusions
        (2) the spouse, child, parent, brother or sister of              The insurance provided by Coverage B does not
            that person as a consequence of Bodily In-                   apply to:
            jury to that person at whom any of the em-
                                                                         a. Personal and Advertising Injury caused by or
            ployment-related practices described in
                                                                            at the direction of the Insured with the
            paragraphs (a), (b) or (c) above is directed.
                                                                            knowledge that the act would violate the rights of
        This exclusion applies:                                             another and would inflict Personal and Adver-
                                                                            tising Injury.


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  b. Personal and Advertising Injury arising out of                    k. Personal and Advertising Injury arising out of
     oral or written publication of material, if done by                  an electronic chat room or bulletin board the In-
     or at the discretion of the Insured with                             sured hosts, owns, or over which the Insured
     knowledge of its falsity.                                            exercises control.
  c. Personal and Advertising Injury arising out of                    l.   Personal and Advertising Injury arising out of
     oral or written publication of material, whose first                   the unauthorized use of another’s name or
     publication took place before the beginning of                         product in your e-mail address, domain name or
     the policy period.                                                     meta tag, or any other similar tactics to mislead
                                                                            another.
  d. Personal and Advertising Injury arising out of
     a criminal act committed by or at the direction of                m. Personal and Advertising Injury to:
     the Insured.
                                                                            (1) a person arising out of any of the following:
  e. Personal and Advertising Injury for which the
                                                                                (a) refusal to employ that person,
     Insured has assumed liability in a contract or
     written agreement. This exclusion does not ap-                             (b) termination of that person’s employment
     ply to liability for damages that the Insured                                  or
     would have in the absence of the contract or
     agreement.                                                                 (c) employment-related practices, policies,
                                                                                    acts or omissions, such as coercion,
  f.    Personal and Advertising Injury arising out of                              demotion, evaluation, reassignment,
        a breach of contract, except an implied contract                            discipline, defamation, harassment, hu-
        to use another’s advertising idea in your adver-                            miliation, or discrimination directed at
        tisement.                                                                   that person.
  g. Personal and Advertising Injury arising out of                         (2) the spouse, child, parent, brother or sister of
     the failure of goods, products or services to con-                         that person as a consequence of Personal
     form with any statement of quality or perfor-                              and Advertising Injury to that person at
     mance made in your advertisement.                                          whom any of the employment-related prac-
                                                                                tices described in paragraphs (a), (b) or (c)
  h. Personal and Advertising Injury arising out of
                                                                                above is directed.
     the wrong description of the price of goods,
     products or services stated in your advertise-                         This exclusion applies:
     ment.
                                                                            (1) whether you may be held liable as an em-
  i.    Personal and Advertising Injury arising out of                          ployer or in any other capacity and
        the infringement of copyright, patent, trademark,
                                                                            (2) to any obligation to share damages with or
        trade secret or other intellectual property rights.
                                                                                to repay someone else who must pay dam-
        However this exclusion does not apply to in-                            ages because of injury.
        fringement, in your advertisement, of copyright,
                                                                       n. Personal injury arising out of the taking of or
        title or slogan.
                                                                          exercising of the property rights of others by
  j.    Personal and Advertising Injury committed by                      overflight or other operation of aircraft.
        an Insured whose business is:
        (1) advertising, broadcasting, publishing or tele-         COVERAGE C – MEDICAL PAYMENTS
            casting,
        (2) designing or determining content of websites           1. Insuring Agreement
            for others or                                              a. We will pay medical expenses as described be-
        (3) an internet search, access, content or ser-                   low for Bodily Injury caused by an accident:
            vice provider.                                                  (1) on premises you own, lease, or rent,
        However, this exclusion does not apply to para-                     (2) on ways next to premises you own, lease or
        graphs a., b. and c. of Personal and Advertis-                          rent or
        ing Injury under SECTION I - DEFINITIONS.
                                                                            (3) arising out of your aviation operations,
        For the purposes of this exclusion, the placing of
        frames, borders or links, or advertising, for you                   provided that:
        or others anywhere on the Internet, is not by it-                   (1) the accident takes place in the coverage
        self, considered the business of advertising,                           territory and during the policy period,
        broadcasting, publishing or telecasting.



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         (2) the expenses are incurred and reported to                     tion investigate any loss and settle any claim or
             us within one year of the date of the acci-                   suit that may result. However:
             dent and
                                                                           (1) the amount we will pay for damages is lim-
         (3) the injured person submits to examination,                        ited as described in SECTION III – LIMITS
             at our expense, by physicians of our choice                       OF INSURANCE.
             as often as we reasonably require.
                                                                           (2) our right and duty to defend ends when we
   b. We will make these payments regardless of                                have used up the applicable limit of insur-
      fault. These payments will not exceed the appli-                         ance in the payment of judgments or settle-
      cable limit of insurance. We will pay reasonable                         ments under Coverage D.
      expenses for any of the following:
                                                                           (3) when you repair damages which you have
         (1) first aid administered at the time of an acci-                    caused we will not pay more than the follow-
             dent,                                                             ing:
         (2) necessary medical, surgical, x-ray and den-                       (a) your actual cost for necessary material
             tal services, including prosthetic devices and                        and parts of like kind and quality and
         (3) necessary ambulance, hospital, professional                       (b) your actual wages for labor at current
             nursing and funeral services.                                         straight time rates with no premium for
                                                                                   overtime, plus up to 150% of such wag-
2. Exclusions                                                                      es as an allowance for overhead and
                                                                                   supervision.
   We will not pay expenses for Bodily Injury:
                                                                           No other obligation or liability to pay sums or
   a. to any Insured, except volunteer workers,
                                                                           perform acts or services is covered unless ex-
   b. to a person hired to do work for or on behalf of                     plicitly provided for under SUPPLEMENTARY
      any Insured or a tenant of any Insured,                              PAYMENTS – COVERAGES A, B AND D.
   c. to a person injured on that part of premises you                 b. This insurance applies to damages because of
      own, lease or rent that the person normally oc-                     loss to aircraft only if:
      cupies,                                                              (1) the loss takes place in the coverage terri-
   d. to a person, whether or not an employee of any                           tory and
      Insured, if benefits for the Bodily Injury are                       (2) the loss occurs during the policy period.
      payable or must be provided under a workers’
      compensation or disability benefits law or a simi-
                                                                   2. Exclusions
      lar law,
                                                                       This insurance does not apply to any of the follow-
   e. to a person injured while practicing, instructing
                                                                       ing:
      or participating in any physical exercises or
      games, sports, or athletic contests,                             a. the Insured’s liability under any agreement to be
                                                                          responsible for loss;
   f.    included within the products-completed opera-
         tions hazard or                                               b. loss to robes, wearing apparel, personal effects
                                                                          or merchandise;
   g. excluded under Coverage A.
                                                                       c. loss or damage to aircraft or parts of any air-
                                                                          craft that is:
COVERAGE D – HANGARKEEPER’S LIABILITY
                                                                           (1) owned by, leased to, rented to or loaned to
1. Insuring Agreement                                                          the Insured or partner(s) of the Insured or
   a. We will pay those sums that the Insured be-                          (2) owned by, leased to, rented to or loaned to
      comes legally obligated to pay as damages be-                            an officer or employee of the Insured unless
      cause of loss to aircraft (subject to the                                the property is an aircraft in your custody
      deductible shown in the Declarations if applica-                         under an agreement for which a charge has
      ble unless such loss results from fire or explo-                         been made.
      sion or while the aircraft is dismantled and                     d. loss due to theft or conversion caused in any
      being transported) occurring while such aircraft
                                                                          way by you, your employees, your partners or by
      is in the care, custody or control of the Insured
                                                                          your shareholders.
      for safekeeping, storage, service or repair. We
      will have the right and duty to defend any suit                  e. loss to your work arising out of it or any part of
      seeking those damages. We may at our discre-                        it.



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    f.    loss to aircraft while in flight.                                         (b) immediately send us copies of any de-
                                                                                        mands, notices, summonses or legal
                                                                                        papers received in connection with the
SUPPLEMENTARY PAYMENTS – COVERAGE A, B                                                  suit,
AND D
                                                                                    (c) notify any other insurer whose coverage
1. We will pay the following with respect to any claims
                                                                                        is available to the indemnitee and
   we investigate or settle or any suit we defend:
                                                                                    (d) cooperate with us with respect to coor-
    a. all expenses we incur.
                                                                                        dinating other applicable insurance
    b. up to $5,000 for cost of bail bonds required be-                                 available to the indemnitee.
       cause of accidents or traffic law violations aris-                       (2) provides us with written authorization to:
       ing out of the use of any vehicle to which the
       Bodily Injury Liability Coverage applies. We do                              (a) obtain records and other information re-
       not have to furnish these bonds.                                                 lated to the suit and
    c. the cost of bonds to release attachments, but                                (b) conduct and control the defense of the
       only for bond amounts within the applicable limit                                indemnitee in such suit.
       of insurance. We do not have to furnish these
                                                                            So long as the above conditions are met, attorneys’
       bonds.
                                                                            fees incurred by us in the defense of that indem-
    d. all reasonable expenses incurred by the Insured                      nitee, necessary litigation expenses incurred by us
       at our request to assist in the investigation or de-                 and necessary litigation expenses incurred by the
       fense of the claim or suit, including actual loss                    indemnitee at our request will be paid as Supple-
       of earnings up to $250 per day because of time                       mentary Payments. Notwithstanding the provision of
       off from work.                                                       paragraph 2. b. (2) of SECTION II, COVERAGE A –
                                                                            BODILY INJURY AND PROPERTY DAMAGE LIA-
    e. all costs taxed against the Insured in the suit.                     BILITY, such payments will not be deemed to be
    f.    pre-judgment interest awarded against the In-                     damages for Bodily Injury and Property Damage
          sured on that part of the judgment we pay. If we                  and will not reduce the limits of insurance.
          make an offer to pay the applicable limit of in-
                                                                            Our obligation to defend an Insured’s indemnitee
          surance, we will not pay any pre-judgment inter-                  and to pay for attorneys’ fees and necessary litiga-
          est based on that period of time after the offer.                 tion expenses as Supplementary Payments ends
    g. all interest on the full amount of any judgment                      when:
       that accrues after entry of the judgment and be-                     a. we have used up the applicable limit of insur-
       fore we have paid, offered to pay, or deposited
                                                                               ance in the payment of judgments or settlements
       in court the part of the judgment that is within the
                                                                               or
       applicable limit of insurance.
                                                                            b. the conditions set forth above, or the terms of
These payments will not reduce the limits of insurance.                        the agreement described in paragraph 2. d.
2. If we defend an Insured against a suit and an in-                           above, are no longer met.
   demnitee of the Insured is also named as a party to
   the suit, we will defend that indemnitee if all of the
   following conditions are met:                                            SECTION III - LIMITS OF INSURANCE
    a. the suit against the indemnitee seeks damages                    1. The Limits of Insurance shown in the Declarations
       for which the Insured has assumed the liability of                  and the rules below fix the most we will pay regard-
       the indemnitee in a contract or agreement that is                   less of the number of:
       an insured contract,
                                                                            a. Insureds,
    b. this insurance applies to such liability assumed
       by the Insured,                                                      b. claims made or suits brought,

    c. the obligation to defend, or the cost of the de-                     c. persons or organizations making claims or bring-
       fense of, that indemnitee, has also been as-                            ing suits or
       sumed by the Insured in the same insured                             d. Aircraft to which Coverage D applies.
       contract and
                                                                        2. The General Aggregate Limit is the most we will pay
    d. the indemnitee:                                                     for the sum of the following:
          (1) agrees in writing to:                                         a. damages under Coverage A, except damages
              (a) cooperate with us in the investigation,                      because of Bodily Injury or Property Damage
                  settlement or defense of the suit,

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        included in the products-completed opera-                    a. grandstands, bleachers or observation platforms
        tions hazard;                                                   other than observation decks or promenades
                                                                        which are part of permanent structures on the
    b. damages under Coverage B;
                                                                        premises,
    c. medical expenses under Coverage C.
                                                                     b. swimming pools or playground equipment of any
3. The Products-Completed Operations Aggregate                          nature,
   Limit is the most we will pay under Coverage A for
                                                                     c. lodging accommodations for the general public
   damages because of Bodily Injury and Property
                                                                        or
   Damage included in the products-completed op-
   erations hazard.                                                  d. schools other than pilot training schools.
4. Subject to 2. above, the Personal and Advertising             3. to restaurants operated by you or by others trading
   Injury Aggregate Limit is the most we will pay under             under your name, to Bodily Injury or Property
   Coverage B for the sum of all damages because of                 Damage arising out of:
   all Personal and Advertising Injury.
                                                                     a. your products or
5. Subject to 2. or 3. above, whichever applies, the
                                                                     b. reliance upon a representation or warranty made
   Each Occurrence Limit is the most we will pay for
                                                                        with respect thereto if the Bodily Injury or
   the sum of:
                                                                        Property Damage occurs after physical pos-
    a. damages under Coverage A and                                     session of such products has been relinquished
                                                                        to others.
    b. medical expenses under Coverage C
                                                                 4. under Coverages A, B and C:
    because of all Bodily Injury and Property Damage
    arising out of any one occurrence.                               a. to any Insured or any other person or organiza-
                                                                        tion with respect to any Bodily Injury, Property
6. Subject to paragraph 5. above, the Damage to
                                                                        Damage or Personal and Advertising Injury
   Premises Rented To You Limit is the most we will
                                                                        resulting or arising from any occurrence asso-
   pay under Coverage A for damages because of
                                                                        ciated with or related to the acts of parachuting,
   Property Damage to any one premises, while rent-
                                                                        skydiving, training for parachuting or skydiving,
   ed or leased to you, or in the case of damage by fire,
                                                                        or the rental, use, maintenance or furnishing of
   while rented or leased to you or temporarily occu-
                                                                        any parachuting or skydiving equipment or
   pied by you with the permission of the owner.
                                                                     b. to any claims or suit for Bodily Injury, Property
7. Subject to paragraph 5. above, the Medical Expense
                                                                        Damage or Personal and Advertising Injury
   Limit is the most we will pay under Coverage C for
                                                                        sustained by any person or organization result-
   all medical expenses because of Bodily Injury sus-
                                                                        ing or arising from any occurrence associated
   tained by any one person.
                                                                        with or related to the act of parachuting, skydiv-
8. The Hangarkeeper’s Each Loss Limit is the most we                    ing, training for parachuting or skydiving, or the
   will pay for the sum of all damages under Coverage                   rental, use, maintenance or furnishing of any
   D because of any one loss.                                           parachuting or skydiving equipment.
9. Subject to 8. above, the Hangarkeeper’s Each Air-                 As respects exclusions 4. a. and b. above the Com-
   craft Limit is the most we will pay for the sum of                pany will have no duty to defend the Insured against
   damages under Coverage D because of loss to any                   any claims or suit seeking damages for Bodily Inju-
   one aircraft in any one loss.                                     ry, Property Damage or Personal and Advertising
                                                                     Injury caused by or arising from the acts of para-
                                                                     chuting, skydiving, training for parachuting or skydiv-
       SECTION IV – COMMON POLICY                                    ing, or the rental, use, maintenance or furnishing of
              EXCLUSIONS                                             any parachuting or skydiving equipment. Further-
                                                                     more, the section SUPPLEMENTARY PAYMENTS
This policy does not apply under any coverage:                       – COVERAGE A, B AND D shall not apply.
1. to the conduct of any contest, exhibition, air meet,          5. to any liability, including liability arising out of or as-
   air race, air show, permitted, sponsored or partici-             sumed under contract, or any injury, loss or damage,
   pated in, by any Insured, or to any claims or suits              including, but not limited to, fear of any injury, loss or
   resulting therefrom;                                             damage, Bodily Injury, fear of Bodily Injury, per-
                                                                    sonal injury, advertising injury, sickness, disease,
2. to the ownership, maintenance, use or operation by
                                                                    occupational disease, disability, shock, death, men-
   any Insured, or to any claims or suits resulting                 tal anguish, mental injury, Property Damage or any
   therefrom of:                                                    loss, cost or expense, loss of use including ground-
                                                                    ing, or any other claim, cost or expense, including


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    any costs associated with medical monitoring in                     Injury, sickness, disease, occupational disease,
    connection with injury, loss or damage or fear of in-               disability, shock, death, mental anguish, mental inju-
    jury, loss or damage whatsoever directly or indirectly              ry, Property Damage or any loss, cost or expense,
    arising out of, resulting from, caused or occasioned                loss of use including grounding, or any other claim,
    by, happening through, in consequence of, or in any                 cost or expense whatsoever, directly or indirectly
    way involving or related to asbestos or the use of or               arising out of, resulting from, caused or occasioned
    exposure to asbestos, including the failure of any                  by, happening through, in consequence of, or in any
    product or material containing asbestos, or the ex-                 way involving any of the following:
    istence or presence of asbestos in any place or thing
                                                                        a. noise (whether audible to the human ear or not),
    or in the atmosphere, land, or any watercourse or
                                                                           vibration, sonic boom, and any phenomena as-
    body of water;
                                                                           sociated with the foregoing;
    to any damages or any loss, cost or expense arising
                                                                        b. “pollution or contamination” of any kind whatso-
    out of (i) any claim or suit by or on behalf of any
                                                                            ever, or the exposure to “pollution or contamina-
    governmental authority or any other allegedly re-
                                                                            tion”, or the fear of exposure to or the effects of
    sponsible party because of, or (ii) any request, de-
                                                                            “pollution or contamination” or the existence of
    mand, order or statutory or regulatory requirement
                                                                            “pollution or contamination” in any place or thing
    that any Insured or any other person or entity should
                                                                            or in the atmosphere, land, or any watercourse
    be or is responsible for:
                                                                            or body of water, as well as any claim or suit by
    a. assessing the presence, absence, amount or ef-                       or on behalf of or any direction, demand or re-
       fects of asbestos, or                                                quest or any statutory or regulatory requirement,
                                                                            or any voluntary decision, by or on behalf of any
    b. identifying, sampling, testing for, detecting, mon-
                                                                            governmental authority or other alleged respon-
       itoring, cleaning up, containing, treating, detoxi-
                                                                            sible party, that any Insured or others test for,
       fying, neutralizing, abating, disposing of,
                                                                            monitor, clean up, remove, contain, treat, detoxi-
       mitigating or removing asbestos or any product
                                                                            fy, neutralize or in any way respond to or assess
       or material containing asbestos, or
                                                                            the effects of “pollutants or contaminants”;
    c. responding to asbestos or the potential effects of
                                                                        c. electrical or electromagnetic emission or inter-
       asbestos in any way other than as described in
                                                                           ference of any kind whatsoever;
       subparagraph 5. a. or 5. b. above;
                                                                        d. interference with the use of property;
    to any supervision, instructions, recommendations,
    warnings or advice given or which should have been                  e. mold.
    given in connection with of this exclusion 5.
                                                                        For purposes of this Exclusion the following defini-
    Insurers shall have no obligation to defend or in-                  tions apply.
    demnify, or to investigate claims or to share damag-
                                                                        f.   “Pollution or contamination” means any actual,
    es with or repay someone else due to or arising
                                                                             alleged or threatened discharge, dispersal, re-
    from, in whole or in part, any claim, action or suit
                                                                             lease, escape, seepage, migration, disposal or
    against the Insured in connection with any of the
                                                                             the mere presence of pollutants or contaminants
    matters described in this exclusion 5.. Insurers shall
                                                                             in any form.
    also not be responsible for any costs or expenses
    related to or associated with any such claims, action               g. “Pollutants or contaminants” means any pollu-
    or suit.                                                               tant, contaminant or irritant, including, without
                                                                           limitation, any solid, liquid, gaseous or thermal
    Insurers shall have no obligation to defend or in-
                                                                           pollutant, contaminant or irritant, or any air
    demnify, or to investigate claims or to share damag-
                                                                           emission, smoke, vapor, soot, fume, acid, alkali,
    es with or repay someone else due to or arising
                                                                           chemical, or nuclear material alleged to be a
    from, in whole or in part, any claim, action or suit
                                                                           possible or probable carcinogenic, odor, oil or
    against the Insured in connection with any of the
                                                                           other petroleum product, fungus (including mold
    matters described in exclusion 5. Insurers shall also
                                                                           or mildew or any mycotoxin, spore, scent or by-
    not be responsible for any costs or expenses related
                                                                           product produced or released by fungi, other
    to or associated with any such claims, action or suit.
                                                                           than any fungi intended by the Insured for hu-
    For purposes of this exclusion “asbestos” means as-                    man consumption), or “waste” of any kind what-
    bestos, asbestos fibers, asbestos dust or any prod-                    soever, including solid waste, waste water,
    uct or material containing “asbestos.”                                 waste oil, infectious medical waste, and human,
                                                                           animal or vegetable waste.
6. to any liability including liability arising out of or as-
   sumed under contract, or any injury, loss or damage,                 h. “Waste” means any waste including material to
   including Bodily Injury, fear of Bodily Injury dam-                     be recycled, reconditioned or reclaimed, whether
   age or fear of damage, Personal and Advertising


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          or not the material has been disposed of by any                It is understood and agreed that such radioactive
          person handling the waste.                                     material or other radioactive source in exclusion 7.
                                                                         b. (2) above shall not include:
    With respect to any provision in the policy concern-
    ing any duty of the Company to investigate or de-                    c. depleted Uranium and natural Uranium in any
    fend claims, such provision shall not apply and the                     form or
    Company shall not be required to defend:
                                                                         d. radioisotopes which have reached the final
    i.    claims excluded by this exclusion or                              stage of fabrication so as to be useable for any
                                                                            scientific, medical, agricultural, commercial, ed-
    j.    a claim or claims covered by the policy when
                                                                            ucational or industrial purpose.
          combined with any claims excluded by this ex-
          clusion (referred to below as “Combined                        This policy, however, does not cover loss of or de-
          Claims”).                                                      struction of or damage to any property or any con-
                                                                         sequential loss or any legal liability of whatsoever
    In respect of any “Combined Claims”, the Company
                                                                         nature with respect to which:
    shall (subject to proof of loss and the limits of the
    policy) reimburse the Insured for that portion of the                e. the Insured under this policy is also an Insured
    following items which may be allocated to the claim                     or an additional Insured under any other insur-
    or claims covered by this policy:                                       ance policy, including any nuclear energy liability
                                                                            policy,
    k. damages awarded against the Insured; and
                                                                         f.   any person or organization is required to main-
    l.    defense fees and expenses incurred by the In-
                                                                              tain financial protection pursuant to legislation in
          sured.
                                                                              any country or
    Nothing herein shall override any radioactive con-
                                                                         g. the Insured under this policy is, or had this policy
    tamination or other exclusion clause attached to or
                                                                            not been issued would be entitled to indemnifi-
    forming part of this policy.
                                                                            cation from any government or agency thereof.
    This Exclusion shall not apply to any claim for Bodi-
                                                                         Loss, destruction, damage, expenses or legal liabil-
    ly Injury or physical injury to tangible property that
                                                                         ity in respect of the nuclear risks not excluded by
    results from a crash, fire, explosion or collision of
                                                                         reason of exclusion 7. b. (2). shall (subject to all oth-
    aircraft, or results from a recorded in-flight emer-
                                                                         er terms, conditions, limitations, warranties and ex-
    gency causing abnormal aircraft operation of air-
                                                                         clusions of this policy) be covered, provided that:
    craft.
                                                                         h. in the case of any claim in respect of radioactive
7. to claims for:
                                                                            material in the course of carriage as cargo, in-
    a. loss or destruction of or damage to any property                     cluding storage or handling incidental thereof,
       whatsoever or any loss or expense whatsoever                         such carriage shall in all respects have complied
       resulting or arising therefrom or any consequen-                     with the full International Civil Aviation Organiza-
       tial loss or                                                         tion “technical Instructions for the Safe Transport
                                                                            of Dangerous Goods by Air,” unless the carriage
    b. any legal liability of whatsoever nature directly or
                                                                            shall have been subject to any more restrictive
       indirectly caused by or contributed to, by or aris-
                                                                            legislation, when it shall in all respects have
       ing from:
                                                                            complied with such legislation;
          (1) the radioactive, toxic, explosive or other                 i.   this policy shall only apply to an incident hap-
              hazardous properties of any explosive nu-                       pening during the policy period and where any
              clear assembly or nuclear component there-
                                                                              claim by the Insured against the Company or by
              of;
                                                                              any claimant against the Insured arising out of
          (2) the radioactive properties of, or a combina-                    such incident shall have been made within three
              tion of radioactive properties with toxic, ex-                  (3) years after the date thereof;
              plosive or other hazardous properties of, any              j.   in the case of any claim for the loss of or de-
              other radioactive material in the course of                     struction to or loss of use of an aircraft caused
              carriage as cargo, including storage or han-
                                                                              by or contributed to by radioactive contamina-
              dling incidental thereto or
                                                                              tion, the level of such contamination shall have
          (3) ionizing radiations or contamination by radi-                   exceeded the maximum permissible level set out
              oactivity from, or the toxic, explosive or other                in the following scale:
              hazardous properties of any other radioac-
              tive source whatsoever.




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                                                                        return shall require that the aircraft be parked with
          Emitter            Maximum permissible level                  the engines shut down and under no duress).
                               of non-fixed radioactive
(IAEA Health and Safe-          surface contamination               9. to any claim, Property Damage, Bodily Injury, loss,
                                                      2                cost, expense or liability (whether in contract, tort,
    ty Regulations)           (Averaged over 300 cm )
                                                                       negligence, product liability, misrepresentation, fraud
 Beta, gamma and low Not exceeding 4 Becquerels/cm
                                                               2       or otherwise) of any nature whatsoever arising from,
 toxicity alpha emitters
                             -4             2
                          (10 microcuries/cm )                         occasioned by, or in consequence of (whether di-
                                                                       rectly or indirectly and whether wholly or partly):
All other alpha emitters     Not exceeding 0.4 Becque-                  a. any actual or alleged failure, malfunction or in-
                                              2
                                      rels/cm                              adequacy of:
                                  -5              2
                               (10 microcuries/cm )
                                                                            (1) any of the following, whether belonging to
                                                                                any Insured or to others, whether or not part
                                                                                of any computer system or whether in the
   k. The coverage afforded hereby may be cancelled
                                                                                possession of the Insured or of any third
      at any time by the Company by giving seven (7)
                                                                                party:
      days notice of cancellation.
                                                                                (a) computer hardware, including micropro-
8. to claims caused by:
                                                                                    cessors;
   a. war, invasion, acts of foreign enemies, hostilities
                                                                                (b) computer application software;
      (whether war be declared or not), civil war, re-
      bellion, revolution, insurrection, martial law, mili-                     (c) computer operating systems and related
      tary or usurped power or attempts at usurpation                               software;
      of power, or
                                                                                (d) computer networks;
   b. any hostile detonation of any weapon of war
                                                                                (e) microprocessors, computer chips, inte-
      employing atomic or nuclear fission and/or fu-
                                                                                    grated circuits or other information tech-
      sion or other like reaction or radioactive force or
                                                                                    nology equipment or systems;
      matter, or
                                                                            (2) any other products or systems and any ser-
   c. strikes, riots, civil commotions or labor disturb-
                                                                                vices, data, or functions that directly or indi-
      ances, or
                                                                                rectly use or rely upon, in any manner, any
   d. any act of one or more persons, whether or not                            of the items listed in paragraph a. (1) of this
      agents of a sovereign power, for political or ter-                        exclusion 9;
      rorist purposes and whether the loss or damage
                                                                            (3) due to the inability to correctly recognize,
      resulting therefrom is accidental or intentional, or
                                                                                process, distinguish, interpret or accept:
   e. any malicious act or act of sabotage, or
                                                                                (a) the change of year from 1999 to 2000;
   f.    confiscation, nationalization, seizure, restraint,
                                                                                (b) the change of date from August 21,
         detention, appropriation, requisition for title or
                                                                                    1999 to August 22, 1999;
         use by or under the order of any government
         (whether civil, military or de facto), or public or                    (c) any other change of year, date or time;
         local authority, or
                                                                        b. any advice, consultation, design, evaluation, in-
   g. hijacking or any unlawful seizure or wrongful ex-                    spection, installation, maintenance, repair, re-
      ercise of control of an aircraft or aircraft crew                    placement or supervision provided or done by
      in flight (including any attempt at such seizure                     you or for you to determine, rectify, or test for
      or control) made by any person or persons on                         any potential or actual problems described in
      board the aircraft acting without the consent of                     this exclusion 9.
      the Insured.
   Furthermore, this policy does not cover claims aris-                   SECTION V – WHO IS AN INSURED
   ing while the aircraft is outside the control of the In-
   sured by reason of any of the above perils.                      1. If you are designated in the Declarations as:
   The aircraft shall be deemed to have been restored                   a. an individual, you and your spouse are Insureds,
   to the control of the Insured on the safe return of the                 but only with respect to the conduct of a busi-
   aircraft to the Insured at an airfield not excluded by                  ness of which you are the sole owner.
   the geographical limits of this policy, and entirely
   suitable for the operation of the aircraft (such safe                b. a partnership or joint venture, you are an In-
                                                                           sured. Your members, your partners, and their


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        spouses are also Insureds, but only with respect                       (a) owned, occupied or used by or
        to the conduct of your business.
                                                                               (b) rented to, leased to, in the care, custody
    c. a limited liability company, you are an Insured.                            or control of, or over which physical con-
       Your members are also Insureds, but only with                               trol is being exercised for any purpose
       respect to the conduct of your business. Your                               by
       managers are Insureds, but only with respect to
                                                                               you, any of your employees, volunteer
       their duties as your managers.
                                                                               workers, any partner or member (if you are
    d. an organization other than a partnership, joint                         a partnership or joint venture), or any mem-
       venture or limited liability company, you are an                        ber (if you are a limited liability company).
       Insured. Your executive officers and directors
                                                                       b. any person (other than your employee or vol-
       are Insureds, but only with respect to their duties
                                                                          unteer worker), or any organization while acting
       as your officers or directors. Your stockholders
                                                                          as your real estate manager.
       are also Insureds, but only with respect to their
       liability as stockholders.                                      c. any person or organization having proper tem-
                                                                          porary custody of your property if you die, but
    e. a trust, you are an Insured. Your trustees are
                                                                          only:
       also Insureds, but only with respect to their du-
       ties as trustees.                                                   (1) with respect to liability arising out of the
                                                                               maintenance or use of that property and
2. Each of the following is also an Insured:
                                                                           (2) until your legal representative has been ap-
    a. your volunteer workers only while performing
                                                                               pointed.
       duties related to the conduct of your business, or
       your employees, other than either your execu-                   d. your legal representative if you die, but only with
       tive officers (if you are an organization other                    respect to duties as such. That representative
       than a partnership, joint venture or limited liabil-               will have all your rights and duties under this pol-
       ity company) or your managers (if you are a lim-                   icy.
       ited liability company), but only for acts within
                                                                   3. With respect to mobile equipment registered in
       the scope of their employment by you or while
       performing duties related to the conduct of your               your name under any motor vehicle registration law,
       business. However, none of these employees                     any person is an Insured while driving such equip-
       or volunteer workers are insured for:                          ment along a public highway with your permission.
                                                                      Any other person or organization responsible for the
        (1) Bodily Injury or Personal and Advertising                 conduct of such person is also an Insured, but only
            Injury:                                                   with respect to liability arising out of the operation of
                                                                      the equipment, and only if no other insurance of any
            (a) to you, your partners or members (if you
                                                                      kind is available to that person or organization for
                are a partnership or joint venture), to
                                                                      this liability. However, no person or organization is
                your members (if you are a limited liabil-
                                                                      an Insured with respect to:
                ity company), to a co-employee while in
                the course of his or her employment or                 a. Bodily Injury to a co-employee of the person
                performing duties related to the conduct                  driving the equipment or
                of your business, or to your other volun-
                teer workers while performing duties                   b. Property Damage to property owned by, rented
                related to the conduct of your business,                  to, leased to, in the charge of, or occupied by
                                                                          you or in the employ of any person who is an In-
            (b) to the spouse, child, parent, brother or                  sured under this provision.
                sister of that co-employee or volunteer
                worker as a consequence of paragraph               4. Any organization you newly acquire or form, other
                (1) (a) above,                                        than a partnership, joint venture or limited liability
                                                                      company, and over which you maintain ownership or
            (c) for which there is any obligation to share            majority interest, will qualify as an Insured if there is
                damages with or repay someone else                    no other similar insurance available to that organiza-
                who must pay damages because of the                   tion. However:
                injury described in paragraphs (1) (a) or
                                                                       a. coverage under this provision is afforded only
                (b) above or                                                          th
                                                                          until the 90 day after you acquire or form the
            (d) arising out of his or her providing or fail-              organization or the end of the policy period,
                ing to provide professional health care                   whichever is earlier.
                services.
                                                                       b. Coverage A does not apply to Bodily Injury or
        (2) Property Damage to property:                                  Property Damage that occurred before you ac-
                                                                          quired or formed the organization.


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   c. Coverage B does not apply to personal injury                      Named Insured shown in the Declarations is author-
      and advertising injury arising out of an offense                  ized to make changes in the terms of this policy with
      committed before you acquired or formed the                       our consent. This policy’s terms can be amended or
      organization.                                                     waived only by endorsement issued by the Compa-
                                                                        ny and made a part of this policy.
   d. Coverage C does not apply to medical expens-
      es arising out of Bodily Injury that occurred be-
                                                                    4. Duties In The Event Of Occurrence, Loss, Claim
      fore you acquired or formed the organization.
                                                                       Or Suit
   e. Coverage D does not apply to loss to aircraft
                                                                        a. You must see to it that we are notified promptly
      before you acquired or formed the organization.
                                                                           of an occurrence or an offense which may re-
   No person or organization is an Insured with respect                    sult in a claim. To the extent possible, notice
   to the conduct of any current or past partnership,                      should include all of the following:
   joint venture or limited liability company that is not
                                                                            (1) How, when and where the occurrence took
   shown as a Named Insured in the Declarations.
                                                                                place;
                                                                            (2) The names and addresses of any injured
    SECTION VI – POLICY CONDITIONS                                              persons and witnesses;

1. Bankruptcy                                                               (3) The nature and location of any injury or
                                                                                damage arising out of the occurrence or of-
   Bankruptcy or insolvency of the Insured or of the In-                        fense.
   sured’s estate will not relieve us of our obligation
   under this policy.                                                   b. If a claim is made or suit is brought against any
                                                                           Insured, you must:
2. Cancellation                                                             (1) immediately record the specifics of the claim
   a. The first Named Insured shown in the Declara-                             or suit and the date received and
      tions may cancel this policy by mailing or deliv-                     (2) notify the Company as soon as practicable.
      ering to us advance written notice of
      cancellation.                                                     c. You and any other involved Insured must:

   b. We may cancel this policy by mailing or deliver-                      (1) immediately send the Company copies of
      ing to the first Named Insured written notice of                          any demands, notices, summonses or legal
      cancellation at least:                                                    papers received in connection with the claim
                                                                                or suit,
         (1) 10 days before the effective date of cancel-
             lation if we cancel for nonpayment of premi-                   (2) authorize the Company to obtain records
             um or                                                              and other information,

         (2) 30 days before the effective date of cancel-                   (3) cooperate with the Company in the investi-
             lation if we cancel for any other reason.                          gation, settlement or defense of the claim or
                                                                                suit and
   c. We will mail or deliver our notice to the first
      Named Insured’s last mailing address known to                         (4) assist the Company, upon its request, in the
      us.                                                                       enforcement of any right against any person
                                                                                or organization which may be liable to the
   d. Notice of cancellation will state the effective date                      Insured because of injury or damage to
      of cancellation. The policy period will end on that                       which this insurance may also apply.
      date.
                                                                        d. No Insured will, except at that Insured’s own
   e. If this policy is cancelled, we will send to the first               cost, voluntarily make a payment, assume any
      Named Insured any premium refund due. If we                          obligation, or incur any expense, other than for
      cancel, the refund will be pro-rata. If the first                    first aid, without the Company’s consent.
      Named Insured cancels, the refund may be less
      than pro-rata. The cancellation will be effective             5. Examination of Your Books And Records
      even if we have not made or offered a refund.
                                                                        We may examine and audit your books and records
   f.    If notice is mailed, proof of mailing will be suffi-           as they relate to this policy at any time during the
         cient proof of notice.                                         policy period and up to three years afterward.

3. Changes                                                          6. Inspection And Surveys
   This policy contains all the agreements between you                  a. We have the right to:
   and us concerning the insurance afforded. The first


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       (1) make inspections and surveys at any time,                  B or D of this policy, our obligations are limited as
                                                                      follows:
       (2) give you reports on the conditions we find
           and                                                        a. Primary Insurance
       (3) recommend changes.                                             This insurance is primary except when b. below
                                                                          applies. If this insurance is primary, our obliga-
   b. We are not obligated to make any inspections,
                                                                          tions are not affected unless any of the other in-
      surveys, reports or recommendations and any
                                                                          surance is also primary. Then we will share with
      such actions we do undertake relate only to in-
                                                                          all that other insurance by the method described
      surability and the premiums charged.
                                                                          in c. below.
       We do not make safety inspections. We do not
                                                                      b. Excess Insurance
       undertake to perform the duty of any person or
       organization to provide for the health or safety of                This insurance is excess over:
       workers or the public. And we do not warrant
                                                                          (1) any other insurance, whether primary, ex-
       that conditions
                                                                              cess, contingent or on any other basis
       (1) are safe and healthful or
                                                                              (a) that is Fire, Extended Coverage, Build-
       (2) comply with laws, regulations, codes or                                ers Risk, Installation Risk or similar cov-
           standards.                                                             erage for your work,
   c. Paragraphs a. and b. of this condition 6. apply                         (b) that is Fire Insurance for premises rent-
      not only to us, but also to any rating, advisory,                           ed or leased to you or temporarily occu-
      rate service or similar organization which makes                            pied by you with permission of the
      insurance inspections, surveys, reports or rec-                             owner,
      ommendations.
                                                                              (c) that is insurance purchased by you to
   d. Paragraph b. of this condition 6. does not apply                            cover your liability as a tenant for Prop-
      to any inspections, surveys, reports or recom-                              erty Damage to premises rented to you
      mendations we may make relative to certifica-                               or temporarily occupied by you with
      tion, under state or municipal statutes,                                    permission of the owner or
      ordinances or regulations of boilers, pressure
                                                                              (d) if the loss arises out of the maintenance
      vessels or elevators.
                                                                                  or use of aircraft, autos or watercraft to
                                                                                  the extent not subject to exclusion 2. g.
7. Legal Action
                                                                                  of SECTION II, COVERAGE A – BODI-
   No person or organization has a right under this pol-                          LY INJURY AND PROPERTY DAM-
   icy:                                                                           AGE LIABILITY.
   a. to join us as a party or otherwise bring us into a                  (2) Any other primary insurance available to you
      suit asking for damages from an Insured or                              covering liability for damages arising out of
                                                                              the premises or operations, or the products
   b. to sue on this policy unless all of its terms have
                                                                              and completed operations, for which you
      been fully complied with.
                                                                              have been added as an additional Insured
   A person or organization may sue us to recover on                          by attachment of an endorsement.
   an agreed settlement or on a final judgment against
                                                                          When this insurance is excess, we will have no
   an Insured obtained after an actual trial; but we will                 duty under Coverages A, B or D to defend the
   not be liable for damages that are not payable under                   Insured against any claim or suit if any other in-
   the terms of this policy or in excess of the applicable
                                                                          surer has a duty to defend the Insured against
   limit of insurance. An agreed settlement means a                       that claim or suit. If no other insurer defends, we
   settlement and release of liability signed by us, the
                                                                          will undertake to do so, but we will be entitled to
   Insured and the claimant or the claimant’s legal rep-                  the Insured’s rights against all those other insur-
   resentative. Service of process may be made upon                       ers.
   the Company. However, we do not waive our right to
   commence an action in any court of competent ju-                       When this insurance is excess over other insur-
   risdiction or to seek a transfer to another court as                   ance, we will pay only our share of the amount
   permitted by law.                                                      of the loss, if any, that exceeds the sum of:
                                                                          (1) the total amount that all such other insur-
8. Other Insurance                                                            ance would pay for the loss in the absence
   If other valid and collectible insurance is available to                   of this insurance and
   the Insured for a loss we cover under Coverages A,



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       (2) the total of all deductibles and self-insured              a. the statements in the Declarations are accurate
           amounts under all that other insurance.                       and complete,
       We will share the remaining loss, if any, with                 b. those statements are based upon representa-
       any other insurance that is not described in this                 tions you made to us and
       Excess Insurance provision and was not bought
                                                                      c. the Company has issued this policy in reliance
       specifically to apply in excess of the Limits of In-
                                                                         upon your representations.
       surance shown in the Declarations of this policy.
   c. Method of Sharing                                           12. Separation Of Insureds
       If all of the other insurance permits contribution             This insurance afforded under the liability coverage
       by equal shares, we will follow this method also.              applies separately to each Insured against whom
       Under this approach each insurer contributes                   claim is made or suit is brought, but the inclusion
       equal amounts until it has paid its applicable lim-            herein of more than one Insured shall not operate to
       it of insurance or none of the loss remains,                   increase the applicable limits of the Company’s lia-
       whichever comes first.                                         bility.
       If any of the other insurance does not permit
                                                                  13. State Statutes
       contribution by equal shares, we will contribute
       by limits. Under this method, each insurer’s                   If the terms of this policy are in conflict with or incon-
       share is based on the ratio of its applicable limit            sistent with the insurance statutes of any state
       of insurance to total applicable limits of insur-              where this policy is in effect, we will conform to those
       ance of all insurers.                                          state insurance statutes.
       If the other insurance is written through the
       Company as primary insurance, the total limit of           14. Titles Of Paragraphs
       the Company’s liability will not exceed the great-             The titles of the various paragraphs of this policy
       est limit on any one policy.                                   and amendments, if any, attached to this policy are
                                                                      inserted solely for reference and are not to be
9. Premiums                                                           deemed in any way to limit or affect the provisions to
                                                                      which they relate.
   The first Named Insured shown in the Declarations:
   a. is responsible for the payment of all premiums              15. Transfer Of Rights Of Recovery Against Others
      and                                                             To Us
   b. will be the payee for any return premiums we                    If the Insured has rights to recover all or part of any
      pay.                                                            payment we have made under this policy, those
                                                                      rights are transferred to us. The Insured must do
10. Premium Audit                                                     nothing after loss to impair them. At the Company’s
                                                                      request, the Insured will bring suit or transfer those
   a. We will compute all premiums for this policy in
                                                                      rights to us and help us enforce them.
      accordance with our rules and rates.
   b. Premium shown on this policy as advance pre-                16. Transfer Of Your Rights And Duties Under This
      mium is a deposit premium only. At the close of                 Policy
      each audit period we will compute the earned
                                                                      Your rights and duties under this policy may not be
      premium for that period and send notice to the
                                                                      transferred without our written consent except in the
      first Named Insured. The due date for audit and
      retrospective premiums is the date shown as the                 case of death of an individual Named Insured.
      due date on the invoice. If the sum of the ad-                  If you die, your rights and duties will be transferred
      vance and audit premiums paid for the policy                    to your legal representative but only while acting
      term is greater than the earned premium, we will                within the scope of duties as your legal representa-
      return the excess to the first Named Insured.                   tive. Until your legal representative is appointed, an-
   c. The first Named Insured must keep records of                    yone having proper temporary custody of your
      the information we need for premium computa-                    property will have your rights and duties but only
                                                                      with respect to that property.
      tion, and send us copies of those records at
      such times as we may request.
                                                                  17. Violation Of Statute
11. Representations                                                   If coverage for a claim under this policy is in violation
                                                                      of any United States of America’s economic or trade
   By accepting this policy, you agree that:
                                                                      sanctions, including but not limited to, sanctions ad-
                                                                      ministered by the U.S. Treasury Department’s Office

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   of Foreign Assets Control (“OFAC”), then coverage
   for that claim shall be null and void.

18. When We Do Not Renew
   If the Company decides not to renew this policy,
   then we will mail or deliver to the first Named In-
   sured shown on the Declarations written notice of
   the nonrenewal not less than 30 days before the ex-
   piration date.
   If notice is mailed, proof of mailing will be sufficient
   proof of notice.
                           -END-




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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                              Endorsement Number
Effective Date: March 1, 2017                                                                       1


                              BROAD NAMED INSURED ENDORSEMENT

This endorsement modifies the policy to which it is attached as follows:


The Named Insured set forth on the Declarations is changed as follows:

GSSL, Inc. dba Near Space Corporation (NSC), K&T Properties, LLC and any subsidiary, affiliated, owned or
controlled companies or entities now in existence or hereinafter formed or acquired jointly or severally, as their
respective interests may appear.

“Subsidiary, affiliated, owned or controlled companies or entities” means any company or entity of which at least
fifty percent (50%) of the stock or fifty percent (50%) of the members or, if a partnership, fifty percent (50%) in-
terest in the partnership is owned by the Named Insured, or for which the Named Insured has assumed active
management control. Subsidiary, affiliated, owned or controlled companies or entities acquired after the effective
date of your policy shall be reported to the Company within thirty (30) days after they are acquired.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                                 Endorsement Number
Effective Date: March 1, 2017                                                                          2


                                    TRIA DISCLOSURE ENDORSEMENT

THIS ENDORSEMENT, DETAILING THE PROVISIONS OF THE "TERRORISM RISK INSURANCE ACT", AS
AMENDED, IS MADE A PART OF THIS POLICY. NOTHING IN THIS ENDORSEMENT CHANGES ANY OF
THE TERMS OR CONDITIONS OF THIS POLICY OR PROVIDES ANY ADDITIONAL COVERAGE.

I.    Terrorism Risk Insurance Act Notice
      Please take note that under the Terrorism Risk Insurance Act, as amended, (collectively referred to herein as
      “TRIA”), the Named Insured has a right to purchase insurance coverage from the Company for losses aris-
      ing out of an "act of terrorism" as defined in Section 102(1) of “TRIA”.


II. Definition
      You are hereby notified that under the Terrorism Risk Insurance Act, as amended in 2015, the definition of
      act of terrorism has changed. Solely with respect to this endorsement and to ensure compliance with the
      Terrorism Risk Insurance Act, as amended, an “act of terrorism” shall mean:
          The term “act of terrorism” means any act that is certified by the Secretary of the Treasury, in accord-
          ance with the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to
          such Act, as amended; to be a violent act or an act that is dangerous to human life, property, or infra-
          structure; to have resulted in damage within the United States, or outside of the United States in the case
          of certain air carriers or vessels or the premises of a United States mission; and to have been committed
          by an individual or individuals as part of an effort to coerce the civilian population of the United States or
          to influence the policy or affect the conduct of the United States Government by coercion.



III. Federal Share of Compensation
      You should know that where coverage is provided by this policy for losses resulting from certified acts of ter-
      rorism, such losses by be partially reimbursed by the United States Government under formula established
      by Federal Law. However, your policy may contain other exclusions which might affect your coverage, such
      as exclusion for nuclear events. Under the formula, the United States Government generally reimburses
      eighty-five percent (85%) through 2015, 84% beginning on January 1, 2016, 83% beginning on January 1,
      2017, 82% beginning on January 1, 2018, 81% on January 1, 2019 and 80% beginning on January 1, 2020
      of covered terrorism losses exceeding the statutorily established deductible paid by the Company providing
      the coverage. If you have purchased this coverage, the premium charged for this coverage (if any) does not
      include any charges for the portion of loss that may be covered by the Federal Government under the Act.
      $100 Billion Cap
      You should also know that the Terrorism Risk Insurance Act, as amended, contains a $100 billion cap that
      limits U.S. Government reimbursement as well as the insurers’ liability for losses resulting from certified acts
      of terrorism when the amount of such losses in any one calendar year exceeds $100 billion. If the aggregat-
      ed insured losses for all insurers exceed $100 billion, your coverage may be reduced.




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IV. Conditional Termination of Endorsement
    A. This endorsement terminates under the following conditions, whichever occurs first:
        i.    upon the expiration of the policy, or
        ii.   if the “Terrorism Risk Insurance Program” (the “Program”) terminates (as provided by “TRIA” at the
              end of December 31, 2020) with respect to the coverage provided by this policy, and the “Program”
              is not renewed, extended or otherwise continued by the federal government or,
        iii. if, on or after December 31, 2020, a renewal, extension or continuation of the “Program” becomes ef-
             fective without a requirement to make terrorism coverage available to the Named Insured or with re-
             visions that do any of the following:
              a. increase the Company's statutory percentage deductible under the “Program” for terrorism loss-
                 es,
              b. decrease the federal government’s statutory percentage share in potential terrorism losses
                 above such deductible or,
              c.   redefines terrorism or makes insurance coverage for terrorism subject to provisions or require-
                   ments that differ from those that apply to other types of events or occurrences under this policy.
    B. If none of the conditions set forth in paragraph IV. A. above occur, this endorsement will continue in ef-
       fect unless the Company notifies the Named Insured of changes in response to federal law.

V. “TRIA” Terrorism Coverage may be purchased from the Company. No coverage is provided by this notice.
   TRIA Terrorism Coverage must be purchased separately.
    If “TRIA” coverage is purchased, the premium will be stated on the TRIA Write-Back Endorsement(s) at-
    tached to this policy, or on the Declarations Page.
    If “TRIA” coverage has not been purchased, coverages for liability and/or physical damage losses from "Acts
    of Terrorism" are offered for rates that are available upon request from the Company.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                              Endorsement Number
Effective Date: March 1, 2017                                                                       3


                                   TRIA EXCLUSION ENDORSEMENT

In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

This policy does not cover claims caused by any losses, damages, or injuries arising directly or indirectly as a
result of a certified “Act of Terrorism” defined by the Terrorism Risk Insurance Act, as amended.
Solely with respect to this endorsement and to ensure compliance with the Terrorism Risk Insurance Act, as
amended, an “Act of Terrorism” shall mean:
      The term “act of terrorism” means any act that is certified by the Secretary of the Treasury, in ac-
      cordance with the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism
      pursuant to such Act, as amended; to be a violent act or an act that is dangerous to human life,
      property, or infrastructure; to have resulted in damage within the United States, or outside of the
      United States in the case of certain air carriers or vessels or the premises of a United States mission;
      and to have been committed by an individual or individuals as part of an effort to coerce the civilian
      population of the United States or to influence the policy or affect the conduct of the United States
      Government by coercion.

This endorsement shall apply solely to the Terrorism Risk Insurance Act, as amended, and shall in no way con-
flict with the War, Hijacking and Other Perils Exclusion contained within this policy or write-backs thereto.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                               Endorsement Number
Effective Date: March 1, 2017                                                                        4


            AMENDMENT OF COVERAGE TERRITORY- WORLDWIDE COVERAGE

In consideration of an additional premium of $Included, the policy to which this endorsement is attached is amend-
ed as follows:

A. Paragraph 6. of the DEFINITIONS section is replaced by the following:
   6. Coverage territory means anywhere in the world with the exception of any country or jurisdiction which
      is subject to trade, OFAC or other economic sanction or embargo by the United States of America.

B. The following is added to SECTION VI – POLICY CONDITIONS:
   Expanded Coverage Territory
   1. If a suit is brought in a part of the coverage territory that is outside the United States of America (in-
      cluding its territories and possessions), Puerto Rico or Canada, and we are prevented by law, or other-
      wise, from defending the insured, the insured will initiate a defense of the suit. We will reimburse the
      insured, under Supplementary Payments, for any reasonable and necessary expenses incurred for the
      defense of a suit seeking damages to which this insurance applies, that we would have paid had we
      been able to exercise our right and duty to defend.
        If the insured becomes legally obligated to pay sums because of damages to which this insurance ap-
        plies in a part of the coverage territory that is outside the United States of America (including its territo-
        ries and possessions), Puerto Rico or Canada, and we are prevented by law, or otherwise, from paying
        such sums on the insured’s behalf, we will reimburse the insured for such sums.
   2. All payments or reimbursements we make for damages because of judgments or settlements will be
      made in U.S. currency at the prevailing exchange rate at the time the insured became legally obligated to
      pay such sums. All payments or reimbursements we make for expenses under Supplementary Payments
      will be made in U.S. currency at the prevailing exchange rate at the time the expenses were incurred.
   3. Any disputes between you and us as to whether there is coverage under this policy must be filed in the
      courts of the United States of America (including its territories and possessions), Puerto Rico or Canada.
   4. The insured must fully maintain any coverage required by law, regulation or other governmental authority
      during the policy period, except for reduction of the aggregate limits due to payments of claims, judg-
      ments or settlements.
        Failure to maintain such coverage required by law, regulation or other governmental authority will not in-
        validate this insurance. However, this insurance will apply as if the required coverage by law, regulation
        or other governmental authority was in full effect.


C. The following is added to Paragraph 8. b. under the POLICY CONDITIONS section:
   8. Other Insurance
        b. Excess Insurance
            This insurance is excess over:
            (3) Any of the other insurance, whether primary, excess, contingent or on any other basis:




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                (a) If the insured’s liability to pay damages is determined in a suit brought outside the United
                    States of America (including its territories and possessions), Puerto Rico or Canada; or
                (b) That is coverage required by law, regulation or other governmental authority in a part of the
                    coverage territory that is outside the United States of America (including Its territories and
                    possessions), Puerto Rico or Canada.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                            Endorsement Number
Effective Date: March 1, 2017                                                                     5

                              WAR, HIJACKING AND OTHER PERILS
                         LIMITED LIABILITY WRITE-BACK ENDORSEMENT

In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

1. Whereas the policy of which this Limited Write-Back Endorsement forms a part includes the War, Hijacking
   and Other Perils Exclusion 8., it is hereby understood and agreed that effective on the above date at 12:01
   A.M., Standard Time, and only as respects Coverage A, all sub-paragraphs other than sub-paragraph 8. b.
   of the War, Hijacking and Other Perils Exclusion forming part of this policy are deleted, subject to all terms
   and conditions of this Limited Write-Back Endorsement.
2. Only with respect to the deletion of sub-paragraph 8. a. from the War, Hijacking and Other Perils Exclusion
   by virtue of paragraph 1. above, this Limited Write-Back Endorsement shall not apply to liability for damage
   to any form of property on the ground situated outside Canada and the United States of America unless
   caused by or arising out of the use of aircraft.
3. LIMITATION OF LIABILITY
    The Company’s liability in respect of this Limited Write-Back Endorsement shall be a sub-limit of $2,000,000
    any one occurrence and in the annual aggregate. This sub-limit is part of and not in addition to the Limit of
    Liability for Coverage A.
    In no event shall the Company’s liability under this Limited Write-Back Endorsement exceed the annual ag-
    gregate regardless of the number of (a) Insureds, (b) occurrences or events, (c) claims made or suits
    brought, or (d) persons or organizations making claims or bringing suits.
4. AUTOMATIC TERMINATION
    This Limited Write-Back Endorsement shall terminate automatically upon the happening of any of the follow-
    ing circumstances:
    a) Upon the outbreak of war (whether there be a declaration of war or not) between any two or more of the
       following: France, the People’s Republic of China, the Russian Federation, the United Kingdom, or the
       United States of America; or
    b) Only with respect to the deletion of sub-paragraph 8. a. from the War, Hijacking and Other Perils Exclu-
       sion by virtue of paragraph 1. above, upon the hostile detonation of any weapon of war employing atomic
       or nuclear fission and/or fusion or other like reaction or radioactive force or matter wherever or whenever
       such detonation may occur and whether or not an insured aircraft may be involved;
    c) Upon the requisitioning of any insured aircraft for title or use.
    However, if an insured aircraft is in flight when a), b) or c) above occurs, then this Limited Write-Back En-
    dorsement (unless otherwise cancelled, terminated or suspended) shall continue in respect of such aircraft
    until completion of its first landing and any passengers have disembarked.




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5. REVIEW AND CANCELLATION
    a) The Company may give notice to review premium and/or geographical limits; such notice shall be effec-
       tive on the expiration of seven (7) days from 12:01 A.M., Standard Time on the day on which notice is
       given.
    b) Following a hostile detonation as specified in paragraph 4. b) above, the Company may give notice of
       cancellation of one or more parts of this Limited Write-Back Endorsement provided in paragraph 1.
       above; such notice shall be effective on the expiration of forty-eight (48) hours from 12:01 A.M., Standard
       Time on the day on which notice is given.
    c) This Limited Write-Back Endorsement may be cancelled by either the Company or the Insured giving no-
       tice to become effective on the expiration of seven (7) days from 12:01 A.M., Standard Time on the day
       on which such notice is given.
    d) All notices referred to herein shall be in writing

Nothing herein contained shall be held to vary, waive, alter, or extend any of the terms, conditions, agreements,
or representations of the undermentioned policy, other than as above stated.




All other provisions of this policy remain the same.



AGCS-CGL 4140 (07-06)                                                                                 Page 2 of 2
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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                            Endorsement Number
Effective Date: March 1, 2017                                                                     6

                            DATE CHANGE RECOGNITION EXCLUSION
                        LIMITED WRITE-BACK PROVISION ENDORSEMENT

In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

The Date Change Recognition Exclusion 9. shall not apply to any sums which you shall become legally liable to
pay as damages because of Bodily Injury or physical injury to or destruction of tangible property resulting from a
covered occurrence.




Nothing herein contained shall be held to vary, waive, alter, or extend any of the terms, conditions, agreements,
or representations of the undermentioned policy, other than as above stated.




All other provisions of this policy remain the same.



AGCS-CGL 4980 (07-06)                                                                                 Page 1 of 1
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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                         Endorsement Number
Effective Date: March 1, 2017                                                                  7


               EXCLUSION – PRODUCTS - COMPLETED OPERATIONS HAZARD

In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

This insurance does not apply to Bodily Injury or Property Damage included within the products-completed
operations hazard.




All other provisions of the policy are unchanged.



AGCS-CGL 5200 (07-06)                                                                              Page 1 of 1
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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                             Endorsement Number
Effective Date: March 1, 2017                                                                      8


            ADDITIONAL INSURED – DESIGNATED PERSON OR ORGANIZATION

In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

1. WHO IS AN INSURED (SECTION V) is amended to include as an additional Insured the person(s) or organ-
   ization(s) shown below, but only with respect to liability for Bodily Injury, Property Damage or Personal
   and Advertising Injury caused, in whole or in part, by your acts or omissions or the acts or omissions of
   those acting on your behalf:
    A. In the performance of your ongoing operations; or
    B. In connection with your premises owned by or rented to you.
2. As respects the below additional Insured, this insurance does not apply to any claim or liability arising out of
   the use of any product manufactured, sold, handled, or distributed by the below additional Insured.


Name of Person(s) or Organization(s):
US Vendor Services
Tillamook Navel Museum
Columbia Pacific Economic Development District
Port of Tillamook Bay
Berg Air, LLC
U.S. Bank Equipment Finance




All other provisions of this policy remain the same.



AGCS-CGL 6200 (07-06)                                                                                  Page 1 of 1
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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                              Endorsement Number
Effective Date: March 1, 2017                                                                       9


                   ADDITIONAL INSURED - LESSOR OF LEASED EQUIPMENT

In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

1. WHO IS AN INSURED (SECTION V) is amended to include as an additional insured the person(s) or organ-
   ization(s) shown in the Schedule, but only to the extent required by the lease and only with respect to liability
   for Bodily Injury, Property Damage or Personal and Advertising Injury caused, in whole or in part, by
   your maintenance, operation or use of equipment leased to you by such person(s) or organization(s).
2. With respect to the insurance afforded to these additional insured’s, this insurance does not apply to any oc-
   currence which takes place after the equipment lease expires.
3. This insurance does not apply to any claim or liability arising out of the use of any product manufactured,
   sold, handled, or distributed by the person(s) or organization(s) shown in the Schedule.


Schedule:
CIT Finance, LLC




All other provisions of this policy remain the same.



AGCS-CGL 6300 (05-07)                                                                                   Page 1 of 1
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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                                 Endorsement Number
Effective Date: March 1, 2017                                                                          10


                                     AMENDATORY ENDORSEMENT

In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

Notwithstanding Coverage A., Exclusion 2. g. this policy is extended to include the following:
AIRCRAFT LIABILITY
1. INSURING AGREEMENT
    (a) We will pay those sums that the Insured becomes legally obligated to pay as damages because of Bodi-
        ly Injury or Property Damage to which this insurance applies resulting from your ownership, mainte-
        nance or use of Experimental Aerostats and High Altitude Shuttle Systems (HASS). We will have the
        right and duty to defend any suit seeking those damages. We may at our discretion investigate any oc-
        currence and settle any claim or suit that may result.
        But:
        (1) The amount we will pay for damages is limited as described in ITEM 3 of this endorsement – LIMITS
            OF INSURANCE; and
        (2) Our right and duty to defend end when we have used up the applicable limit of insurance.
        No other obligation or liability to pay sums or perform acts or services is covered.
    (b) This insurance applies to Bodily Injury and Property Damage only if:
        (1) The Bodily Injury or Property Damage is caused by an occurrence that takes place in the cover-
            age territory; and
        (2) The Bodily Injury or Property Damage occurs during the policy period; and
        (3) The Experimental Aerostats and High Altitude Shuttle Systems are used by you or on your behalf in
            connection with your Aviation Operations insured under this policy.
    (c) Damages because of Bodily Injury include damages claimed by any person or organization for care,
        loss of services or death resulting at any time from the Bodily Injury.
2. EXCLUSIONS
    This insurance does not apply to:
    (a) Bodily Injury or Property Damage expected or intended from the standpoint of the Insured. This exclu-
        sion does not apply to Bodily Injury resulting from the use of reasonable force to protect persons or
        property.
    (b) Bodily Injury or Property Damage for which the Insured is obligated to pay damages by reason of the
        assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
        that the insured would have in the absence of the contract of agreement.
    (c) Physical damage or Property Damage to, destruction of, or loss of use of the Experimental Aerostats
        and High Altitude Shuttle Systems.
    (d) Any obligation of the Insured under a workers’ compensation, disability benefits or unemployment com-
        pensation law or any similar law.




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    (e) Bodily Injury to:
        (1) An employee of the Insured arising out of and in the course of employment by the Insured; or
        (2) The spouse, child, parent, brother or sister of that employee as a consequence of (e) (1) above.
        This exclusion applies:
            (i) Whether the Insured may be liable as an employer or in any other capacity; and
            (ii) To any obligation to share damages with or repay someone else who must pay damages be-
                 cause of the injury.
    (f) Bodily Injury or Property Damage included in the products-completed operations hazard.
3. LIMITS OF INSURANCE
    As respects this endorsement, the LIMITS OF INSURANCE of the policy are extended to include the follow-
    ing:
    The each occurrence limit shown below is the most we will pay for all damages, including all related claims
    and all damages for care and loss of services, because of Bodily Injury or Property Damage sustained by
    one or more persons or organizations as the result of any one occurrence.
    All Bodily Injury, including all related claims and Property Damage arising out of continuous or repeated
    exposure to substantially the same general harmful conditions shall be considered as arising out of one oc-
    currence.
    Single Limit excluding Passengers $1,000,000 each occurrence.
4. DEFINITIONS AS RESPECTS THIS ENDORSEMENT
    Passenger means any person in, on, or boarding an aircraft for the purpose of riding or flying in, or alighting
    from after a flight or attempted flight, including crew member(s).
    Related claims means all claims for care and loss of services, loss of society and consortium, mental an-
    guish, emotional distress, loss of support, medical or funeral expenses, and any and all other damages from
    or related to Bodily Injury to any person or passenger. Notwithstanding anything to the contrary in the defi-
    nition of Bodily Injury, our liability and coverage for damages for both Bodily Injury and related claims are
    included and combined within the each person and each occurrence Limits of Insurance shown in this en-
    dorsement as applicable, and there are no separate or additional Limits of Insurance for related claims.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                               Endorsement Number
Effective Date: March 1, 2017                                                                        11


                   OREGON CANCELLATION / NONRENEWAL ENDORSEMENT

This endorsement modifies the policy to which it is attached as follows:



Wherever used in this endorsement: 1) “we”, “us”, “our”, and “Insurer” mean the insurance company which is-
sued this policy; and 2) “you”, “your”, “Named Insured”, “First Named Insured”, and “Insured” mean the Named
Corporation, Named Organization, Named Sponsor, Named Insured, or Insured stated in the Declarations page;
and 3) “Other Insured(s)” means all other persons or entities afforded coverage under the policy.
In consideration of the premium charged, the cancellation provision of this policy is amended to read as follows:
1. Except as provided by subsection 4. below, this policy may not be cancelled by the Insurer before the expira-
   tion of the policy, except on one or more of the following grounds:
    a) Nonpayment of premium;
    b) Fraud or material misrepresentation made by or with the knowledge of the Insured or Other Insured(s) in
       obtaining the policy, continuing the policy or in presenting a claim under the policy;
    c) Substantial increase in the risk of loss after insurance coverage has been issued or renewed, including
       but not limited to an increase in exposure due to rules, legislation or court decision;
    d) Failure to comply with reasonable loss control recommendations;
    e) Substantial breach of contractual duties, conditions or warranties;
    f)   Determination by the director that the continuation of a line of insurance or class of business to which the
         policy belongs will jeopardize a company’s solvency or will place the Insurer in violation of the insurance
         laws of Oregon or any other state;
    g) Loss or decrease in reinsurance covering the risk;
    h) Any other reason approved by the director by rule.
2. Cancellation of this policy will not be effective until ten (10) working days after the Insured receives written
   notice of cancellation. The notice shall state the effective date of and the reasons for cancellation and shall
   inform the Insured of the hearing rights established by ORS 742.704.
3. Notice of nonrenewal will be given to the Insured thirty (30) days prior to the expiration date or anniversary
   date of the policy. If, after the Insurer provides a notice of nonrenewal as described above, and the insurer
   then extends the policy ninety (90) days or less, an additional notice of nonrenewal will not be required with
   respect to the extension.
4. Subsections 1., 2., and 3. above do not apply to any insurance policy that has not been previously renewed if
   the policy has been in effect less than sixty (60) days at the time the notice of cancellation is mailed or deliv-
   ered.
5. Subject to subsection 6 below, if the Insurer offers or purports to renew the policy, but on terms less favora-
   ble to the Insured or at higher rates, the new terms or rates may take effect on the renewal date, if the Insur-
   er provides the Insured thirty (30) days written notice. If the Insurer does not so notify the Insured, the
   Insured may cancel the renewal policy within thirty (30) days after receipt of the notice or delivery of the re-
   newal policy. Earned premium for the period of time the renewal policy was in force shall be calculated pro
   rata at the lower of the current or previous year’s rate. If the Insured accepts the renewal, any premium in-
   crease or changes in terms shall be effective immediately following the prior policy’s expiration date.




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6. Subsection 5. above does not apply if: (a) the change is a form, rate or plan filed with the Commissioner and
   applicable to the entire line of insurance or class of business to which the policy belongs; or (b) the form, rate
   and/or plan increase results from a classification change based on the altered nature or extent of the risk in-
   sured.
7. A post office certificate of mailing to the Named Insured at the Named lnsured’s last known address shall
   constitute conclusive proof that the named Insured received the notice of cancellation or nonrenewal on the
   third calendar day after the date of the certificate of mailing.




All other provisions of this policy remain the same.

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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM                                                           Endorsement Number
Effective Date: September 8, 2017                                                                12


        AMENDATORY ADDITIONAL INSURED - LESSOR OF LEASED EQUIPMENT


In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is
attached as follows:

With respect to the following location(s):


1. WHO IS AN INSURED (SECTION V) is amended to include as an additional insured the person(s) or
   organization(s) shown in the Schedule, but only to the extent required by the lease and only with respect to
   liability for Bodily Injury, Property Damage or Personal and Advertising Injury caused, in whole or in
   part, by your maintenance, operation or use of equipment leased to you by such person(s) or organization(s).
2. With respect to the insurance afforded to these additional insured’s, this insurance does not apply to any
   occurrence which takes place after the equipment lease expires.
3. This insurance does not apply to any claim or liability arising out of the use of any product manufactured,
   sold, handled, or distributed by the person(s) or organization(s) shown in the Schedule.
4. Coverage is primary and is not contributing with any insurance or self-insurance maintained by the Certificate
   Holder.



Schedule:
Peterson Machinery Co.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc., dba Near Space Corporation (NSC), et al
Policy Number: A2GA000581517AM
                 GSSL, Inc. dba Near Space Corporation (NSC), et al                       Endorsement Number
Effective Date: September 20, 2017                                                                13


            ADDITIONAL INSURED – DESIGNATED PERSON OR ORGANIZATION


In consideration of an additional premium of $Included, this endorsement cancels and replaces Endorsement
Number 8 as follows:




1. WHO IS AN INSURED (SECTION V) is amended to include as an additional Insured the person(s) or
   organization(s) shown below, but only with respect to liability for Bodily Injury, Property Damage or
   Personal and Advertising Injury caused, in whole or in part, by your acts or omissions or the acts or
   omissions of those acting on your behalf:
    A. In the performance of your ongoing operations; or
    B. In connection with your premises owned by or rented to you.
2. As respects the below additional Insured, this insurance does not apply to any claim or liability arising out of
   the use of any product manufactured, sold, handled, or distributed by the below additional Insured.


Name of Person(s) or Organization(s):
KSN Enterprises, LLC




All other provisions of this policy remain the same.



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                            EXHIBIT C




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   Allianz Global Corporate & Specialty®


   Aircraft Products / Completed Operations
   and Grounding Liability Insurance Policy




   Prepared for:
   GSSL, Inc. dba Near Space Corporation (NSC), et al
   c/o Kris Lachenmeier
   P.O. Box 909
   Tillamook, OR 97141




   Arranged by:
   Halton Hall & Associates, Inc.
   P.O. Box 6275
   Fort Worth, TX 76115




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Allianz Global Corporate & Specialty

The following are your options for reporting a claim to Allianz Global Corporate & Spe-
cialty.

We also recommend that you contact your agent or broker.


   Email:       NewLoss@agcs.allianz.com
   Call:        1-800-558-1606
                 (outside of the U.S., +1-314-513-1353)

   Fax:         1-888-323-6450
                 (outside of the U.S., +1-314-513-1345)

   Mailing Address:

                 Allianz Global Corporate & Specialty
                 Attn: FNOL Claims Unit
                 One Progress Point Parkway
                 O’Fallon, MO 63368




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Policy Number A2PR000582017AM                                       Previous Policy Number A2PR000582016AM




    AIRCRAFT PRODUCTS / COMPLETED OPERATIONS AND GROUNDING
                 LIABILITY POLICY DECLARATIONS

Issued by:                                         PRODUCER:
Allianz Global Risks US Insurance Company          Halton Hall & Associates, Inc.
225 W. Washington Street, Suite 1800               P.O. Box 6275
Chicago, IL 60606-3484                             Fort Worth, TX 76115
(hereinafter known as the Company)
ITEM 1. NAMED INSURED:        GSSL, Inc. dba Near Space Corporation (NSC), et al
         MAILING ADDRESS: c/o Kris Lachenmeier
                          P.O. Box 909
                          Tillamook, OR 97141


ITEM 2. POLICY PERIOD:        FROM March 1, 2017             TO     March 1, 2018

                                 BOTH AT 12:01 A.M. LOCAL TIME AT YOUR MAILING ADDRESS SHOWN ABOVE




IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.



ITEM 3. LIMITS OF INSURANCE

COVERAGE A: BODILY INJURY OR                                             EACH OCCURRENCE AND ANNUAL
PROPERTY DAMAGE LIABILITY                   $ 1,000,000                  AGGREGATE
                                                                         EACH GROUNDING AND
COVERAGE B: GROUNDING LIABILITY             $ 1,000,000                  ANNUAL AGGREGATE
COVERAGES A AND B COMBINED                  $ 1,000,000                  ANNUAL AGGREGATE




                                            PREMIUM PAYABLE
PREMIUM                      $
STATE TAX OR OTHER
TOTAL                        $
                                         AT INCEPTION       SEMI-ANNUALLY           QUARTERLY   MONTHLY
PREMIUM SHOWN IS PAYABLE:



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         FORMS AND ENDORSEMENTS ATTACHED TO THIS POLICY AS OF THE EFFECTIVE DATE
     Endorsements 1 - 6



THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE FORM(S) AND
ANY ENDORSEMENT(S), COMPLETE THE ABOVE NUMBERED POLICY.




In Witness Whereof, we have caused this policy to be executed and attested and, if required by state law, this policy
shall not be valid unless countersigned by our authorized representative.




                       Secretary                                         President




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AIRCRAFT PRODUCTS / COMPLETED                                 5. COMPLETED OPERATIONS

  OPERATIONS AND GROUNDING                                      “Completed Operations” means work, including
                                                                services and labor performed by the Insured in con-
  LIABILITY INSURANCE POLICY                                    nection with aircraft, missiles or spacecraft. Oper-
                                                                ations include materials, parts or equipment
Various provisions in this policy restrict coverage. Read       furnished in connection therewith. Operations shall
the entire policy carefully to determine rights, duties and     be deemed completed at the earliest of the following
what is or is not covered.                                      times:
Words and phrases that appear in bold type have spe-            A) when all operations to be performed by or on
cial meaning. Refer to the section titled – DEFINITIONS.           behalf of the Insured under the contract have
In consideration of the payment of the premium, in reli-           been completed; or
ance upon the statements of the Declarations made a             B) when all operations to be performed by or on
part hereof, subject to all of the terms of this policy in-        behalf of the Insured at the site of the opera-
cluding the applicable limits of liability, the Company            tions have been completed; or
agrees with the Named Insured as follows:
                                                                C) when the portion of the work out of which the
                    DEFINITIONS                                    Bodily Injury or Property Damage arises has
                                                                   been put to its intended use by any person or
1. AIRCRAFT                                                        organization other than another contractor or
                                                                   subcontractor engaged for a principal as a part
    “Aircraft” means a vehicle designed to be used pri-            of the same project.
    marily in the air and to be supported by the dynamic
                                                                Operations which may require further service,
    reaction of the air upon the vehicle’s wings or rotor-
                                                                maintenance, work, correction, repair or replacement
    blades, and/or by the vehicle’s buoyancy in the air.
                                                                because of any defect or deficiency, but which are
    The term aircraft excludes missiles, spacecraft             otherwise complete, shall be deemed completed.
    and launch vehicles.
                                                              6. COMPLETED OPERATIONS HAZARD
2. AIRCRAFT PRODUCTS
                                                                “Completed Operations Hazard” means bodily in-
    “Aircraft Products” means aircraft, missiles,
                                                                jury and property damage arising out of complet-
    spacecraft or launch vehicles and any ground
                                                                ed operations or reliance upon a representation or
    support or control equipment used therewith or any
                                                                warranty at any time with respect thereto, but only if
    article furnished by the Insured or its predecessors
                                                                the bodily injury or property damage occurs after
    and installed therein or used in connection therewith,
                                                                such operations have been completed or abandoned
    or for spare parts thereof, or tooling used for the
                                                                and occurs away from premises owned by or rented
    manufacture thereof, including ground handling tools
                                                                to the Insured. The completed operations hazard
    and equipment and also means training aids, in-
                                                                does not include bodily injury or property damage
    structions, manuals, blueprints, engineering or other
                                                                arising out of the existence of tools, uninstalled
    data, and/or any article in respect of which engineer-      equipment or abandoned or unused materials.
    ing or other advice and/or services and/or labor have
    been given or supplied by the Insured relating to
                                                              7. GROUNDING
    aircraft, missiles, spacecraft, launch vehicles or
    any article thereof.                                        “Grounding” means the complete and continuous
                                                                withdrawal from all flight operations at or about the
3. BODILY INJURY                                                same time of one or more aircraft due to a manda-
                                                                tory order of the Federal Aviation Administration of
    “Bodily Injury” means physical injury sustained by
                                                                the United States of America (FAA), Civil Aviation
    any person, caused by an occurrence during the
                                                                Authority of the United Kingdom (CAA), or similar
    policy period, including sickness, disease, mental
                                                                civil airworthiness authority, because of an existing,
    anguish, and death at any time resulting therefrom.
    Mental anguish does not include personal injury.            alleged or suspected like defect, fault or condition af-
                                                                fecting the safe operation of two or more like model
                                                                aircraft and which arises out of, results from or is in
4. CURRENT MODIFICATION
                                                                connection with an occurrence arising out of the
    “Current Modification” means modification of or             products hazard or the completed operations
    changes to an aircraft intended to improve perfor-          hazard.
    mance of such aircraft but which are not necessary
    to the airworthiness of such aircraft.                      A grounding shall be deemed to commence from
                                                                the effective date of the first mandatory order and
                                                                continues until the last order relating to such exist-


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   ing, alleged or suspected like defect, fault or condi-        States Government incorporating the clauses
   tion is withdrawn or becomes ineffective.                     52.245-23 (a) or 52.246-23 (b) prescribed by para-
                                                                 graph 46-805 of the Federal Acquisition Regulations
8. IN FLIGHT                                                     or by paragraph 1 -330 of Defense Acquisition
                                                                 Regulations, its earlier provision the Armed Services
   An aircraft shall be deemed to be “in flight” from
                                                                 Procurement Regulations, or similar provisions as
   the start of its actual take-off run until it has com-        included in the Armed Services Procurement Regu-
   pleted its landing run or, in the case of a helicopter,       lations.
   from the time the rotors of the helicopter start to re-
   volve preparatory to take-off until its rotors cease re-   12. MINOR ALTERATIONS
   volving after landing. A VTOL aircraft shall be
   deemed in flight from the time commencing when                “Minor Alterations” means an alteration having no
   engine thrust is applied in attempting to lift the air-       appreciable effect on the weight, balance, structural
   craft from a supporting surface and continuing                strength, powerplant operations, flight characteristics
   thereafter until the aircraft is again returned to the        or other characteristics affecting the airworthiness of
   condition of being supported by a surface. A space-           any aircraft.
   craft or a launch vehicle shall be deemed to be in
   flight from the moment of ignition of the propulsion       13. MISSILE
   motors for launch into space and continues until
                                                                 “Missile” shall mean a vehicle, other than an air-
   contact with the surface of the Earth, including up to
   completion of its landing operation.                          craft, spacecraft or launch vehicle, which is de-
                                                                 signed to operate through the air and/or space and
9. INSURED                                                       whose path and direction is guided during part or all
                                                                 of its flight by a partly or completely self-contained
   The unqualified word Insured includes the Named               electronic, celestial, inertial or other remote or inter-
   Insured and also includes any partner, executive of-          nal guidance system.
   ficer, director, employee, stockholder or agent
   thereof, while acting within the scope of his duties as       After arrival of a missile at a launching site, such
   such.                                                         missile shall be deemed not to be owned by,
                                                                 loaned to, in the possession or control of, or in flight
   Such insurance as is afforded any employee shall              by the Insured.
   not apply to bodily injury sustained by another em-
   ployee of the same Insured in the course of or aris-          When the Insured removes a missile from the
   ing out of his employment by such Insured.                    launching site, or recovers a missile after comple-
                                                                 tion of its flight for the purpose of returning it to the
                                                                 Insured’s premises other than a launching site,
10. LAUNCH VEHICLE
                                                                 such missile shall be deemed in the possession or
   “Launch Vehicle” means a manned or unmanned                   control of the Insured (except when such missile is
   rocket powered vehicle (including parts detached              being transported by others) until such missile
   while in flight) used to propel spacecraft into space         again arrives at a launching site or the Insured sur-
   or orbit. Launch vehicles exclude aircraft and mis-           renders possession of such missile to a person or
   siles. The NASA Space Shuttle is deemed to be a               organization who is not an Insured under this policy.
   launch vehicle.
                                                              14. NAMED INSURED
11. MILITARY
                                                                 “Named Insured” means the person or organization
   “Military” as applied to aircraft means such prod-            named in the Declarations.
   ucts while owned or used by or in the possession of
   the armed services of the United States or the             15. OCCURRENCE
   armed services of any foreign government; provided
                                                                  “Occurrence” means an accident, including con-
   that an aircraft product injured or destroyed while
                                                                 tinuous or repeated injurious exposure to conditions,
   leased or chartered to the armed services of the
   United States or of any foreign government shall be           other than Grounding, during the policy period,
                                                                 which results in bodily injury or property damage
   deemed not to be a military aircraft product. It is
                                                                 during the policy period neither expected nor intend-
   agreed that this insurance does not apply to nor
                                                                 ed from the standpoint of the Insured. In the event
   does the premium charge contemplate loss of or
                                                                 of continuing or progressive bodily injury or prop-
   damage to property of the United States Govern-
                                                                 erty damage otherwise covered by the policy hap-
   ment resulting from any defects or deficiencies in the
                                                                 pening over an extended period of time, such bodily
   Named Insured’s products and occurring after final
                                                                 injury or property damage shall be deemed to be
   acceptance thereof by the United States Govern-
   ment if such Named Insured’s products are deliv-              one occurrence, and shall be deemed to occur only
   ered under any procurement contract with the United

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   when such bodily injury or property damage first                   INSURING AGREEMENTS
   commences.
                                                            1. COVERAGE A - BODILY INJURY OR PROPERTY
16. OWNED BY                                                   DAMAGE LIABILITY
   With respect to any aircraft product to which an In-        To pay on behalf of the Insured all sums which the
   sured has retained title pursuant to:                       Insured shall become legally obligated to pay as
   A) a conditional sales contract, chattel mortgage or        damages because of bodily injury or property
      similar lien, or                                         damage to which this insurance applies, caused by
                                                               an occurrence arising out of the products hazard
   B) a lease agreement, or                                    or the completed operations hazard.
   C) a consignment agreement or similar contract of
      bailment,                                             2. COVERAGE B - GROUNDING LIABILITY

   such product shall be deemed not to be owned by             To pay on behalf of the Insured all sums which the
   the Insured.                                                Insured shall become legally obligated to pay as
                                                               damages for the loss of use of completed aircraft
17. PRODUCTS HAZARD                                            occurring after delivery to and acceptance for flight
                                                               operations by a purchaser or purchasers or operator
   “Products Hazard” means the handling or use of              or operators of such aircraft, and caused by a
   (other than by an Insured) or the existence of any          grounding following an occurrence arising out of
   condition in an aircraft product when such aircraft         the products hazard or the completed operations
   product:                                                    hazard.
   A) is not in the possession of the Insured and
                                                            3. DEFENSE AND SETTLEMENTS - COSTS AND
   B) is away from premises owned, rented or con-              SUPPLEMENTARY PAYMENTS
      trolled by the Insured.
                                                               The Company shall have the right and duty to de-
   With respect to Coverage A - Bodily Injury or               fend any suit against the Insured seeking damages
   Property Damage Liability - paragraph B) above              on account of such bodily injury, property damage
   does not apply to a completed aircraft or any air-          or loss of use, even if any of the allegations of the
   craft product forming a part thereof. With respect to       suit are groundless, false or fraudulent, and may
   Coverage B - Grounding Liability - Conditions A)            make such investigations and settlement of any
   and B) of this paragraph do not apply to a completed        claim or suit as it deems expedient. However, the
   aircraft or any aircraft product forming a part             Company shall not be obligated to pay any claim or
   thereof.                                                    judgment, to defend any suit, or reimburse the In-
                                                               sured for any expenses after the applicable limit of
18. PROPERTY DAMAGE                                            the Company’s liability has been exhausted by pay-
                                                               ment of judgments or settlements.
   “Property Damage” means physical injury to or de-
   struction of tangible property including the resultant      During such time as the Company is obligated to de-
   loss of use of such injured or destroyed property.          fend a claim or claims under the provisions of the
                                                               preceding paragraph, the Company will pay, with re-
19. ROUTINE MAINTENANCE                                        spect to such claim, in addition to the applicable
                                                               Limit of Liability:
   “Routine Maintenance” means simple or minor
   preservation operations including but not limited to        A) All expenses incurred by the Company, all costs
   the adjustment of rigging and clearances and/or the            taxed against the Insured in any suit defended
   replacement of small standard parts not involving              by the Company and interest on that part of the
   complex assembly operations.                                   judgment that does not exceed the limit of the
                                                                  Company’s liability therein which accrues after
20. SPACECRAFT                                                    entry of the judgment and before the Company
                                                                  has paid or tendered or deposited in court that
   “Spacecraft” means a spacecraft, satellite, space-             part of the judgment;
   ship, space station (or a launch vehicle for such
   spacecraft) designed to travel to, in, or from space,       B) Premiums on bonds to release attachment for
   or operate primarily in space (including parts thereof         an amount not in excess of the applicable Limit
   detached in flight). The term spacecraft excludes              of Liability of this policy and all premiums on ap-
   aircraft and missiles.                                         peal bonds required in any such defended suit
                                                                  but without any obligation of the Company to
                                                                  apply for or furnish any such bonds;



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   C) Expenses incurred by the Insured for first aid              1) a warranty of fitness or quality of the Named
      costs to others at the time of an occurrence for               Insured’s aircraft products or a warranty
      bodily injury to which this policy applies;                    that work performed by or on behalf of the
                                                                     Named Insured will be done in a workman-
   D) Reasonable expenses incurred by the Insured                    like manner or
      at the Company’s request, including actual loss
      of wages or salary (but not loss of other income)           2) liability assumed by the Named Insured un-
      not to exceed $250.00 per day because of at-                   der a written contract executed during the
      tendance at hearings or trials at such request.                Policy Period provided such contract is:
                                                                      a) reported to the Company within thirty
4. POLICY PERIOD
                                                                         (30) days after its execution and the In-
   Under Coverage A – Bodily Injury or Property                          sured shall pay premium as determined
   Damage Liability - This policy applies only with re-                  by the Company and
   spect to occurrences which take place during the
                                                                      b) not rejected by the Company by mailing
   policy period, provided that an occurrence involving
                                                                         to the Named Insured at the address
   a missing or unreported aircraft shall be deemed to
                                                                         shown in the Declarations a written no-
   occur at the time such aircraft commences flight or
   is last reported, whichever occurs last.                              tice stating when, not less than ten (10)
                                                                         days thereafter, such written contract is
   Under Coverage B – Grounding Liability - This pol-                    excluded from this policy.
   icy applies only to groundings arising out of, result-
                                                              B) to bodily injury, property damage or loss of
   ing from or in connection with an occurrence during           use intentionally caused by the Insured;
   the Policy Period caused by the products hazard or
   the completed operations hazard. The only such             C) to any obligation for which the Insured or any
   occurrence which applies is the last such occur-              carrier as his insurer may be held liable under
   rence prior to the grounding order. Grounding                 any workers’ compensation, unemployment
   coverage shall continue for as long as such ground-           compensation or disability benefits law or under
   ing order shall apply, even if the policy has expired         any similar law, or bodily injury to an employee
   or is terminated.                                             of the Insured arising out of and in the course of
                                                                 employment by the Insured.
5. POLICY TERRITORY
                                                                  This exclusion does not apply with respect to li-
   This policy applies to occurrences and groundings              ability of others assumed by the Insured;
   anywhere, but if claim is made or suit is brought
                                                              D) to claims made or suits brought by one Named
   elsewhere than within the United States of America,           Insured against another Named Insured or
   its territories or possessions, or Canada, the Com-
   pany shall have the right but not the duty to investi-     E) to damages claimed for infringement of any pa-
   gate and settle such claims and to defend such                tent, copyright, trade name or trademark.
   suits. In any case in which the Company elects not
   to investigate, settle or defend, the Insured, under     2. UNDER COVERAGE A:
   the supervision of the Company, will make or cause
   to be made such investigation and defense as are           A) to liability arising out of the handling or use of or
                                                                 the existence of any condition in any aircraft
   reasonable and necessary, and subject to prior au-
   thorization by the Company, will effect to the extent         product owned by, loaned to, or, except with
   possible, such settlements as the Company deems               respect to aircraft covered under Coverage B,
   prudent. The Company shall reimburse the Insured              grounding liability, in possession or control of,
                                                                 or in flight by or on behalf of the Insured;
   for the reasonable costs of such investigation and
   defense within the applicable Limits of Liability of       B) to property damage to any military aircraft
   this policy for the amount of such authorized settle-         product out of which the occurrence arises, or
   ments and defense expenses.                                   any military aircraft of which such aircraft is a
                                                                 part, nor to any claim brought by the Owner
                  EXCLUSIONS                                     and/or Operator of a military aircraft product in
                                                                 respect of property and/or equipment and/or fit-
THIS POLICY DOES NOT APPLY:                                      tings carried in or on such military aircraft nor
                                                                 to any expenses incurred incidental to or result-
1. UNDER COVERAGES A AND B:                                      ing from the replacement, repair or loss of use of
                                                                 such military aircraft and/or property and/or
   A) to liability assumed by the Insured under any              equipment and/or fittings;
      contract or agreement except:



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   C) to property damage to the Named Insured’s                 L) to liability imposed upon the Insured solely by
      products arising out of such products or any                 reason of its ownership of an aircraft product.
      part of such products;
                                                              3. UNDER COVERAGE B:
   D) to property damage to any spacecraft or any
      article or product furnished for, used in connec-         A) to any military aircraft product, or to any
      tion with, relating to, or installed in any space-           spacecraft or launch vehicle, whether partially
      craft, whether partially or fully completed;                 or wholly completed;
   E) to property damage to any missile or launch               B) to the loss of use of any aircraft while withdrawn
      vehicle;                                                     from service for the primary purpose of mainte-
                                                                   nance, routine maintenance, overhaul, altera-
   F) to liability with respect to which insurance is or
                                                                   tion, or current or minor modification of the
      can be afforded under Coverage B or (except
                                                                   aircraft or parts thereof;
      with respect to an aircraft which has made an
      emergency landing) to loss of use of any air-             C) to the loss of use of any aircraft caused by the
      craft which has not been physically injured or               culpable failure of the Insured to perform any
      destroyed;                                                   obligation with respect to making available or
   G) to property damage to work performed by or on                delivering aircraft products to the purchaser or
                                                                   operator of such aircraft;
      behalf of any Insured arising out of the work or
      any portion thereof, or out of materials, parts or        D) to the loss of use of any aircraft occurring dur-
      equipment furnished in connection therewith;                 ing the period that the Insured does not use
   H) to damages claimed for withdrawal, inspection,               reasonable diligence to correct or eliminate the
                                                                   cause of the loss of use;
      repair, replacement, modification, loss of use or
      restricted use of aircraft or work completed by           E) to costs incurred for the correction or elimination
      or for any Named Insured or of any property of               of the cause of grounding;
      which such products or work form a part, if such
      products, work or property are withdrawn from             F) to loss of use of any aircraft occurring during
                                                                   the period that facilities normally available to the
      the market or from use or subject to restricted
      use because of any known or suspected defect                 Insured for the correction and elimination of the
      or deficiency therein;                                       cause of the loss of use cannot be made availa-
                                                                   ble to the Insured;
   I)   to property damage to property owned, rented,
                                                                G) to any aircraft which is required by its manufac-
        leased, occupied or used by or in the care, cus-
        tody or control of any Insured at the time of the          turer, the FAA, CAA or similar civil airworthiness
        occurrence causing injury to or destruction of             authority to be removed from part of or all flight
        such property or to property while being main-             operations due to a certificate of airworthiness
        tained, repaired or serviced by the Insured;               being withdrawn or modified due to such air-
                                                                   craft’s safe operational life having been reached
   J) to injury to or destruction of property or any air-          or exceeded.
      craft product, including loss of use thereof, re-
      sulting from:                                           4. UNDER ANY COVERAGE:
        1) a delay in or lack of performance by or on           A) to any liability, including liability arising out of or
           behalf of the Named Insured in any contract             assumed under contract, or any injury, loss or
           or agreement or                                         damage, including bodily Injury, fear of bodily
        2) the failure of any product furnished by the             injury or fear of damage, personal injury, adver-
                                                                   tising injury, sickness, disease, occupational
           Insured or work performed by or for the In-
           sured to meet the level of performance,                 disease, disability, shock, death, mental an-
           quality, fitness or durability warranted or rep-        guish, mental injury, property damage or any
           resented by the Insured.                                loss, cost or expense, loss of use including
                                                                   grounding, or any other claim, cost or expense
        But this exclusion does not apply to physical in-          whatsoever, directly or indirectly arising out of,
        jury to or destruction of tangible property, or to         resulting from, caused or occasioned by, hap-
        the loss of use consequent thereon or costs and            pening through, in consequence of, or in any
        expenses associated therewith resulting from 1)            way involving:
        or 2) above;
                                                                    1) noise (whether audible to the human ear or
   K) to damages claimed for infringement of any pa-                   not), vibration, sonic boom, and any phe-
      tent, copyright, tradename or trademark;                         nomena associated with the foregoing,




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      2) “pollution or contamination” of any kind                 In respect of any “Combined Claims”, the Com-
         whatsoever, or the exposure to “pollution” or            pany shall (subject to proof of loss and the limits
         “contamination”, or the fear of exposure to or           of the policy) reimburse the Insured for that por-
         the effects of “pollution” or “contamination”            tion of damages awarded against the Insured,
         or the existence of “pollution” or “contamina-           plus defense fees and expenses incurred by the
         tion” in any place or thing or in the atmos-             Insured, which may be allocated to the claim or
         phere, land, or any watercourse or body of               claims covered by the policy.
         water, as well as any claim or suit by or on
                                                                  This exclusion 4. A) shall not apply to any claim
         behalf of or any direction, demand or re-
                                                                  for bodily injury or property damage resulting
         quest or any statutory or regulatory require-
                                                                  from a crash, fire, explosion or collision of air-
         ment, or any voluntary decision, of any
                                                                  craft, or from a recorded in-flight emergency
         governmental authority or other alleged re-              causing abnormal aircraft operation.
         sponsible party, that any Insured or others
         test for, monitor, clean up, remove, contain,    B) to claims for nuclear energy liability as follows:
         treat, detoxify, neutralize or in any way re-
         spond to or assess the effects of “pollutants”       1) this policy does not apply to loss or destruction
         or “contaminants”,                                      of or damage to any property whatsoever or any
                                                                 loss or expense whatsoever resulting or arising
      3) electrical or electromagnetic emission or in-           therefrom or any consequential loss, or any legal
         terference of any kind whatsoever,                      liability of whatsoever nature directly or indirectly
                                                                 caused by or contributed to, by or arising from:
      4) interference with the use of property or
      5) mold.                                                    a) the radioactive, toxic, explosive or other
                                                                     hazardous properties of any explosive nu-
      For purposes of this Exclusion:                                clear assembly or nuclear component there-
                                                                     of;
      “Pollution or contamination” means any actual,
      alleged or threatened discharge, dispersal, re-             b) the radioactive properties of, or a combina-
      lease, escape, seepage, migration, disposal or                 tion of radioactive properties with toxic, ex-
      the mere presence of pollutants or contaminants                plosive or other hazardous properties of, any
      in any form.                                                   other radioactive material in the course of
                                                                     carriage as cargo, including storage or han-
      “Pollutants or contaminants” means any pollu-                  dling incidental thereto;
      tant, contaminant or irritant, including, without
      limitation, any solid, liquid, gaseous or thermal           c) ionizing radiations or contamination by radi-
      pollutant, contaminant or irritant, or any air                 oactivity from, or the toxic, explosive or other
      emission, smoke, vapor, soot, fume, acid, alkali,              hazardous properties of any other radioac-
      chemical, or nuclear material alleged to be a                  tive source whatsoever.
      possible or probable carcinogenic, odor, oil or
                                                              2) it is understood and agreed that such radioactive
      other petroleum product, fungus (including mold
                                                                 material or other radioactive source in paragraph
      or mildew or any mycotoxin, spore, scent or by-            1) b) and c) above shall not include:
      product produced or released by fungi, other
      than any fungi intended by the Insured for hu-              a) depleted uranium and natural uranium in
      man consumption), or “waste” of any kind what-                 any form or
      soever, including solid “waste”, “waste” water,
      “waste” oil, infectious medical “waste”, and hu-            b) radioisotopes which have reached the final
      man, animal or vegetable “waste.”                              stage of fabrication so as to be useable for
                                                                     any scientific, medical, agricultural, com-
      “Waste” means any waste including material to                  mercial, educational or industrial purpose.
      be recycled, reconditioned or reclaimed, whether
      or not the material has been disposed of by you         3) this policy, however, does not cover loss of or
      or any person handling the waste.                          destruction of or damage to any property or any
                                                                 consequential loss or any legal liability of what-
      With respect to any provision in the policy con-           soever nature with respect to which:
      cerning any duty of the Company to investigate
      or defend claims, such provision shall not apply            a) the Insured under this policy is also an In-
      and the Company shall not be required to de-                   sured or an additional Insured under any
      fend claims excluded by this exclusion 4. A).                  other insurance policy, including any nuclear
                                                                     energy liability policy; or
      A claim or claims covered by the policy when
      combined with any claims excluded by this ex-               b) any person or organization is required to
      clusion are “Combined Claims.”                                 maintain financial protection pursuant to leg-
                                                                     islation in any country; or


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        c) the Insured under this policy is, or had this             rebellion, revolution, insurrection, martial law,
           policy not been issued would be, entitled to              military or usurped power or attempts at
           indemnification from any government or                    usurpation of power,
           agency thereof.
                                                                 2) any hostile detonation of any weapon of war
    4) Loss, destruction, damage, expenses or legal li-             employing atomic or nuclear fission and/or
       ability in respect of the nuclear risks not exclud-          fusion or other like reaction or radioactive force
       ed by reason of paragraph 1) b) above shall,                 or matter,
       subject to all other terms, conditions, limitations,
                                                                 3) strikes, riots,     civil   commotions    or labor
       warranties and exclusions of this policy, be cov-
                                                                    disturbances,
       ered, provided that:
                                                                 4) any act of one or more persons, whether or not
        a) in the case of any claim in respect of radio-
                                                                    agents of a sovereign power, for political or
           active material in the course of carriage as
                                                                    terrorist purposes and whether the loss or
           cargo, including storage or handling inci-
                                                                    damage resulting therefrom is accidental or
           dental thereof, such carriage shall in all re-           intentional,
           spects have complied with the full
           International Civil Aviation Organization             5) any malicious act or act of sabotage,
           “Technical Instructions for the Safe
           Transport of Dangerous Goods by Air,” un-             6) confiscation, nationalization, seizure, restraint,
                                                                    detention, appropriation, requisition for title or
           less the carriage shall have been subject to
           any more restrictive legislation, when it shall          use by or under the order of any government
           in all respects have complied with such leg-             (whether civil, military or de facto), or public or
                                                                    local authority or
           islation;
                                                                 7) hijacking or any unlawful seizure or wrongful ex-
        b) this policy shall only apply to an incident
           happening during the policy period and                   ercise of control of an aircraft or aircraft crew
           where any claim by the Insured against the               in flight (including any attempt as such seizure
                                                                    or control) made by any person or persons act-
           Company or by any claimant against the In-
                                                                    ing without the consent of the Insured.
           sured arising out of such incident shall have
           been made within three (3) years after the                Furthermore, this policy does not cover claims
           date thereof;                                             arising while the aircraft is outside the control of
                                                                     the Insured by reason of any of the above per-
        c) in the case of any claim for the loss of or de-
           struction to or loss of use of an aircraft                ils. The aircraft shall be deemed to have been
           caused by or contributed to by radioactive                restored to the control of the Insured on the
           contamination, the level of such contamina-               safe return of the aircraft to the Insured at an
           tion shall have exceeded the maximum                      airfield not excluded by the geographical limits of
                                                                     this policy, and entirely suitable for the operation
           permissible level set out in the following
           scale:                                                    of the aircraft (such safe return shall require
                                                                     that the aircraft be parked with the engines shut
                                                                     down and under no duress).
        Emitter             Maximum permissible level
                              of non-fixed radioactive        D) to asbestos as follows:
(IAEA Health and Safe-        surface contamination              1) any liability, including liability arising out of or
    ty Regulations)          (Averaged over 300 cm2)                assumed under contract, or any injury, loss or
                                                                    damage, including, but not limited to, fear of any
Beta, gamma and low Not exceeding 4 Becquerels/cm2                  injury, loss or damage, bodily injury, fear of bodi-
toxicity alpha emitters  (10-4 microcuries/cm 2)                    ly injury, personal injury, advertising injury, sick-
All other alpha emitters Not exceeding 0.4 Becquerels/cm2           ness, disease, occupational disease, disability,
                               (10-5 microcuries/cm 2)              shock, death, mental anguish, mental injury,
                                                                    property damage or any loss, cost or expense,
                                                                    loss of use including grounding, or any other
        d) the coverage afforded hereby may be can-                 claim, cost or expense, including any costs as-
                                                                    sociated with medical monitoring in connection
           celled at any time by the Company by giving
           seven (7) days notice of cancellation.                   with injury, loss or damage or fear of injury, loss
                                                                    or damage whatsoever directly or indirectly aris-
C) to any claims of any kind whatsoever directly or indi-           ing out of, resulting from, caused or occasioned
   rectly relating to, arising out of or in consequence of:         by, happening through, in consequence of, or in
                                                                    any way involving or related to asbestos or the
    1) war, invasion, acts of foreign enemies, hostilities
                                                                    use of or exposure to asbestos, including the
       (whether war be declared or not), civil war,
                                                                    failure of any product or material containing as-

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        bestos, or the existence or presence of asbestos                (5) microprocessors, computer chips, inte-
        in any place or thing or in the atmosphere, land,                   grated circuits or other information tech-
        or any watercourse or body of water, or                             nology equipment or systems;
    2) any damages or any loss, cost or expense aris-               b) any other products or systems and any ser-
       ing out of (i) any claim or suit by or on behalf of             vices, data, or functions that directly or indi-
       any governmental authority or any other alleged-                rectly use or rely upon, in any manner, any
       ly responsible party because of, or (ii) any re-                of the items listed in paragraph 1) a) of this
       quest, demand, order or statutory or regulatory                 Exclusion E).
       requirement that any Insured or any other per-
       son or entity should be or is responsible for:               c) due to the inability to correctly recognize,
                                                                       process, distinguish, interpret or accept:
        a) assessing the presence, absence, amount                      (1) the change of year from 1999 to 2000,
           or effects of asbestos,
                                                                        (2) the change of date from August 21,
        b) identifying, sampling, testing for, detecting,                   1999 to August 22, 1999 or
           monitoring, cleaning up, containing, treating,
           detoxifying, neutralizing, abating, disposing                (3) any other change of year, date or time;
           of, mitigating or removing asbestos or any
           product or material containing asbestos,             2) any advice, consultation, design, evaluation, in-
                                                                   spection, installation, maintenance, repair, re-
        c) responding to asbestos or the potential ef-             placement or supervision provided or done by
           fects of asbestos in any way other than as              you or for you to determine, rectify, or test for
           described in subparagraph 2) a) or b) above             any potential or actual problems described in
           or                                                      this Exclusion E).
    3) any supervision, instructions, recommendations,
       warnings or advice given or which should have                            CONDITIONS
       been given in connection with paragraphs 1) and
       2) of this Exclusion D).                              1. LIMITS OF LIABILITY
    The Company shall have no obligation to defend or           The insurance afforded by this policy for more than
    indemnify, or to investigate claims or to share dam-        one Insured shall not operate to increase the limit of
    ages with or repay someone else due to or arising           the Company’s liability, but otherwise shall not oper-
    from, in whole or in part, any claim, action or suit        ate to limit or void the coverage of any one Insured
    against the Insured in connection with paragraphs           as respects claims against said Insured by any oth-
    1), 2) and 3) of this Exclusion D). The Company             er Insured or the employees of any such other In-
    shall also not be responsible for any costs or ex-          sured.
    penses related to or associated with any such               Regardless of the number of: (a) Insureds under
    claims, action or suit.                                     this policy, (b) persons or organizations who sustain
E) to any claim for property damage, bodily injury,             bodily injury, property damage or groundings; or,
   loss, cost, expense or liability (whether in contract,       (c) claims made or suits brought on account of bodi-
   tort, negligence, product liability, misrepresentation,      ly injury, property damage or a grounding, the
   fraud or otherwise) of any nature whatsoever arising         Company’s liability is limited to the amounts spec i-
   from, occasioned by, or in consequence of (whether           fied on the Declarations page.
   directly or indirectly and whether wholly or partly):        COVERAGE A - Bodily Injury and Property Dam-
    1) any actual or alleged failure, malfunction or in-        age Liability
       adequacy of:                                             The total liability of the Company for all damages
        a) any of the following, whether belonging to           because of all bodily injury and all property dam-
           any Insured or to others, whether or not part        age sustained by one or more persons or organiza-
           of any computer system or whether in the             tions as the result of any one occurrence shall not
           possession of the Insured or of any third            exceed the combined single limit of liability stated in
           party:                                               the Declarations as applicable to each occurrence,
                                                                and in the aggregate.
            (1) computer hardware, including micropro-
                cessors,                                        For purpose of determining the limit of the Compa-
                                                                ny’s liability, all bodily injury and all property dam-
            (2) computer application software,                  age arising out of continuous or repeated exposure
            (3) computer operating systems and related          to substantially the same general conditions shall be
                software,                                       considered as arising out of one occurrence.
            (4) computer networks or                            COVERAGE B - Grounding Liability


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   The total liability of the Company for all damages           C) No Insured will, except at its own cost, volun-
   sustained by one or more persons or organizations               tarily make a payment, assume any obligation,
   as the result of any one grounding shall not exceed             or incur any expense, other than for first aid,
   the limit of liability stated in the Declarations as ap-        without the Company’s written consent.
   plicable to each grounding and in the aggregate.
   COVERAGES A AND B COMBINED                                 4. ASSISTANCE AND COOPERATION OF THE
                                                                 INSURED
   The total liability of the Company for all damages
   under Coverages A and B combined shall not ex-               The Insured shall cooperate with the Company and
                                                                upon the Company’s request shall attend hearings
   ceed the annual aggregate limit of liability stated in
   the Declarations.                                            and trials and shall assist in effecting settlements,
                                                                securing and giving evidence, obtaining the attend-
                                                                ance of witnesses and in the conduct of suits.
2. OTHER INSURANCE
   If there is any other insurance against a loss cov-        5. ACTION AGAINST THE COMPANY
   ered by the policy, the insurance under this policy
                                                                No person or organization has a right under this pol-
   shall be excess insurance over any other valid and
                                                                icy:
   collectible insurance available to the Insured; pro-
   vided, however, that as to any insurance specifically        A) to join the Company as a party or otherwise
   arranged to provide excess insurance over the In-               bring the Company into a suit asking for damag-
   surance afforded under this policy, this insurance              es from an Insured or
   shall be primary insurance.
                                                                B) to sue on this policy unless all of its terms have
                                                                   been fully complied with.
3. NOTICE OF OCCURRENCE, LOSS, CLAIM, SUIT
   OR GROUNDING                                                 A person or organization may sue the Company to
                                                                recover on an agreed settlement or on a final judg-
   A) The Named Insured must promptly notify the
                                                                ment against an Insured obtained after an actual
      Company of an occurrence that may result in a
      claim. Such notice shall be in writing to the Com-        trial; but the Company will not be liable for damages
      pany. Such notice shall include:                          that are not payable under the terms of this policy or
                                                                that are in excess of the applicable limit of insur-
       (1) particulars sufficient enough to identify the        ance. An agreed settlement means a settlement and
           Insured,                                             release of liability signed by the Company, the In-
                                                                sured and the claimant or the claimant's legal repre-
       (2) details regarding how, when and where the
           occurrence took place and                            sentative. Service of process may be made upon the
                                                                Company however, the Company does not waive its
       (3) the names and addresses of any injured               rights to commence an action in any court of compe-
           persons and witnesses.                               tent jurisdiction or to seek a transfer to another court
                                                                as permitted by law.
   B) If claim is made or suit is brought against the In-
      sured, the Named Insured must see to it that            6. BANKRUPTCY
      the Company receive prompt written notice of
      the claim or suit. The Named Insured and any              Bankruptcy or insolvency of the Insured or of the
      other Insured involved must:                              Insured's estate shall not relieve the Company of
                                                                any of its obligations hereunder.
       (1) immediately send the Company copies of
           any demands, notices, summonses or legal
                                                              7. INSPECTION AND SURVEYS
           papers received in connection with the claim
           or suit,                                             The Company has the right but is not obligated to:
       (2) authorize the Company to obtain records              A) make inspections and surveys at any time,
           and other information,
                                                                B) give the Named Insured reports on the condi-
       (3) cooperate with the Company in the investi-              tions found and
           gation or defense of the claim or suit and
                                                                C) recommend changes.
       (4) assist the Company, upon the Company’s
                                                                Any inspections, surveys, reports or recommend-
           request, in the enforcement of any right
           against any person or organization which             ations relate only to insurability and the premiums to
           may be liable to the Insured because of in-          be charged. The Company does not make safety in-
           jury or damage to which the insurance may            spections. The Company does not undertake to per-
           also apply.                                          form the duty of any person or organization to
                                                                provide for the health or safety of workers or the


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   public. Additionally the Company does not warrant          13. TRANSFER OF THE NAMED INSURED'S RIGHTS
   that conditions are safe and healthful or comply with          AND DUTIES UNDER THIS POLICY
   laws, regulations, codes or standards.
                                                                 The Named Insured's rights and duties under this
   This condition applies not only to the Company but            policy may not be transferred without the Company’s
   also to any rating, advisory, rate service or similar         written consent except in the case of the death or
   organization that make insurance inspections, sur-            bankruptcy of an individual Named Insured.
   veys, reports or recommendations.
                                                                 If such individual Named Insured dies or is ad-
                                                                 judged bankrupt or insolvent, his or her rights and
8. EXAMINATION OF INSURED'S                  RECORDS,
   BOOKS AND PREMISES                                            duties will be transferred to the Named Insured's
                                                                 legal representative but only while acting within the
   Subject to security regulations of the United States          scope of duties as such. Until the Named Insured's
   Government, the Company or its representative shall           legal representative is appointed, anyone having
   be permitted to inspect the Insured’s premises and            proper temporary custody of the Named Insured's
   operations and to examine and audit the Insured’s             property will have such Named Insured's rights and
   books and records at any time during the policy pe-           duties but only with respect to that property, but in
   riod and any extension thereof, and within three (3)          no event for more than sixty (60) days following such
   years after final termination of this policy, as far as       death or adjudication.
   they relate to the premium basis or the subject mat-
   ter of this insurance or, with respect to a claim, until   14. CANCELLATION
   settlement of such claim.
                                                                 A) The first Named Insured shown on the Declara-
                                                                    tions may cancel this policy by mailing or deliv-
9. ACTION AGAINST THE NAMED INSURED
                                                                    ering to the Company advance written notice of
   The Company shall have the power to institute and                cancellation.
   maintain suits in its own name against the Named
                                                                 B) The Company may cancel this policy by mailing
   Insured herein for non-payment of premiums or for                or delivering to the first Named Insured written
   breach of any other obligations arising from or by               notice of cancellation at least:
   reason of this insurance, and any Judgment so ob-
   tained or release or receipt of judgment by the Com-              1) ten (10) days before the effective date of
   pany shall be binding on the Company.                                cancellation if the Company cancels for non-
                                                                        payment of premium or
10. SEVERABILITY OF INTEREST
                                                                     2) ninety (90) days before the effective date of
   The insurance afforded under the liability coverage                  cancellation if the Company cancels for any
   applies separately to each Insured against whom                      other reason.
   claim is made or suit is brought, but the inclusion
                                                                 C) The Company will mail or deliver notice to the
   herein of more than one Insured shall not operate to
                                                                    first Named Insured's last mailing address
   increase the applicable limits of the Company’s lia-             known to the Company.
   bility.
                                                                 D) If this policy is cancelled, the Company will re-
11. SUBROGATION                                                     turn any premium refund due. If the Company
                                                                    cancels, the refund will be pro rata. If the
   In the event of any payment under this policy, the
                                                                    Named Insured cancels, the refund may be less
   Company shall be subrogated to all the Insured’s                 than pro rata. The cancellation will be effective
   rights of recovery therefor against any person or or-            even if the Company has not made or offered a
   ganizations and the Insured shall execute and de-                refund.
   liver instruments and papers and do whatever else
   Is necessary to secure such rights. The Insured               E) If notice is mailed, proof of mailing will be suffi-
   shall do nothing after a loss to prejudice such rights.          cient proof of notice.

12. CHANGING THE POLICY                                       15. STATE STATUTES
   This policy contains all the agreements between the           If the terms of this policy are in conflict with or incon-
   Named Insured and the Company concerning the                  sistent with the insurance statutes of any state
   insurance that is afforded. This policy's terms can           where this policy is in effect, the Company will con-
   be amended or waived only by endorsement signed               form to those state statutes.
   and issued by the Company and made a part of this
   policy.




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16. INADVERTENT ERRORS OR OMISSIONS
   Except with respect to the report of contracts re-
   quired under exclusion 1., A), 2) inadvertent errors,
   omissions or failure to give notice to the Company
   as herein required shall not relieve the Company of
   liability under this policy, provided that such error or
   omission shall be corrected as soon as discovered.

17. REPRESENTATIONS
   By accepting this policy, the Named Insured
   agrees:
   A) the statements in the Declarations are accurate
      and complete,
   B) those statements are based upon representa-
      tions of the Named Insured to the Company,
      and
   C) the Company has issued this policy in reliance
      upon the Named Insured's representations.

18. FRAUD OR MISREPRESENTATION
   This policy shall be void if the Named Insured has
   concealed or misrepresented any material fact or
   circumstance concerning this insurance or the sub-
   ject thereof or in case of any fraud, attempted fraud
   or false swearing by the Named Insured touching
   any matter relating to this insurance or the subject
   thereof, whether before or after a loss.

19. PREMIUMS
   The Named Insured named in the Declarations
   shall be liable to the Company for the payment of
   the Policy Premium and shall alone be entitled to re-
   ceive any return premium due from the Company.

20. VIOLATION OF STATUTE
   If coverage for a claim under this policy is in violation
   of any United States of America’s economic or trade
   sanctions, including but not limited to, sanctions ad-
   ministered by the U.S. Treasury Department’s Office
   of Foreign Assets Control (“OFAC”), then coverage
   for that claim shall be null and void.
                           - END -




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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2PR000582017AM                                                              Endorsement Number
Effective Date: March 1, 2017                                                                       1


                             BROAD NAMED INSURED ENDORSEMENT


This endorsement modifies the policy to which it is attached as follows:


The Named Insured set forth on the Declarations is changed as follows:


GSSL, Inc. dba Near Space Corporation (NSC), K&T Properties, LLC and any subsidiary, affiliated, owned or
controlled companies or entities now in existence or hereafter formed or acquired jointly or severally, as their re-
spective interests may appear.


“Subsidiary, affiliated, owned or controlled companies or entities” means any company or entity of which at least
fifty percent (50%) of the stock or fifty percent (50%) of the members or, if a partnership, fifty percent (50%) in-
terest in the partnership is owned by the Named Insured, or for which the Named Insured has assumed active
management control. Subsidiary, affiliated, owned or controlled companies or entities acquired after the effective
date of your policy shall be reported to the Company within thirty (30) days after they are acquired.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2PR000582017AM                                                                 Endorsement Number
Effective Date: March 1, 2017                                                                          2


                                    TRIA DISCLOSURE ENDORSEMENT

THIS ENDORSEMENT, DETAILING THE PROVISIONS OF THE "TERRORISM RISK INSURANCE ACT", AS
AMENDED, IS MADE A PART OF THIS POLICY. NOTHING IN THIS ENDORSEMENT CHANGES ANY OF
THE TERMS OR CONDITIONS OF THIS POLICY OR PROVIDES ANY ADDITIONAL COVERAGE.



I.    Terrorism Risk Insurance Act Notice
      Please take note that under the Terrorism Risk Insurance Act, as amended, (collectively referred to herein as
      “TRIA”), the Named Insured has a right to purchase insurance coverage from the Company for losses aris-
      ing out of an "act of terrorism" as defined in Section 102(1) of “TRIA”.


II.   Definition
      You are hereby notified that under the Terrorism Risk Insurance Act, as amended in 2015, the definition of
      act of terrorism has changed. Solely with respect to this endorsement and to ensure compliance with the
      Terrorism Risk Insurance Act, as amended, an “act of terrorism” shall mean:
          The term “act of terrorism” means any act that is certified by the Secretary of the Treasury, in accord-
          ance with the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism pursuant to
          such Act, as amended; to be a violent act or an act that is dangerous to human life, property, or infra-
          structure; to have resulted in damage within the United States, or outside of the United States in the case
          of certain air carriers or vessels or the premises of a United States mission; and to have been committed
          by an individual or individuals as part of an effort to coerce the civilian population of the United States or
          to influence the policy or affect the conduct of the United States Government by coercion.


III. Federal Share of Compensation
      You should know that where coverage is provided by this policy for losses resulting from certified acts of ter-
      rorism, such losses by be partially reimbursed by the United States Government under formula established
      by Federal Law. However, your policy may contain other exclusions which might affect your coverage, such
      as exclusion for nuclear events. Under the formula, the United States Government generally reimburses
      eighty-five percent (85%) through 2015, 84% beginning on January 1, 2016, 83% beginning on January 1,
      2017, 82% beginning on January 1, 2018, 81% on January 1, 2019 and 80% beginning on January 1, 2020
      of covered terrorism losses exceeding the statutorily established deductible paid by the Company providing
      the coverage. If you have purchased this coverage, the premium charged for this coverage (if any) does not
      include any charges for the portion of loss that may be covered by the Federal Government under the Act.
      $100 Billion Cap
You should also know that the Terrorism Risk Insurance Act, as amended, contains a $100 billion cap that limits
U.S. Government reimbursement as well as the insurers’ liability for losses resulting from certified acts of terror-
ism when the amount of such losses in any one calendar year exceeds $100 billion. If the aggregated insured
losses for all insurers exceed $100 billion, your coverage may be reduced
All other provisions of this policy remain the same.



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IV. Conditional Termination of Endorsement
    A. This endorsement terminates under the following conditions, whichever occurs first:
        i.    upon the expiration of the policy, or
        ii.   if the “Terrorism Risk Insurance Program” (the “Program”) terminates (as provided by “TRIA” at the
              end of December 31, 2020) with respect to the coverage provided by this policy, and the “Program”
              is not renewed, extended or otherwise continued by the federal government or,
        iii. if, on or after December 31, 2020, a renewal, extension or continuation of the “Program” becomes ef-
             fective without a requirement to make terrorism coverage available to the Named Insured or with re-
             visions that do any of the following:
              a. increase the Company's statutory percentage deductible under the “Program” for terrorism loss-
                 es,
              b. decrease the federal government’s statutory percentage share in potential terrorism losses
                 above such deductible or,
              c. redefines terrorism or makes insurance coverage for terrorism subject to provisions or require-
                 ments that differ from those that apply to other types of events or occurrences under this policy.
    B. If none of the conditions set forth in paragraph IV. A. above occur, this endorsement will continue in ef-
       fect unless the Company notifies the Named Insured of changes in response to federal law.

V. “TRIA” Terrorism Coverage may be purchased from the Company. No coverage is provided by this notice.
   TRIA Terrorism Coverage must be purchased separately.
    If “TRIA” coverage is purchased, the premium will be stated on the TRIA Write-Back Endorsement(s) at-
    tached to this policy, or on the Declarations Page.
    If “TRIA” coverage has not been purchased, coverages for liability and/or physical damage losses from "Acts
    of Terrorism" are offered for rates that are available upon request from the Company.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2PR000582017AM                                                           Endorsement Number
Effective Date: March 1, 2017                                                                    3


                                  TRIA EXCLUSION ENDORSEMENT


In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

This policy does not cover claims caused by any losses, damages, or injuries arising directly or indirectly as a
result of a certified “Act of Terrorism” defined by the Terrorism Risk Insurance Act, as amended.
Solely with respect to this endorsement and to ensure compliance with the Terrorism Risk Insurance Act, as
amended, an “Act of Terrorism” shall mean:
       The term “act of terrorism” means any act that is certified by the Secretary of the Treasury, in ac-
       cordance with the provisions of the federal Terrorism Risk Insurance Act, to be an act of terrorism
       pursuant to such Act, as amended; to be a violent act or an act that is dangerous to human life,
       property, or infrastructure; to have resulted in damage within the United States, or outside of the
       United States in the case of certain air carriers or vessels or the premises of a United States mission;
       and to have been committed by an individual or individuals as part of an effort to coerce the civilian
       population of the United States or to influence the policy or affect the conduct of the United States
       Government by coercion.


This endorsement shall apply solely to the Terrorism Risk Insurance Act, as amended, and shall in no way con-
flict with the War, Hijacking and Other Perils Exclusion contained within this policy or write-backs thereto.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2PR000582017AM                                                            Endorsement Number
Effective Date: March 1, 2017                                                                     4

                 DATE CHANGE RECOGNITION EXCLUSION ENDORSEMENT
                           LIMITED WRITE-BACK PROVISION

In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

The Date Change Recognition Exclusion 4. E) shall not apply to any sums which the Insured shall become legal-
ly liable to pay as damages because of bodily injury or physical injury to or destruction of tangible property re-
sulting from a covered occurrence.




All other provisions of this policy remain the same.



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Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
Policy Number: A2PR000582017AM                                                         Endorsement Number
Effective Date: March 1, 2017                                                                  5


                                         ADDITIONAL INSURED


In consideration of an additional premium of $Included, this endorsement modifies the policy to which it is at-
tached as follows:

U.S. Bank Equipment Finance is added as an additional Insured with respect to an occurrence arising out of
the products hazard or the completed operations hazard and only for claims arising out of operations of the
Named Insured, and only to the extent and scope of insurance coverages afforded to the Named Insured.




All other provisions of this policy remain the same.



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 Named Insured: GSSL, Inc. dba Near Space Corporation (NSC), et al
 Policy Number: A2PR000582017AM                                                               Endorsement Number
 Effective Date: March 1, 2017                                                                        6



                   OREGON CANCELLATION / NONRENEWAL ENDORSEMENT

This endorsement modifies the policy to which it is attached as follows:


 Wherever used in this endorsement: 1) “we”, “us”, “our”, and “Insurer” mean the insurance company which is-
 sued this policy; and 2) “you”, “your”, “Named Insured”, “First Named Insured”, and “Insured” mean the Named
 Corporation, Named Organization, Named Sponsor, Named Insured, or Insured stated in the Declarations page;
 and 3) “Other Insured(s)” means all other persons or entities afforded coverage under the policy.
 In consideration of the premium charged, the cancellation provision of this policy is amended to read as follows:
 1. Except as provided by subsection 4. below, this policy may not be cancelled by the Insurer before the expira-
    tion of the policy, except on one or more of the following grounds:
     a) Nonpayment of premium;
     b) Fraud or material misrepresentation made by or with the knowledge of the Insured or Other Insured(s) in
        obtaining the policy, continuing the policy or in presenting a claim under the policy;
     c) Substantial increase in the risk of loss after insurance coverage has been issued or renewed, including
        but not limited to an increase in exposure due to rules, legislation or court decision;
     d) Failure to comply with reasonable loss control recommendations;
     e) Substantial breach of contractual duties, conditions or warranties;
     f)   Determination by the director that the continuation of a line of insurance or class of business to which the
          policy belongs will jeopardize a company’s solvency or will place the Insurer in violation of the insurance
          laws of Oregon or any other state;
     g) Loss or decrease in reinsurance covering the risk;
     h) Any other reason approved by the director by rule.
 2. Cancellation of this policy will not be effective until ten (10) working days after the Insured receives written
    notice of cancellation. The notice shall state the effective date of and the reasons for cancellation and shall
    inform the Insured of the hearing rights established by ORS 742.704.
 3. Notice of nonrenewal will be given to the Insured thirty (30) days prior to the expiration date or anniversary
    date of the policy. If, after the Insurer provides a notice of nonrenewal as described above, and the insurer
    then extends the policy ninety (90) days or less, an additional notice of nonrenewal will not be required with
    respect to the extension.
 4. Subsections 1., 2., and 3. above do not apply to any insurance policy that has not been previously renewed if
    the policy has been in effect less than sixty (60) days at the time the notice of cancellation is mailed or deli v-
    ered.
 5. Subject to subsection 6 below, if the Insurer offers or purports to renew the policy, but on terms less favora-
    ble to the Insured or at higher rates, the new terms or rates may take effect on the renewal date, if the Insur-
    er provides the Insured thirty (30) days written notice. If the Insurer does not so notify the Insured, the
    Insured may cancel the renewal policy within thirty (30) days after receipt of the notice or delivery of the re-
    newal policy. Earned premium for the period of time the renewal policy was in force shall be calculated pro
    rata at the lower of the current or previous year’s rate. If the Insured accepts the renewal, any premium in-
    crease or changes in terms shall be effective immediately following the prior policy’s expiration date.

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6. Subsection 5. above does not apply if: (a) the change is a form, rate or plan filed with the Commissioner and
   applicable to the entire line of insurance or class of business to which the policy belongs; or (b) the form, rate
   and/or plan increase results from a classification change based on the altered nature or extent of the risk in-
   sured.
7. A post office certificate of mailing to the Named Insured at the Named lnsured’s last known address shall
   constitute conclusive proof that the named Insured received the notice of cancellation or nonrenewal on the
   third calendar day after the date of the certificate of mailing.




All other provisions of this policy remain the same.


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